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                           No.   22-_____________


                 IN THE UNITED STATES COURT OF APPEALS
                        FOR THE ELEVENTH CIRCUIT



            EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,
                       Plaintiff–Respondent,

                                     AND

                               VINCENT JACKSON,
                        Plaintiff-Intervenor–Respondent,

                                      VS.

                             DOLGENCORP, LLC,
                             Defendant–Petitioner.


              On Appeal from the United States District Court
                  for the Northern District of Alabama
                        No. 2:17-cv-01649-MHH


                PETITION FOR PERMISSION TO FILE
                    INTERLOCUTORY APPEAL


  Stanley E. Graham
  Frederick L. Conrad III
  WALLER LANSDEN DORTCH & DAVIS, LLP
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  Nashville, Tennessee 37027
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                                       C
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                 CERTIFICATE OF INTERESTED PARTIES

       Defendant–Petitioner, in accordance with Federal Rule of Appellate

Procedure 26.1 and Eleventh Circuit Rule 26.1-1 & -2, hereby states that the

following persons and entities may have an interest in the outcome of this appeal:

1.     Dolgencorp, LLC, Defendant–Petitioner;

2.     Graham, Stanley E., Counsel for Defendant–Petitioner Dolgencorp, LLC;

3.     Conrad III, Frederick L., Counsel for Defendant–Petitioner Dolgencorp,

LLC;

4.     Waller, Lansden, Dortch & Davis, LLP, Counsel for Defendant–Petitioner

Dolgencorp, LLC;

5.     Haikala, Hon. Madeline Hughes, U.S. District Judge;

6.     Equal Employment Opportunity Commission, Plaintiff–Respondent;

7.     Rucker, Marsha L., Counsel for Plaintiff–Respondent;

8.     Miller, Gerald L., Counsel for Plaintiff–Respondent;

9.     Pearson, Gina Elaine, Counsel for Plaintiff–Respondent;

10.    Franklin, Alysia Desiree, Counsel for Plaintiff–Respondent;

11.    Lee, James, L., Counsel for Plaintiff–Respondent;

12.    Jackson, Vincent, Plaintiff-Intervenor–Respondent;

13.    Scott, David W., Counsel for Plaintiff-Intervenor–Respondent;

14.    Perkins, Byron R., Counsel for Plaintiff-Intervenor–Respondent;



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15.    Plaintiff–Respondent has identified the following twenty-five individuals as

“aggrieved parties” on whose behalf it is seeking to recover damages under the

ADA:

       1)    Alexander, Jackson                    14)   Jackson, Marvin

       2)    Allen, Glenn                          15)   Jackson, Vincent

       3)    Allen, Jonathan                       16)   James, Demetrius

       4)    Carey, Carlos                         17)   Johnson, Gregory

       5)    Copeland, Willie                      18)   Johnson, Leodis

       6)    Crumpton, Roderiguez                  19)   Larry, Kinisha

       7)    Fielder, Eric                         20)   May, Darnell

       8)    Fischer-Ross, Brian                   21)   McConnico, Lorenzo

       9)    Flowers, David                        22)   Orenthal, Jordan

       10)   Greene, John                          23)   Ransom, Herman

       11)   Hall, Kevin                           24)   Snead, Anthony

       12)   Henderson, Bryan                      25)   Tate, Percy

       13)   Jackson, Antonio

16.    Plaintiff–Respondent has identified the following four hundred and ninety-

seven individuals as “aggrieved parties” on whose behalf it is seeking to recover

damages under GINA:

       1)    Abbott, Brian                         2)    Abernathy, Fredrick



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     3)    Abrams, Latisha                       23)   Bennett, Christopher

     4)    Acoff, Deantwaun                      24)   Bennett, Edward

     5)    Adams, Jeremy                         25)   Berryhill II, Keffie

     6)    Adams, Tommie                         26)   Bevelle, Patrick

     7)    Alexander, Earnest                    27)   Blakely, Glenn

     8)    Alexander, LaSheena                   28)   Bluester, Justin

     9)    Allen, Christopher                    29)   Body, Keyun

     10)   Allen, Tracy                          30)   Bonner, Rodriquez

     11)   Alvis, Nicholas                       31)   Boone, Carter

     12)   Argo, Michael                         32)   Borden, Turkesa

     13)   Austin, Montrel                       33)   Boyd, Tomika

     14)   Bandy, Demarco                        34)   Boyd, Tykneshia

     15)   Banks, Corey                          35)   Brantley, Johnny

     16)   Banks-Page, Darryl                    36)   Brasher, Steven

     17)   Barker, Jasper                        37)   Breeding, Cordell

     18)   Barker, Rondrez                       38)   Bridges III, Joe

     19)   Bartlett, David                       39)   Britton, Corey

     20)   Beasley, Jake                         40)   Broaden, Quarnisha

     21)   Beatty, Matthew                       41)   Brooks, Delois

     22)   Beckwood, Tori                        42)   Brooks, Tomecca



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     43)   Brown, Alexsis                      63)   Carpenter, Tracy

     44)   Brown, Curtis G.                    64)   Carwell, Juan

     45)   Brown, Joshua                       65)   Catlin, Dedrick

     46)   Brown, Kenjarious                   66)   Cauthens, Marcus

     47)   Brown, Rakeem                       67)   Chambers, Eddie

     48)   Brown, Vittorio                     68)   Chandler, Jefferson

     49)   Bryant, Corey                       69)   Chapman, George

     50)   Buchannan, Brandy                   70)   Chatmon, Ryan

     51)   Burch, Brandon                      71)   Christian, Nicholas

     52)   Bwoma, Andrew                       72)   Clayton, Robert

     53)   Byron, Gabrielle                    73)   Cochran, Cornelius

     54)   Caldwell, Antonio                   74)   Coleman, Marcus

     55)   Caldwell, Errish                    75)   Collier, Ronderas

     56)   Calhoun, Floyd                      76)   Collins, Willie

     57)   Campbell, Christopher               77)   Combs, Antonio

     58)   Campbell, Travis                    78)   Conor, Wesley

     59)   Cannon, Randol                      79)   Cook, Christopher

     60)   Carey, Carlos                       80)   Cooks, Johon

     61)   Carmichael, Terrence                81)   Coon, Angela

     62)   Carney, Jason                       82)   Cotton, Cameco



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     83)   Cottonham, Pertika                   103) Davis, Koydarrius

     84)   Cousins, Brian                       104) Davis, Marcus

     85)   Cox, Markeith                        105) Davis, Tyrone

     86)   Craig, Nikia                         106) Dawson, Ashley

     87)   Crockett, Feodore L Jr.              107) Dawson, Clifton

     88)   Crumpton, Roderiquez                 108) Dean, Clarence

     89)   Cruz, Pablo                          109) Dejarnette, Vernita

     90)   Cunningham, Nicholas                 110) Denson, Khadidra

     91)   Cunningham, Nicholas                 111) Desormeaux, Travis

     92)   Curry, Courtney                      112) Dial, Mateo

     93)   Curry, Twila                         113) Doss, Treveon

     94)   Cutchens, Daniel                     114) Dover, Kenneth

     95)   Dalton, Eric                         115) Dowdell, Erica

     96)   Davis II, John C.                    116) Dowdell, Robert

     97)   Davis, Anterious                     117) Doyle, Michael

     98)   Davis, Anthony                       118) Duncan, Morgan

     99)   Davis, Derrick                       119) Dunn, Johnny

     100) Davis, Dewan Epps                     120) Dunn, Jonathon L

     101) Davis, Franswa                        121) Dunn, Samuel

     102) Davis, George                         122) Dunsmore, Caroline



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     123) Dunson, Litara                       143) Ford Jr., Robert

     124) Dussett, Ryan                        144) Ford, Justin

     125) Eatman, Marcus                       145) Foster, Durrelle

     126) Eatman, Ronald                       146) Foster, Erik

     127) Echols, Walter                       147) Foster, Lucious

     128) Ensminger, Lexis                     148) Franks, Xavier

     129) Fancher, Tyrus                       149) Freeman, Siddell

     130) Fann, Montez                         150) French, Richard

     131) Farr, Orville                        151) Gaddis, Ricky

     132) Farris, Joshua                       152) Gadson, Betty

     133) Faulkner, John                       153) Gaines, Alphonzo

     134) Felder, Jerold                       154) Gaines, Carl

     135) Felder, Kwame                        155) Gaines, Demarko

     136) Fergunson, Pierre                    156) Gann, Justin

     137) Ferrell, Frances                     157) Garner, Terrance

     138) Fielder, Eric                        158) Garrett, Heather

     139) Fields, Eric                         159) Garrett, Stephen

     140) Fields, Jacob                        160) Gaspard, Travel

     141) Fields, James                        161) Gaston, Kordarius

     142) Finley, Brandon                      162) George, Brandon



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     163) Givens, Benjamin                     183) Hagro, Jeffrey

     164) Godfrey, Sharryl                     184) Hall, Andrew

     165) Golston, James                       185) Hall, Kevin

     166) Gooden Jr., Cecil                    186) Hall, Willie

     167) Gooden, Dandre                       187) Hamilton, Tamela

     168) Gooden, Jeremy                       188) Hannah, Amanda

     169) Gordon, Debbie                       189) Hannah, Justin

     170) Grant, Jatoria                       190) Hardy, Keyondric

     171) Gray, Jacquez                        191) Harris III, Conrad

     172) Gray, Penny                          192) Harris Jr., Derrick

     173) Green, Alana                         193) Harris, Jason

     174) Green, Johnny E.                     194) Harris, Richard

     175) Greene, John                         195) Hawkins, Christian

     176) Greer, Lowell                        196) Hawkins, Erskine

     177) Griffie, Michael                     197) Hefler, Dawn

     178) Griffin Jr., Lee M                   198) Henderson, Bryan

     179) Grimes, Maria                        199) Henderson, Phillip

     180) Griswold, Alexis                     200) Hicks, Beaunca

     181) Gurley, Bernie                       201) Hicks, Joshua

     182) Hackworth, Dareon                    202) Hill, Alfreda



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     203) Hill, Anthony                           223) Jackson, Curtis

     204) Hill, Ceandra                           224) Jackson, Demetrius

     205) Hill, Shawn                             225) Jackson, Kelvin

     206) Hobson, Ladarius                        226) Jackson, Marvin

     207) Hodge, Lesley                           227) Jackson, Ratez

     208) Hollings, Jeremy                        228) Jackson, Tony

     209) Holloway, Zack                          229) Jackson, Vincent

     210) Holmes, Alphonza                        230) January, Laderrin

     211) Holt, Darian                            231) Jemison, Napoleon

     212) Horne, Montrez                          232) Jemison, Roderick

     213) Hoskins, Carla                          233) Johnson Jr., Jimmie

     214) Howard, Jeffrey                         234) Johnson, Brandon

     215) Hubbard, Reginald                       235) Johnson, Bryan

     216) Hubbard, Virnise                        236) Johnson, Christopher

     217) Hudson, Dedrick                         237) Johnson, Daniel

     218) Hullett, Billy                          238) Johnson, Gregory

     219) Isbell, Michael                         239) Johnson, Jemarcus

     220) Ivory, Dezman                           240) Johnson, Leodis

     221) Jackson, Clarence                       241) Johnson, Malcolm

     222) Jackson, Cornelius                      242) Johnston, Norman



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     243) Jones IV, Parnell                      263) Knowles, Steven

     244) Jones, Anthony                         264) Knox, Trendelyn

     245) Jones, Deangelo                        265) Kornegay, George

     246) Jones, Malcolm                         266) Kreutz, Darius

     247) Jordan, Joel                           267) Larry, Kinisha

     248) Jordan, Michael                        268) Lawson, Kelli

     249) Jordan, Orenthal                       269) Layton, Leandre

     250) Jordan, Terry                          270) Lee, Kitoryia

     251) Jordan, William                        271) Lemsky, Mark

     252) Karrh, Johnnie                         272) Leonard, Quinton

     253) Keith Jr., Charles                     273) Leonard, Traedrein

     254) Kennedy II, Walter                     274) Lett, Houston

     255) Kennedy, Jonathan                      275) Lewis, Jason

     256) Kidd, Aaron                            276) Lewis, Ladarius

     257) King Jr., Stanley                      277) Lewis, Xavier

     258) King, Demetrius                        278) Linton, Armond

     259) King, Dennis                           279) Little, Gregory

     260) Kirkland, Jerandy                      280) Little, Jason

     261) Kitchens, Eric                         281) Lloyd, Jessica

     262) Knight, Anthony                        282) Long, Gregory



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     283) Loyd, Frederick                      303) Mcghee, David

     284) Lucas, Ricco                         304) Mcghee, Quedarius

     285) Lutin, Nicholas                      305) Mcghee, Stevie

     286) Mack, Gary                           306) McGinnis, Maricus

     287) Maddox, Julia                        307) McIntyre, Cedric

     288) Maddox, Justin                       308) McKinney, Audrey

     289) Maden, Brandon                       309) McMullen, Michael

     290) Majernik, Dawn                       310) McNeal, Issac

     291) Marbury, Desmond                     311) McNeil, Brian

     292) Mason, Keith                         312) Mcwhorter, Lawrence

     293) Maybell, Demarquis                   313) Means, Ricky

     294) Mays, Maurice                        314) Means, Sharminer

     295) McClew, Justin                       315) Meany, David

     296) McClinton, Demetruis                 316) Miller, Johnny

     297) McConnico, Demetrius                 317) Miller, Joseph

     298) McConnico, Lorenzo                   318) Mitchell Jr., Norman

     299) McCray, Crystal                      319) Mitchell, Briaunna

     300) McCray, Michael                      320) Mobley, Kenneth

     301) McFarland, Joseph                    321) Montgomery, Santez

     302) Mcghee, Caleb                        322) Moore III, William



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     323) Moore, Alonzo                           343) Palmer, Marlon

     324) Moore, Athony                           344) Paradise, Duntai

     325) Moore, Clarence                         345) Parham, Khayriyyah

     326) Moore, Jerold                           346) Parker, Louis

     327) Moore, Kederius                         347) Parker, Nicholas

     328) Moore, Shirley                          348) Parker, Taimon

     329) Morris, Demetrius                       349) Parsons, Noah

     330) Motley, Rickley                         350) Patrick, Justin

     331) Muhammad, Rashad                        351) Patterson, Antoan

     332) Murrell, Justin                         352) Patterson, Michael

     333) Muse, Tony                              353) Pavino, Christina

     334) Nash, Diante                            354) Payne, Jonathan

     335) Nene, Ian K                             355) Peterson, Courtney

     336) Nevels, Bryan                           356) Pettway, Keon

     337) Nichols, Andrew                         357) Phillips, Andrew

     338) Odom, John                              358) Pickering, David

     339) Ogden, Ronnie                           359) Pike, Christopher

     340) Oliver, Darrion                         360) Polanco-Torrez, Jorge

     341) O’Neill, Timothy                        361) Powell, Carlos

     342) Owens, Denzel                           362) Powell, Ronnie



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     363) Price, Daniel                         383) Rodgers, Quentin

     364) Pruitt, Adrian                        384) Rodgers, Wilnesha

     365) Ragland, Tommy                        385) Rothenberger, Anthony

     366) Rahman, Idris                         386) Roubdioux, Larry

     367) Randolph, Denetrius                   387) Ruffin, Alicia

     368) Ray, Anthony John                     388) Ruffin, Tomeka

     369) Reese Jr., Morris                     389) Russell Jr., Earnest

     370) Reese, Timothy                        390) Rutledge, Trenton

     371) Rencher, Devon                        391) Sampson, Truman

     372) Requena, William                      392) Sanders, Lafayette

     373) Richardson, Pasha                     393) Sanders, Terrod

     374) Richardson, Tristan                   394) Sanford, Scotty

     375) Riddle, Quinton                       395) Scott, William

     376) Riggins, Kurikas                      396) Servant, Reginald

     377) Riley, Lane                           397) Shack, Melvin

     378) Robertson, John                       398) Shackleford Jr., John

     379) Robinson, Jeremy                      399) Shepard, Tyrone

     380) Robinson, LaShanta                    400) Simmons, Mauricia

     381) Robinson, Marcus                      401) Simpson, Jared

     382) Robinson, Nicholas                    402) Sims Jr., David



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     403) Sims, Stephanie                         423) Taylor, Shaniqua

     404) Skinner, Richard                        424) Taylor, Ymicheal

     405) Smith, Deondre                          425) Thigpen, Victor

     406) Smith, Joshua                           426) Thomas, Arthur

     407) Smith, Lloyd                            427) Thomas, James

     408) Smitherman, Alexsandria                 428) Thomas, Ladarius

     409) Smoot, Dajuan                           429) Thomas, Mikul

     410) Snead, Anthony                          430) Thomas, Roland

     411) Spain, Yashika                          431) Tindle, Ebony

     412) Sparks, Tonya                           432) Tolliver, Kenyatta

     413) Stanford, Dock                          433) Townes, Justin

     414) Stanford, Karl                          434) Tucker, Dasheen

     415) Steele, Willie                          435) Turner, Jeremy

     416) Sumpter III, Eddie                      436) Turner, John

     417) Swift, Carlon                           437) Underwood, Bridarius

     418) Tartt, Jervan                           438) Underwood, Tamika

     419) Tate, Percy                             439) Vinziant, Stephen

     420) Taylor, Christopher                     440) Waldrop, Joshua

     421) Taylor, Matthew                         441) Walker III, Neal

     422) Taylor, Rachelli                        442) Walker, Derek



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     443) Walker, Shanika                       463) Weeks, Michael

     444) Walker, Steven                        464) Welch Jr., James

     445) Wallace, Matthew                      465) Welch, Ledarius

     446) Wallace, Miles                        466) Wheeler, Clifton

     447) Waller III, Judson                    467) Wheeler, Renay

     448) Walls, Mister                         468) Whitaker, Walter

     449) Walton Jr., Sammie                    469) White, Marcus

     450) Walton, Bryant                        470) White, Philip

     451) Wardlow, William                      471) Whitehorn, Christopher

     452) Ware, Corey                           472) Whitley, Nicholas

     453) Ware, James                           473) Wiley Jr., Anthony

     454) Ware, Keyonte                         474) Williams III, James

     455) Washington Jr., Dion                  475) Williams Jr., Ernest

     456) Washington, Juan                      476) Williams Jr., Israel

     457) Washington, Taalib                    477) Williams, Adrian

     458) Waters, Desmond                       478) Williams, Ashton

     459) Watkins, Jeremy                       479) Williams, Cameron

     460) Weatherspoon, Robert                  480) Williams, Jeffrey

     461) Webb, Maurice                         481) Willis, Brooklyn

     462) Webb, Stephan                         482) Wilson, Desi



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     483) Wilson, Herman                       491) Wormely, Michael

     484) Wilson, LeWayne                      492) Wrench, Noel

     485) Wilson, Marice                       493) Wright, Deshaundrea

     486) Wilson, Robert                       494) Wright, Richard

     487) Wilson, Yusaf                        495) Young, Ian

     488) Witherspoon, Laquita                 496) Young, Marcus

     489) Woods Jr., Rodragus                  497) Zeigler III, Leo

     490) Woods, Londriquez




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                   CORPORATE DISCLOSURE STATEMENT

       The undersigned attorneys of record for Defendant–Petitioner Dolgencorp,

LLC hereby certify, pursuant to Eleventh Circuit Local Rules 26.1-1 through 26.1-

3, that:

       1.      Dolgencorp, LLC is a limited liability company under the laws of the

State of Kentucky.

       2.      Dolgencorp, LLC is a wholly-owned subsidiary of Dollar General

Corporation.

       3.      Dollar General Corporation is a publicly traded Tennessee corporation

with its principal place of business in Tennessee.

       4.      No publicly held corporation owns ten percent (10%) or more of stock

in Dollar General Corporation.




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                                 I. INTRODUCTION

      The Americans with Disabilities Act (the “ADA”) has long given employers

the right to condition job offers on pre-employment physical examinations

assessing a candidate’s physical qualification for the job. The District Court’s

Memorandum Opinion in this case has turned the statute on its head and effectively

prohibits such examinations regardless of whether they have any adverse effect on

individuals with disabilities and regardless of whether the employer’s had any

discriminatory intent in utilizing them. Its decision runs counter to decisions from

the Supreme Court, this Circuit, and numerous other circuit and district courts as

well as the language of the statute itself. If not corrected quickly on immediate

appeal, the parties in this case would be required to engage in additional discovery,

motion practice, and a trial on a legally invalid ADA claim brought by the EEOC

on behalf of more than two dozen individuals. An immediate appeal would further

mitigate the risk of copycat claims being asserted in reliance on the District Court’s

incorrect reasoning. Accordingly, Petitioner Dolgencorp, LLC (“Dollar General”)

requests that the Court grant this Petition and take up the issue presented on

interlocutory appeal.

      Dollar General lawfully required post-offer pre-employment physical

examinations between 2013 and 2017 for General Warehouse Worker (“GWW”)

candidates at its Bessemer, Alabama distribution center (the “Bessemer DC”).



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Respondents—Plaintiff     Equal   Employment        Opportunity Commission        (the

“EEOC”) and Plaintiff-Intervenor Vincent Jackson—later sued Dollar General

claiming, inter alia, that these examinations applied unlawful “qualification

standards” that had the effect of screening out GWW candidates on the basis of

disability in violation of 42 U.S.C. § 12112(b)(6). Respondents have specifically

challenged the components of the physical exam that considered blood pressure

readings, peripheral vision and depth perception, and blood sugar levels, and

alleged they constituted “qualification standards” that “screened out or tended to

screen out” individuals with disabilities.      The EEOC brought the action in a

representative capacity, identifying twenty-five individuals, including Mr. Jackson,

as “aggrieved parties.”

      Despite relying on a disparate impact theory that the physical examination

applied qualifications standards that had the effect of discriminating against

candidates based on disability, at summary judgment Respondents offered no

statistical evidence that the challenged standards actually “screened out or tended

to screen out” individuals with disabilities. This type of statistical evidence,

however, is required in order to withstand summary judgment on what is

necessarily a disparate impact claim. In contrast, Dollar General presented

undisputed statistical evidence that application of the allegedly unlawful




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qualification standards did not screen out or tend to screen out individuals with

disabilities.

       In its Memorandum Opinion granting in part and denying in part cross

motions for summary judgment, the United States District Court for the Northern

District of Alabama found that Respondents had not offered statistical evidence to

establish that the pre-employment physical examination had a disparate impact on

individuals with disabilities and that such evidence was required for a disparate

impact claim to survive summary judgment. See Memorandum Opinion, Case No.

2:17-cv-01649, DE No. 131 at 9–11, 19–20 (attached as Exhibit A). Rather than

dismissing Respondent’s Section 12112(b)(6) claim outright as it should have,

however, the District Court found that consideration of candidates’ blood pressure

and vision constituted direct evidence of disparate treatment discrimination for

which statistical evidence was unnecessary.            Id. at 10–23.      Dollar General

subsequently filed a motion for permission to appeal the District Court’s Order,

and on January 3, 2023, the District Court certified the following question for

interlocutory appeal:

                Should ADA claims regarding qualification standards
                that screen out or tend to screen out individuals with
                disabilities under 42 U.S.C. § 12112(b)(6) be analyzed
                exclusively as disparate impact claims or may plaintiffs
                establish screening claims by making an adequate
                showing of disparate treatment?




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See Order, Case No. 2:17-cv-01649, DE No. 154 at 8 (attached as Exhibit B).1

       The District Court’s holding is in conflict with decisions from the Supreme

Court, this Circuit, at least four other Circuit Courts, and dozens of District Courts

inside and outside this Circuit that have either suggested or explicitly found that

ADA “screen out” claims brought under 42 U.S.C. § 12112(b)(6) may only

proceed under a disparate impact theory. Although the Eleventh Circuit has not

directly decided this precise issue, it suggested in an unpublished 2015 decision

that Section 12112(b)(6) claims are limited to a disparate impact theory only. In

that case, the Court analyzed a Section 12112(b)(6) claim exclusively under a

disparate impact theory and affirmed summary judgment for the defendant because

the plaintiff had failed to provide any statistical evidence of the tendency of a

policy to screen out individuals with a disability. Smith v. Miami-Dade Cty., 621

F. App’x 955, 961–62 (11th Cir. 2015). The United States Supreme Court’s

decision in Raytheon v. Hernandez further indicates that Section 12112(b)(6)

sounds in disparate impact, not disparate treatment, with the Court quoting that

section’s language concerning “qualification standards, employment tests, or other


1
  Dollar General also moved for permission to appeal the District Court’s Order with respect to a
question of first impression under the Genetic Information Nondisclosure Act (“GINA”),
specifically whether an “acquisition of genetic information” claim under GINA supports a claim
for compensatory and punitive damages under 42 U.S.C. § 1981a when there is no allegation of
any intent to discriminate based on genetic information. The District Court declined to certify
this question to the Eleventh Circuit. See Exhibit B at 8.



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selection criteria that screen out or tend to screen out an individual with a

disability” as the basis for asserting disparate impact claims under the ADA. 540

U.S. 44, 52–53 (2003).

        The vast majority of Circuit Courts and District Courts to have addressed the

issue    have   likewise   held—often     citing     Raytheon—or         implied   that   a

Section 12112(b)(6) claim may only be established through a disparate impact

theory. See e.g., Lopez v. Pacific Maritime Assoc., 657 F.3d 762, 766–67 (9th Cir.

2011) (holding that a plaintiff waived his disparate-impact ADA claim by not

citing Section 12112(b)(6) in his opening brief); Fulbright v. Union Pac. R.R. Co.,

2022 U.S. Dist. LEXIS 37383, *9 (N.D. Tex. Mar. 2, 2022) (“Plaintiff may not

bring his section 12112(b)(6) screening claim under a disparate-treatment theory of

discrimination and is limited to doing so only under a theory of disparate

impact.”); see also Meza v. Union Pac. R.R. Co., 2022 U.S. Dist. LEXIS 164208,

*7–9 (D. Neb. Sep. 12, 2022) (“[S]everal courts hold that § 12112(b)(6) applies

only to disparate-impact claims . . . and the[se] cases [] are persuasive.”)

(collecting cases).

        Not only is the District Court’s opinion permitting the Respondents’

Section 12112(b)(6) claims to proceed under a disparate treatment theory counter

to the overwhelming weight of case law throughout the country, it is also counter

to a plain reading of the statute itself. Section 12112(b)(6) is limited by its terms to



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a claim challenging “qualification standards . . . that screen out or tend to screen

out an individual with a disability or a class of individuals with disabilities . . . .”

Such effects-based language makes clear that, regardless of the reason for the

challenged standard, there is no violation of Section 12112(b)(6) if application of

that standard did not “screen out or tend to screen out” the disabled in practice.

Such a showing could only be made with statistical evidence that a challenged

qualification standard adversely impacted disabled candidates by actually

screening them from further consideration. It would be nonsensical to allow such a

claim to also be viewed as a disparate treatment theory alleging a discriminatory

state of mind when the undisputed statistical evidence is that the allegedly

unlawful standards did not screen out or tend to screen out individuals with a

disability.

       Whether Section 12112(b)(6) recognizes a claim for disparate treatment, and

not just disparate impact, is a pure question of law that Dollar General submits

warrants immediate review by the Eleventh Circuit. There is substantial legal

authority in this Circuit and elsewhere that an ADA challenge to qualification

standards must be analyzed as a disparate impact claim requiring statistical

evidence and that Section 12112(b)(6) does not extend to disparate treatment

claims of intentional discrimination. The answer to the question presented would

also materially advance the termination of this litigation by avoiding the need for



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further discovery, additional dispositive motions practice, a trial, and an inevitable

appeal on the same pure question of law for which immediate review is now

sought. For these reasons, Dollar General respectfully requests that the Court grant

its petition for interlocutory appeal.




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     II. QUESTION FOR REVIEW ON INTERLOCUTORY APPEAL

      Should ADA claims regarding qualification standards that screen out or tend

to screen out individuals with disabilities under 42 U.S.C. § 12112(b)(6) be

analyzed exclusively as disparate impact claims or may plaintiffs establish

screening claims by making an adequate showing of disparate treatment?




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              III. FACTUAL AND PROCEDURAL BACKGROUND

       In order to supply its retail locations, Dollar General operates large

distribution centers in multiple locations where product is received, checked in,

unloaded, stored, and shipped to its stores. Exhibit A at 4. One such distribution

center is the Bessemer DC. Id. Product is moved throughout the Bessemer DC by

GWWs, primarily through the operation of heavy machinery that GWWs must be

able to operate safely and effectively throughout the busy facility. Id. at 4, 31.

       Between December 2013 and September 2017, GWW job applicants at the

Bessemer DC went through a multi-step selection process that included a written

application, job interview, background check, and an offer of employment

conditioned on successful completion of a drug screen and a pre-employment

physical examination at a third party medical center. Id. at 4–5. During the pre-

employment physical examinations, candidates would fill out an intake form2 and

the medical center’s staff would then take the candidate’s vitals and perform a

vision test, a urinalysis, a hearing evaluation, and a physical examination. Id. at 7.

The medical center would then fax a form to Dollar General indicating whether the

candidate was qualified, not qualified, or was referred to a primary medical doctor

for further evaluation (listed as “Refer to PMD”). Id. at 7–8.
2
 The basis for the GINA acquisition claim in this case is that the intake form included the yes or
no question: “Have your grandparents, parents, or children had significant medical problems?”
Exhibit A at 5. There is no allegation or evidence that the answer to this question had any effect
on a candidate’s ultimate rating or that Dollar General ever had any knowledge of the answers.



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       Only 1 out of the 627 candidates who underwent an examination received a

final rating of “Not Qualified” for any reason other than failing a drug screen or

refusing to complete the pre-employment physical examination. See Memorandum

in Support of Summary Judgment, Case No. 2:17-cv-01649, DE No. 110 at 9–10

(attached as Exhibit C). Further, of those candidates initially rated “Refer to

PMD” because of a blood pressure, blood sugar, or vision measurement, 100% of

those who returned to the clinic after that referral and completed the examination

were subsequently rated as “Qualified.” Id.

      The EEOC’s Complaint avers that Dollar General’s pre-employment

examination process violated Section 12112(b)(6) of the ADA by using

qualification standards that allegedly screened out or tended to screen out

individuals with disabilities. See Complaint, Case No. 2:17-cv-01649, DE No. 1

(attached as Exhibit D). There is no allegation that Dollar General designed or

utilized qualification standards with any deliberate intent to discriminate against

individuals with disabilities, but rather that such standards adversely affected the

twenty-five “aggrieved parties” on whose behalf it has brought suit. See generally

Exhibit D. That group consists of that subset of candidates who received ratings of

“Not Qualified” or “Refer to PMD” after they had tested for high blood pressure or




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low visual acuity during the pre-employment physical examination.3 Id.; Exhibit A

at 8.

        The parties filed cross motions for summary judgment as to liability after the

District Court bifurcated the case and reserved additional discovery as to damages

and any specific issues related to individual aggrieved parties until after resolution

of the motions. On July 26, 2022, the District Court granted in part and denied in

part Dollar General’s motion and granted the EEOC’s motion for partial summary

judgment as to liability on its GINA claim. Exhibit A. In reaching this result, the

Court held that the EEOC’s ADA “screen out” claim under 42 U.S.C.

§ 12112(b)(6) survived summary judgment despite the absence of statistical

evidence that the pre-employment physical examinations actually screened out or

tended to screen out individuals with disabilities, and that the claim could be

brought instead under a disparate treatment theory. Id. at 10–23. Specifically, the

Court found that although there was no showing that individuals with disabilities

were screened out or tended to be screened out—nor was there any showing of an

intent to discriminate by anyone at Dollar General or the medical clinic conducting

the examinations—using a pre-employment physical examination that considered

blood pressure and visual acuity was, on its own, direct evidence of discriminatory
3
  The Complaint also alleged ADA claims on behalf of individuals with abnormal blood sugar
readings, but the District Court properly found that having an abnormal blood sugar level was
not a disability and dismissed the ADA claims brought by Respondents on behalf of those
individuals. See Exhibit A at 23 n.10.



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intent that supported a disparate treatment claim under Section 12112(b)(6). Id. at

17–23.

      On August 25, 2022, Dollar General filed a Motion for Certification of an

Interlocutory Appeal and requested the Court stay the remaining discovery issues

and pretrial deadlines. See Motion for Certification and Memorandum in Support,

Case No. 2:17-cv-01649, DE Nos. 134 and 135 (attached as Exhibits E and F).

The Motion requested certification of two questions: (1) whether a GINA claim for

the “acquisition of genetic information” under 42 U.S.C. § 2000ff-1(b) is a claim

for “intentional unlawful discrimination” within the meaning of 42 U.S.C. § 1981a

for which compensatory and punitive damages are available; and (2) whether a

“screen out” claim brought under 42 U.S.C. § 12112(b)(6) can be brought only as a

disparate impact claim requiring statistical evidence. Exhibits E and F.

      On January 3, 2023, the District Court granted the Motion in part and

certified an interlocutory appeal limited to “whether ADA claims regarding

qualification standards that screen out or tend to screen out individuals with

disabilities under 42 U.S.C. § 12112(b)(6) [are] analyzed exclusively as disparate

impact claims or may plaintiffs establish screening claims by making an adequate

showing of disparate treatment.” Exhibit B. The Court held that an interlocutory

appeal was warranted because there are “substantial grounds for difference of

opinion” on the issue, “determination of this issue would not require the Eleventh



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Circuit Court of Appeals to delve into the factual record in this case,” and

“[r]esolution of the ADA issue in favor of Dollar General likely will substantially

reduce the scope of this litigation on remand.” Id. at 7–8.




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           IV. REASONS FOR GRANTING PETITION TO APPEAL

      This Court in its discretion may permit an appeal to be taken from an order

certified for interlocutory appeal under 28 U.S.C. § 1292(b) on “(1) pure questions

of law (2) which are controlling of at least a substantial part of the case, (3) and

which are specified by the district court in its order, (4) and about which there are

substantial grounds for difference of opinion, (5) and whose resolution may well

substantially reduce the amount of litigation necessary on remand.” McFarlin v.

Conseco Servs., 381 F.3d 1251, 1264 (11th Cir. 2004); see 28 U.S.C. § 1292(b).

To be suitable for immediate appeal, “[t]he legal question must be stated at a high

enough level of abstraction to lift the question out of the details of the evidence or

facts of a particular case and give it general relevance to other cases in the same

area of law. And the answer to that question must substantially reduce the amount

of litigation left in the case.” McFarlin, 381 F.3d at 1259. These elements are all

present in the question presented here. Accordingly, the Court should exercise its

discretion and accept the request for interlocutory appeal.

      A.     The issue specified by the District Court involves a pure question
             of law that controls a substantial part of the case.

      The sole question certified by the District Court and expressly specified in

its Order is whether ADA claims challenging qualification standards that allegedly

screen out or tend to screen out individuals with disabilities under 42 U.S.C.

§ 12112(b)(6) must be analyzed exclusively as disparate impact claims. Exhibit B

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at 8. This question concerns the interpretation of a federal statute, specifically the

applicable standard and required evidence for a particular type of claim under the

ADA. Answering that question does not require any detailed review of the factual

record. It is also a controlling question that if answered in the affirmative would

dispose of the putative ADA claims of 25 “aggrieved parties.” Moreover, the

answer to whether claims brought under Section 12112(b)(6) must be analyzed

exclusively as disparate impact claims would clarify the applicable theories of

liability available to all present and future plaintiffs in the Eleventh Circuit who

seek to bring “screen out” claims under that provision of the ADA.

      This Court and its sister circuits have repeatedly held that similar questions

concerning the available theories of liability for a specific claim is a pure and

controlling question of law suitable for interlocutory appeal. See, e.g., Peace

Church Risk Retention Grp. v. Johnson Controls Fire Prot. LP, 49 F.4th 866, 869

(3d Cir. 2022) (noting the Court granted interlocutory appeal on the question of

plaintiff’s novel theory of liability); In re Jones, 2021 U.S. App. LEXIS 1571, *2

(6th Cir. Jan. 20, 2021) (“[W]hether the ADA and RA permit recovery against a

municipality based on a theory of respondeat superior liability—involves a

controlling question of law . . . .”); Love v. Delta Air Lines, 310 F.3d 1347, 1351

(11th Cir. 2002) (granting § 1292(b) review of whether the Air Carrier Access Act

of 1986 creates a private right of action). In fact, in Adams v. Fla. Power Corp.,



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this Court granted interlocutory appeal on the question of “whether a disparate

impact theory of liability is available to plaintiffs suing for age discrimination

under the Age Discrimination in Employment Act of 1967 (‘ADEA’),” which this

Court explained “presents a controlling issue of law.” 255 F.3d 1322, 1323 (11th

Cir. 2001). The Court should also grant interlocutory appeal here on the materially

similar question of whether a disparate treatment theory of liability is available

under 42 U.S.C. § 12112(b)(6).

      B.    There exists substantial grounds for difference of opinion on the
            issue.

      As the District Court discussed in its Memorandum certifying this

interlocutory appeal, there is a difference of opinion among courts as to what

theory of liability may be applicable to a “screen out” claim under Section

12112(b)(6). Exhibit B at 5–8. While there is no dispute among courts, or the

parties, that Section 12112(b)(6) claims may be pursued under a disparate impact

theory, there remains an open and disputed question over whether such “screen

out” claims may also be established under a disparate treatment theory. This

divergent case law demonstrates the existence of substantial grounds for difference

of opinion. See McFarlin, 381 F.3d at 1258; see also Ala. Aircraft Indus. v. Boeing

Co., 2019 U.S. Dist. LEXIS 242335, *18–19 (N.D. Ala. Mar. 18, 2019)

(“Substantial ground for difference of opinion exists when a legal issue is (1)




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difficult and of first impression, (2) the district courts of the controlling circuit are

split as to the issue, or (3) the circuits are split on the issue.”).

       The difference of opinion on this issue exists both between the various

circuit courts and among district courts within the Eleventh Circuit. To date, no

circuit court appears to have squarely addressed the question presented in detail,

and there is inconsistency in those decisions that have tangentially addressed it.

Some circuits have appeared to indicate that Section 12112(b)(6) claims must be

analyzed under a disparate impact theory while at least one circuit has indicated a

disparate treatment theory may also be applicable. Compare Lopez, 657 F.3d at

766–67 (holding that a plaintiff waived his disparate impact ADA claim by not

citing Section 12112(b)(6) in his opening brief) and Boersig v. Union Electric Co.,

219 F.3d 816, 822 (8th Cir. 2000) (stating that Section 12112(b)(6) “invoke[es] a

disparate impact theory of ADA liability”) with EEOC v. Kronos Inc., 694 F.3d

351, 357 (3d Cir. 2012) (noting in dicta that “screen out” tests “may be

impermissible under both disparate treatment and disparate impact theories”).

       Although neither the Supreme Court nor this Circuit has explicitly ruled on

the issue, prior decisions from both courts support Dollar General’s position that

Section 12112(b)(6) only recognizes disparate impact claims. For example, in

Smith v. Miami-Dade County, this Circuit affirmed summary judgment for the

defendant on the plaintiff’s Section 12112(b)(6) claim because the plaintiff had



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failed to provide any statistical evidence of the tendency of the challenged policy

to screen out individuals with a disability. 621 F. App’x at 961–62. The Circuit

analyzed the Section 12112(b)(6) claim exclusively under a disparate impact

theory, which requires a showing of statistical evidence. Id. The Circuit also

dismissed the plaintiff’s putative disparate treatment claim because it was based on

the application of the challenged qualification standards, which the Circuit held

“failed to allege claims of disparate treatment.” Id. at 959. Thus, although this

Circuit did not explicitly state that Section 12112(b)(6) claims may only be

brought under a disparate impact theory, such a position is strongly implied by the

Circuit’s analysis in Smith.

       Similarly, in Raytheon v. Hernandez, the Supreme Court also indicated that

Section 12112(b)(6) is limited to claims of disparate impact. 540 U.S. 44, 52–53

(2003); see also Exhibit A at 14 (“Dicta in Raytheon undergirds the argument that

§ 12112(b)(6) pertains only to disparate impact claims.”). In that decision, the

Supreme Court focused on the distinction between a disparate-treatment theory’s

intent-centric nature versus the effect-centric nature of a disparate-impact theory.

Id.   The Court explained that disparate treatment claims are limited to those

circumstances where the claim “depends on whether the protected trait . . . actually

motivated the employer’s decision” while disparate impact claims focus on

whether a policy “in fact fall[s] more harshly on one group than another



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[regardless] of the employer’s subjective intent to discriminate that [would be]

required in a disparate-treatment case.”         Id. (internal quotations omitted).

Critically, in discussing how different subsections of the ADA recognize disparate

treatment claims while others permit disparate impact claims, the Supreme Court

cited Section 12112(b)(6)’s effects-based language as the basis for an ADA

disparate impact claim. In so doing, the Court categorized Section 12112(b)(6) as

a claim arising under a disparate impact theory of liability. Id. at 53; see also

Meza v. Union Pac. R.R. Co., 2022 U.S. Dist. LEXIS 164208, *8 (D. Neb. Sep. 12,

2022) (“the U.S. Supreme Court’s holding in Raytheon, [] ‘puts § 12112(b)(6)

squarely into the disparate-impact category’”) (quoting EEOC v. BNSF Ry. Co.,

2016 U.S. Dist. LEXIS 2557, *15–16 (W.D. Wash. Jan. 8, 2016) aff’d in part, 902

F.3d 916 (9th Cir. 2018); Fulbright v. Union Pac. R.R. Co., 2022 U.S. Dist. LEXIS

37383, *9 (N.D. Tex. Mar. 2, 2022) (“The Supreme Court appears to have also

positioned section 12112(b)(6) exclusively in the disparate-impact category,

although it has not definitively held as much.”).

      The lack of a definitive ruling from the Supreme Court or this Circuit on this

question has led to divergent case law among district courts within the Circuit. For

example, prior to the District Court’s contrary decision in this case, two other

district courts in the Eleventh Circuit had issued opinions indicating that

qualification standards claims brought under Section 12112(b)(6) are exclusively



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analyzed as disparate impact claims. See Monaco v. City of Jacksonville, 51 F.

Supp. 3d 1251, 1268 (M.D. Fla. 2014) (dismissing a Section 12112(b)(6) claim

“[b]ecause Plaintiffs are proceeding solely under a theory of disparate treatment”

and Section 12112(b)(6) “relies on a theory of disparate impact discrimination”)

and Allmond v. Akal Sec., Inc., 2007 U.S. Dist. LEXIS 72713, *14–17 (M.D. Ga.

Sep. 28, 2007) (holding that “[c]laims brought pursuant to § 12112(b)(6) are

treated as disparate impact claims” for which it is inappropriate to apply the

traditional McDonnell Douglas framework used for disparate treatment claims).

Those decision are now at odds with the ruling from the District Court in this case.

Compare Monaco and Allmond supra with Exhibit A at 19 (“[T]he Court rejects

Dollar General’s contention that § 12112(b)(6) pertains only to disparate impact

claims and that a plaintiff may prove a discrimination claim under § 12112(b)(6)

only by offering comprehensive statistical evidence.”).

      Accordingly, there is confusion and divergent case law on the issue among

circuit courts and district courts within the Eleventh Circuit, and these differing

opinions among courts on the issue makes the question certified by the District

Court appropriate for interlocutory appeal under 28 U.S.C. § 1292(b).

      C.    An immediate appeal would substantially reduce the amount of
            litigation necessary on remand.

      If the Court confirms that a Section 12112(b)(6) claim can only be

established under a disparate impact theory, the ADA claims brought on behalf of

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twenty-five aggrieved parties should be dismissed in their entirety. This results

from the fact that Respondents have not offered—and, as shown by Dollar

General’s statistical evidence, could not offer—any statistical evidence that the

challenged standards screened out or tended to screen out individuals with

disabilities. Such evidence is indispensable to the success of a disparate impact

theory of liability.   See Smith, 621 F. App’x at 961 (“[T]o establish a prima

facie case of disparate impact, a plaintiff must provide comparative evidence

showing that a policy has a disparate impact on the disabled.”).

      Dismissal of Respondents’ Section 12112(b)(6) claim would eliminate the

need to conduct substantial remaining discovery concerning the alleged

disabilities, damages, and specific factual circumstances of twenty-five “aggrieved

parties” on whose behalf the EEOC is alleging disability discrimination. It would

also avoid the need for trial altogether on those claims. What would remain is an

analytically distinct claim that Petitioner violated GINA when candidates were

asked about family health history as part of the pre-employment examination

process. Accordingly, a substantial amount of trial time, trial preparation, cost, and

expense would be eliminated, and significant judicial resources would be preserved

if the ADA question presented is accepted for immediate appeal, thereby

materially advancing the ultimate termination of the litigation.




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               V. CONCLUSION AND RELIEF REQUESTED

      Whether claims brought under § 12112(b)(6) of the ADA must be analyzed

exclusively under a disparate impact theory is a controlling issue of law and

substantial grounds for difference of opinion exist regarding the correctness of the

District Court’s decision on this question. An immediate appeal resolving that

question now, rather than after further discovery and a trial, would materially

advance the ultimate termination of the litigation. For these reasons, Petitioner

Doller General requests the Court grant its petition to appeal the single narrow

issue presented.



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                     CERTIFICATE OF COMPLIANCE

      I certify that this motion complies with Fed. R. App. P. 27 & 32. This

motion has been prepared using Equity Text A, which is a proportionally spaced

face that includes serifs, in 14-point type. This motion contains 4,520 words

according to Microsoft Word, excluding the cover page, Certificate of Interested

Parties, Corporate Disclosure Statement, signature block, Certificate of

Compliance, and Certificate of Service.


                                     s/ Stanley E. Graham
                                     Stanley E. Graham, Esq.
                                     WALLER LANSDEN DORTCH & DAVIS, LLP




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                          CERTIFICATE OF SERVICE

       I hereby certify that on January 13, 2023, a copy of this motion is being filed
electronically. Notice of this filing will be sent via electronic mail and by operation
of the Court’s electronic filing system to all parties indicated on the electronic
filing receipt.

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      I certify that four stamped paper copies of this petition shall be placed in
the mail for delivery to the Clerk’s Office under Fed. R. App. P. 5(c).

                                        s/ Stanley E. Graham
                                        Stanley E. Graham, Esq.
                                        WALLER LANSDEN DORTCH & DAVIS, LLP

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                        Exhibit A
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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


 EQUAL             EMPLOYMENT }
 OPPORTUNITY COMMISSION,      }
                              }
     Plaintiff,               }
                              }
 and                          }
                              }
 VINCENT JACKSON,             }               Case No.: 2:17-cv-01649-MHH
                              }
     Plaintiff-Intervenor,    }
 v.                           }
                              }
 DOLGENCORP, LLC,             }
                              }
     Defendant.               }


                          MEMORANDUM OPINION

      In this case, the Equal Employment Opportunity Commission, on behalf of

unsuccessful Dollar General job applicants, challenges Dollar General’s hiring

practices. Vincent Jackson, one of the unsuccessful job applicants, challenges Dollar

General’s hiring practices individually, (Docs. 1, 41). The EEOC and Mr. Jackson

contend that Dollar General violated the Americans with Disabilities Act and the

Genetic Information Nondiscrimination Act because, when hiring general

warehouse workers for its Bessemer, Alabama facility, the company used a post-

offer medical examination that screened out some applicants based on actual or
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perceived disabilities. Third-party Middle Creek Medical Center conducted the

medical exams for Dollar General.1

         The EEOC and Dollar General have filed cross motions for summary

judgment on the employees’ GINA claim.2 Dollar General has filed a motion for

summary judgment on the plaintiffs’ ADA claims. This opinion resolves these

pending motions. The opinion begins with a discussion of the standard that a district

court uses to evaluate motions for summary judgment. Then, consistent with the

summary judgment standard, the Court identifies the evidence that the parties have



1
  Mr. Jackson’s complaint, (Doc. 41), is nearly identical to the EEOC’s complaint, (Doc. 1). In
their complaints, in addition to their GINA claims, the EEOC and Mr. Jackson bring three ADA
claims: a claim under 42 U.S.C. § 12112(a); a claim under 42 U.S.C. § 12112(b)(6); and a claim
under 42 U.S.C. § 12112(d)(3). Mr. Jackson’s claims and the EEOC’s claims rest on identical
factual allegations. Therefore, the Court analyzes Mr. Jackson’s claims and the EEOC’s claims
together and cites to the EEOC complaint when discussing the plaintiffs’ allegations.

Plaintiffs may plead multiple ADA claims, but to pursue those claims simultaneously, the plaintiffs
must allege a distinct factual basis for each clam. Jean-Pierre v. Naples Cmty. Hosp., Inc., 817
Fed. Appx. 822, 828 (11th Cir. 2020). Where plaintiffs’ ADA claims under various statutory
provisions rest on identical factual allegations, the alternative claims are duplicative and do not
require separate analysis on a motion for summary judgment. Jean-Pierre, 817 Fed. Appx. at 828.

The plaintiffs brought their § 12112(d)(3) claim under a separate count, (Doc. 1, pp. 8-9; Doc. 41,
pp. 8-9), but no plaintiff alleges a distinct factual basis for this claim. Rather, the plaintiffs reiterate
their uniform factual allegations, noting that Dollar General “used the results of its post-offer
medical examinations to screen out qualified individuals with disabilities using criteria that are
neither job-related nor consistent with business necessity.” (Doc. 1, p. 9, ¶ 29; Doc. 41, p. 9, ¶ 29).
The quoted language is copied directly from § 12112(b)(6). Thus, the Court regards the plaintiffs’
§ 12112(d)(3) claim as duplicative of the plaintiffs’ § 12112(b)(6) claim.

Accordingly, the Court analyzes two ADA claims: the plaintiffs’ § 12112(b)(6) claim on behalf
of the entire “ADA class” and the plaintiffs’ § 12112(a) claim on behalf of Mr. Jackson. The Court
will address whether the § 12112(a) claim was properly pleaded later in the opinion.
2
    Mr. Jackson has not moved for summary judgment on his GINA claim separately.
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submitted. Finally, the Court evaluates the evidence under the governing legal

standards, considering first the ADA claims and then the GINA claim.

                                          I.

      Pursuant to Rule 56 of the Federal Rules of Civil Procedure, a district court

“shall grant summary judgment if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.”

FED. R. CIV. P. 56(a). To demonstrate that a genuine dispute as to a material fact

precludes summary judgment, a party opposing a motion for summary judgment

must cite “to particular parts of materials in the record, including depositions,

documents, electronically stored information, affidavits or declarations, stipulations

(including those made for purposes of the motion only), admissions, interrogatory

answers, or other materials.” FED. R. CIV. P. 56(c)(1)(A). “The court need consider

only the cited materials, but it may consider other materials in the record.” FED. R.

CIV. P. 56(c)(3). When considering a summary judgment motion, a district court

must view the evidence in the record in the light most favorable to the non-moving

party and draw reasonable inferences from that evidence in favor of the non-moving

party. Sconiers v. Lockhart, 946 F.3d 1256, 1260 (11th Cir. 2020).

      “The standard of review for cross-motions for summary judgment does not

differ from the standard applied when only one party files a motion, but simply

requires a determination of whether either of the parties deserves judgment as a
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matter of law on the facts that are not disputed. The Court must consider each motion

on its own merits, resolving all reasonable inferences against the party whose motion

is under consideration.” Alabama Municipal Ins. Corp. v. Scottsdale Ins. Co., 297

F. Supp. 3d 1248, 1252 (N.D. Ala. 2017) (quoting Southern Pilot Ins. Co. v. CECS,

Inc., 52 F. Supp. 3d 1240, 1242-43 (N.D. Ga. 2014)). “Cross motions for summary

judgment may be probative of the nonexistence of a factual dispute. Indeed, when

both parties proceed on the same legal theory and rely on the same material facts the

court is signaled that the case is ripe for summary judgment.” Shook v. U.S., 713

F.2d 662, 665 (11th Cir. 1983) (internal citation omitted).

                                          II.

      Dollar General, a national discount retailer, operates a distribution center in

Bessemer, Alabama. (Doc. 103-2, pp. 22-23, tpp. 21-22). The Dollar General

distribution center receives retail products, stores them, and distributes the products

to the company’s retail locations. Warehouse workers manage the product traffic at

the Bessemer facility. (Doc. 103-2, pp. 56-64, tpp. 55-63).

      To hire employees for its Bessemer distribution center, Dollar General uses a

multi-step process. When an individual applies for a job as a Dollar General general

warehouse worker, she must submit an online application. (Doc. 103-2, p. 41, tp.

40). Dollar General’s HR department interviews applicants, either in person or by

phone. (Doc. 103-2, p. 41, tp. 40). Applicants who pass the first interview then
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interview on-site at the distribution center with a warehouse supervisor. (Doc. 103-

2, pp. 41-42, tpp. 40-41). Following the on-site interview, some applicants receive

a job offer contingent on a pre-employment background check, physical

examination, and drug test. (Doc. 103-2, p. 47, tp. 46). Applicants receiving a

contingent job offer from the Bessemer facility must visit Middle Creek Medical

Center for a physical examination and drug test. (Doc. 103-2, p. 47, tp. 46).

      Middle Creek Medical Center is an urgent care center. (Doc. 104-19, p. 23,

tp. 22). In addition to treating “episodic medical conditions,” Middle Creek offers

“pre-employment physicals, drug screens, and hearing tests.” (Doc. 104-19, pp. 23,

24, tpp. 22, 23). In 2011, Middle Creek verbally agreed to provide pre-employment

medical services for Dollar General. (Doc. 104-19, pp. 25-26, tpp. 24-25). In

January of 2012, Middle Creek began performing pre-employment medical

examinations for Dollar General. (Doc. 104-19, p. 43, tp. 42).

      At the beginning of a physical examination, a job candidate must complete a

“Physical Encounter Questionnaire” designed by Dollar General. (Doc. 104-19, p.

59, tp. 58). The questionnaire includes a series of “yes” or “no” questions. (Doc.

104-19, p. 316). The questions are divided into several categories, one of which is

“Medical History.” (Doc. 104-19, p. 316). For a period of time, the “Medical

History” section contained the following question:       “Have your grandparents,

parents, or children had significant medical problems?” (Doc. 104-19, p. 316). After
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job candidates completed the questionnaire, Middle Creek staff question candidates

about the candidates’ family medical history. (See e.g., Doc. 102-9, p. 8; Doc. 105-

1, p. 61, tp. 59).3 On August 22, 2014, Dollar General sent Middle Creek an updated

questionnaire without the question about family medical history. (Doc. 102-7, p.

8).4


3
  According to Brittney Busbee, a medical professional at Medical Creek, Dollar General job
candidates were asked follow-up questions about their family history only if they indicated on the
questionnaire that their grandparents, parents, or children had significant medical problems. (Doc.
105-1, pp. 61-62, tpp. 59-60).
4
 The updated questionnaire was attached to an email from Rick Sumner, Director of Insurance
and Safety at Dollar General. The email states:

       Dear Carla [Busbee],

       Thank you for administering Dollar General’s post offer, pre-employment physical
       evaluation. Please ensure that you are using the updated attached documents and
       forms when administering the evaluation. I have also attached a document that
       generally outlines the process for the evaluation. As you are aware, the Genetic
       Information Nondiscrimination Act of 2008 (GINA) prohibits employers from
       requesting or requiring genetic information of an individual or family member of
       the individual, except as specifically allowed by the law. Genetic information as
       defined by GINA, includes an individual’s family medical history, the results of an
       individual’s or family member’s genetic tests, the fact that an individual or
       individual’s family member sought or received genetic services, and genetic
       information of a fetus carried by an individual or individual’s family member or an
       embryo lawfully held by an individual or family member receiving assistive
       reproductions services. To help ensure continued compliance with this law, when
       relaying the results of the evaluation, you should not provide Dollar General with
       any genetic information about the candidate. You should only inform Dollar
       General (on the form provided) whether the candidate is qualified, not qualified or
       referred to his or her PMD. Please do not provide any other information to Dollar
       General. Please ensure these new documents are implemented immediately.

       Please do not hesitate to contact me with questions or concerns about this
       information.

       Regards,
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       In addition to collecting information in writing about candidates’ medical

history, Middle Creek staff take the candidate’s vitals and perform a vision test, a

urinalysis, a hearing evaluation, and a physical examination “including [a] hernia

check for males.” (Doc. 104-19, p. 362). Middle Creek uses a form labeled “Dollar

General Physical Requirements” which lists the following benchmarks for a

“qualified” rating:

       NOT Qualified if [blood pressure] > 160/100

       Vision must be 20/50 or better

       If color blind, [employee] still passes

       MUST pass peripheral vision screen

(Doc. 104-19, p. 362).5 The form instructs Middle Creek staff to fax to Dollar

General the final page of the questionnaire, indicating whether the candidate was



       Rick Sumner

(Doc. 102-7, p. 2).
5
  The parties dispute whether Dollar General or Middle Creek set these requirements, especially
the benchmarks for vision and blood pressure. Nick Orefice, Dollar General’s HR Generalist,
opined during his deposition that these requirements were likely created at Dollar General’s
“corporate level.” (Doc. 103-1, pp. 64-65, tpp. 63-64). Carla Busbee, Middle Creek’s 30(b)(6)
representative, also indicated that these requirements came from Dollar General. (Doc. 104-19,
pp. 74, 101, 103, tpp. 73, 100, 102). Elizabeth Deslattes, a nurse practitioner at Middle Creek,
suggested that Middle Creek may have come up with the requirements. (Doc. 104-1, pp. 96-97,
tpp. 95-96). Similarly, Rick Sumner stated he thinks Middle Creek developed the checklist and
that it was not provided by Dollar General. (Doc. 104-21, p. 154, tp. 153).

This fact is relevant only to the plaintiffs’ ADA claims, not their GINA claim. And for purposes
of the ADA claims, because only Dollar General moves for summary judgment, the Court views
this evidence in the light most favorable to the non-movants, the EEOC and Mr. Jackson. Thus,
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qualified, not qualified, or referred to a primary medical doctor for further

evaluation. (Doc. 104-19, p. 362). Middle Creek complies. (Doc. 104-1, p. 71, tp.

70; Doc. 103-2, pp. 28-29, tpp. 27-28).

       “Qualified” means that the person was “medically capable of performing the

job.” (Doc. 104-1, pp. 106-07, tpp. 105-06). “Referred to PMD” sometimes means

that the person was not qualified to do the job; it also may mean that Middle Creek

felt it needed more information before making a final determination. (Doc. 104-1,

p. 107, tp. 106). According to Elizabeth Deslattes, a nurse practitioner at Middle

Creek, rating a candidate “not qualified” “didn’t necessarily mean they weren’t

physically able to do the job.” (Doc. 104-1, p. 107, tp. 106).

       The job applicants represented by the EEOC, including Mr. Jackson, received

ratings of either “not qualified” or “referred to PMD.” None of the applicants

became an employee of Dollar General. Mr. Jackson was rated “not qualified” after

failing the vision test. (Doc. 102-9, p. 11). According to Dollar General, Mr.

Jackson refused to complete the physical examination after being informed that he

failed the vision test. (Doc. 102-9, p. 11). Mr. Jackson testified that he wanted to

finish the examination. (Doc. 105-8, p. 266, tp. 265). The Court accepts Mr.




for purposes of this opinion, the Court assumes that Dollar General provided these requirements
to Middle Creek.
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Jackson’s version of the facts for purposes of Dollar General’s summary judgment

motion.

                                            III.

                              ADA “Screen Out” Claim

      The EEOC and Mr. Jackson assert that the pre-employment medical

examination that Middle Creek conducted on behalf of Dollar General screened out

the 24 job applicants the EEOC represents in this case in violation of the ADA. The

ADA prohibits employers from discriminating “against a qualified individual on the

basis of disability in job application procedures” or hiring or “other terms,

conditions, and privileges of employment.” 42 U.S.C. § 12112(a). The statute

identifies seven categories of conduct that constitute discrimination. 42 U.S.C.

§ 12112(b). Here, the EEOC brings its “screen out” claim under subsection (b)(6).

Section 12112(b)(6) prohibits an employer from discriminating against a qualified

individual on the basis of disability by:

      using qualification standards, employment tests or other selection
      criteria that screen out or tend to screen out an individual with a
      disability or a class of individuals with disabilities unless the standard,
      test or other selection criteria, as used by the covered entity, is shown
      to be job-related for the position in question and is consistent with
      business necessity.

42 U.S.C. § 12112(b)(6). Dollar General contends that the Court must evaluate a

§ 12112(b)(6) claim as a disparate impact claim and that a plaintiff must offer
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comparative statistical evidence to prove a disparate impact claim, something neither

the EEOC nor Mr. Jackson has done. (Doc. 110, pp. 14-18).

      Employment discrimination claims typically fall into two buckets: disparate

treatment claims and disparate impact claims. Raytheon Co. v. Hernandez, 540 U.S.

44, 52 (2003). As its name suggests, in a disparate treatment case, a plaintiff must

establish that his employer “simply treats some people less favorably than others”

because of a protected characteristic, here a disability. Raytheon, 540 U.S. at 52.

The “because of” requirement speaks to the employer’s intent to discriminate against

a job applicant or an employee based on a protected trait. Raytheon, 540 U.S. at 52.

In contrast, disparate impact claims examine the way in which employment policies

and practices disproportionately effect certain job applicants or employees:

      disparate-impact claims “involve employment practices that are
      facially neutral in their treatment of different groups but that in fact fall
      more harshly on one group than another and cannot be justified by
      business necessity.” Teamsters, supra, at 335–336, n. 15, 97 S.Ct.
      1843. Under a disparate-impact theory of discrimination, “a facially
      neutral employment practice may be deemed [illegally discriminatory]
      without evidence of the employer’s subjective intent to discriminate
      that is required in a ‘disparate-treatment’ case.”

Raytheon, 540 U.S. at 52-53 (quoting Teamsters v. United States, 431 U.S. 324, 335-

36 n.15 (1977) & Wards Cove Packing Co. v. Atonio, 490 U.S. 642, 645-46 (1989)).

“Because ‘the factual issues, and therefore the character of the evidence presented,

differ when the plaintiff claims that a facially neutral employment policy has a

discriminatory impact on protected classes,’ Texas Dept. of Community Affairs v.
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Burdine, 450 U.S. 248, 252, n. 5, 101 S.Ct. 1089, 67 L.Ed.2d 207 (1981), courts

must be careful to distinguish between” disparate treatment claims and disparate

impact claims. Raytheon, 540 U.S. at 53.

         In Raytheon, the plaintiff, Mr. Hernandez, pleaded only a disparate treatment

claim in his complaint. Raytheon, 540 U.S. at 49. At summary judgment, Mr.

Hernandez began to weave disparate impact concepts into his opposition to

Raytheon’s dispositive motion. Raytheon, 540 U.S. at 49. The Court of Appeals

held that the district court properly selected the McDonnell Douglas burden-shifting

framework to evaluate Mr. Hernandez’s ADA claim because Mr. Hernandez pleaded

only a disparate treatment claim; the Court of Appeals found that Mr. Hernandez

waited too long to attempt to pursue a disparate impact claim. Raytheon, 540 U.S.

at 49. At the first stage of the burden-shifting framework, the Court of Appeals

concluded that Mr. Hernandez established a prima facie case of discrimination.

Raytheon, 540 U.S. at 49-50. At the second stage, the stage at which Raytheon

merely had to identify, not prove, a facially legitimate reason for its employment

decision, the Court of Appeals mistakenly evaluated the merits of the rehire policy

that Mr. Hernandez challenged. Raytheon, 540 U.S. at 51-52.6 Raytheon’s rehire


6
    In Raytheon, the Supreme Court outlined the McDonnell Douglas framework as follows:

         The Court in McDonnell Douglas set forth a burden-shifting scheme for
         discriminatory-treatment cases. Under McDonnell Douglas, a plaintiff must first
         establish a prima facie case of discrimination. The burden then shifts to the
         employer to articulate a legitimate, nondiscriminatory reason for its employment
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policy, neutral on its face, was “by definition, a legitimate, nondiscriminatory reason

under the ADA” for Raytheon to refuse to rehire Mr. Hernandez. Raytheon, 540

U.S. at 51-52. The Court of Appeals criticized the policy under the ADA because

the policy operated to exclude from rehire recovered addicts. The Supreme Court

rejected the Court of Appeals’ analysis and explained that at stage two, the impact

of the policy on addicts was irrelevant. The Supreme Court held that at stage two,

the Court of Appeals should have deemed Raytheon’s facially-neutral rehire policy

a non-discriminatory reason for the company’s hiring decision and proceeded to

stage three to examine Mr. Hernandez’s evidence of discriminatory intent.

Raytheon, 540 U.S. at 51-52. The Supreme Court noted that by considering the

impact of Raytheon’s rehire policy on addicts at stage two, “the Court of Appeals

erred by conflating the analytical framework for disparate-impact and disparate-

treatment claims.” Raytheon, 540 U.S. at 51.

       Mindful of the Supreme Court’s instruction that courts must be careful to

distinguish between disparate treatment claims and disparate impact claims,

Raytheon, 540 U.S. at 53, we turn to the EEOC’s allegations against Dollar General



       action. 411 U.S., at 802, 93 S.Ct. 1817. If the employer meets this burden, the
       presumption of intentional discrimination disappears, but the plaintiff can still
       prove disparate treatment by, for instance, offering evidence demonstrating that the
       employer’s explanation is pretextual.

Raytheon, 540 U.S. at 49 n.3.
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to identify the ADA claims at issue in this case. The EEOC alleges that Dollar

General:

       discriminated against Jackson, a qualified individual with a disability,
       and a class of qualified individuals with disabilities, when it failed to
       hire Jackson and the [ADA class] for general warehouse positions
       because of disability, perceived disability and/or record of disability.
       [Dollar General] further discriminated against Jackson and the class
       when it used post-offer medical examinations to screen out individuals
       with disabilities by means of exclusionary criteria that were neither job-
       related nor consistent with business necessity.

(Doc. 1, pp. 1-2; see also Doc. 41, pp. 1-2). The first sentence identifies a disparate

treatment claim concerning Dollar General’s decision not to hire Mr. Jackson

because of his alleged actual or perceived disability.7 The second sentence concerns

a screen out claim. The “ADA Class” for the screen out claim consists of Mr.

Jackson and 23 other individuals who Middle Creek, on Dollar General’s behalf,

screened out in the hiring process based on vision, blood pressure, or blood sugar.

(Doc. 1, p. 7, ¶¶ 25(b)-(f)). As mentioned, the EEOC asserts the disparate treatment




7
  See Raytheon, 540 U.S. at 53 (explaining “that respondent’s case was limited to a disparate-
treatment theory, that the company refused to rehire respondent because it regarded respondent as
being disabled and/or because of respondent’s record of a disability”).

The EEOC mentions an “ADA class” in its description of its disparate treatment claim, but the
EEOC provides factual allegations to support a disparate treatment claim only for Mr. Jackson. In
the parties’ Rule 26 report, the EEOC characterizes its class claim as a medical screening claim.
(Doc. 37, p. 2). The Court regards the EEOC’s disparate treatment claim as only an individual
claim for Mr. Jackson. Mr. Jackson asserts an individual disparate treatment claim in his
complaint. (Doc. 41, pp. 5-8, ¶¶ 22-24).
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claim and the screen out claims pursuant to 42 U.S.C. §§ 12112(a) and (b)(6). (Doc.

1, pp. 5, 7, ¶¶ 22, 25).

       Some courts have held that § 12112(b)(6) pertains only to disparate impact

claims. See, e.g., Fulbright v. Union Pacific Railroad Co., No. 3:20-CV-2392-BK,

2022 WL 625082, at *3 (N.D. Tex. Mar. 3, 2022); EEOC v. BNSF Railway Co., NO.

C14-1488 MJP, 2016 WL 98510, at *5 (W.D. Wash. Jan. 8, 2016). Dollar General

urges the Court to follow suit in this case. Other courts have allowed plaintiffs to

pursue disparate treatment claims under § 12112(b)(6). See, e.g., Gonzales v. City

of New Braunfels, Tex., 176 F.3d 834, 839 (5th Cir. 1999) (examining medical

screening claim by individual plaintiff as a disparate treatment claim and noting that

plaintiff did not plead a disparate impact claim under § 12112(b)(6)); Toole v. Metal

Services, LLC, 17 F. Supp. 3d 1161 (S.D. Ala. 2014) (applying the McDonnell

Douglas framework, though noting the plaintiff alleged that the physical

examination had a “disparate impact” on the plaintiff). Neither the Supreme Court

nor the Eleventh Circuit Court of Appeals has held explicitly that a plaintiff may

pursue only a disparate impact claim under § 12112(b)(6).

       Dicta in Raytheon undergirds the argument that § 12112(b)(6) pertains only

to disparate impact claims. In Raytheon, in discussing the Court of Appeals’

erroneous analysis of the substance of Raytheon’s rehire policy at stage two of the

McDonell Douglas framework, the Supreme Court commented:
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       [T]he Court of Appeals observed that petitioner’s policy “screens out
       persons with a record of addiction,” and further noted that the company
       had not raised a business necessity defense, factors that pertain to
       disparate-impact claims but not disparate-treatment claims.

Raytheon, 540 U.S. at 54 (citation to Court of Appeals’ decision omitted); see

Fulbright, 2022 WL 625082 at *3 (“The Supreme Court appears to have also

positioned section 12112(b)(6) exclusively in the disparate-impact category,

although it has not definitively held as much.”) (citing Raytheon, 540 U.S. at 53).8


8
  In Raytheon, the Supreme Court appears to associate disparate treatment claims with the language
of § 12112(b)(3) and disparate impact claims with the language of § 12112(b)(6). Using the
language of these two subsections, the Supreme Court wrote:

       Both disparate-treatment and disparate-impact claims are cognizable under the
       ADA. See 42 U.S.C. § 12112(b) (defining “discriminate” to include “utilizing
       standards, criteria, or methods of administration ... that have the effect of
       discrimination on the basis of disability” and “using qualification standards,
       employment tests or other selection criteria that screen out or tend to screen out an
       individual with a disability”).

540 U.S. at 53. By identifying disparate-treatment claims first and using the language of
§ 12112(b)(3) first in its parenthetical, the Supreme Court seemed to link disparate-treatment
claims with § 12112(b)(3) and disparate-impact claims with § 12112(b)(6).

This Court observes that, because it speaks of standards that have the “effect” of discriminating,
§ 12112(b)(3), rather than § 12112(b)(6), seems to address disparate-impact claims. In its entirety,
§ 12112(b)(3) provides that an employer discriminates against a qualified individual on the basis
of a disability by:

       (3) utilizing standards, criteria, or methods of administration--

               (A) that have the effect of discrimination on the basis of disability; or

               (B) that perpetuate the discrimination of others who are subject to common
               administrative control[.]

42 U.S.C. § 12112(b)(3) (emphasis added). In contrast, § 12112(b)(6) speaks to standards and
employment tests that expressly “screen out” individuals on the basis of disability, a direct form
of selective hiring. Respectfully, the Court tends to think that Congress attempted to capture
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Importantly, Raytheon concerned a facially-neutral hiring policy. The Supreme

Court stated that courts dealing with facially-neutral policies and procedures must

evaluate the effect of the policy on a suspect group; the employer’s intent is not at

issue in those cases. Raytheon, 540 U.S. at 52-53.

      In Raytheon, the company “had a policy against rehiring employees who were

terminated for workplace misconduct.” Raytheon, 540 U.S. at 47. Because Mr.

Hernandez’s separation summary indicated that he previously had left his job at

Raytheon because of employee misconduct, the employee who reviewed Mr.

Hernandez’s application for rehire declined the application. The employee who

made the hiring decision indicated that she did not know that the misconduct for

which Mr. Hernandez lost his job was drug abuse, but the record revealed that Mr.

Hernandez submitted with his job application a letter from an Alcoholics

Anonymous counselor, suggesting that the employee who declined Mr. Hernandez’s

application for rehire may have been aware of Mr. Hernandez’s record of addiction.

Raytheon, 540 U.S. at 47. Still, Raytheon’s rehire policy was not targeted at actual

or perceived disabilities; the policy embraced all categories of employee

misconduct. The Supreme Court emphasized this point throughout its opinion,

describing Raytheon’s informal rehire policy as a “neutral company policy” that was




disparate-impact claims under § 12112(b)(3) and disparate-treatment screen out claims under
§ 12112(b)(6).
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“lawful on its face.” Raytheon, 540 U.S. at 50-51. In this context, the Supreme

Court indicated that courts should evaluate facially-neutral employment policies as

disparate impact claims. Raytheon, 540 U.S. at 52-53 (citing Atonio, 490 U.S. at

645-46).

          The plain language of § 12112(b)(6) does not limit discrimination actions

brought under the subsection to actions involving facially-neutral employment

policies. As discussed, § 12112(b)(6) prohibits an employer from discriminating

against a qualified individual on the basis of disability by:

          using qualification standards, employment tests or other selection
          criteria that screen out or tend to screen out an individual with a
          disability or a class of individuals with disabilities unless the standard,
          test or other selection criteria, as used by the covered entity, is shown
          to be job-related for the position in question and is consistent with
          business necessity.

42 U.S.C. § 12112(b)(6).         Qualification standards, employment tests, or other

selection criteria that screen out or tend to screen out an individual with a disability

or a class of individuals with disabilities may appear in a facially-neutral

employment policy, but employers also may adopt policies that expressly and

intentionally screen out individuals with disabilities. In the latter category of screen

out cases, the employment policy constitutes direct evidence of discriminatory

intent.     An employer attempting to avoid liability for disparate treatment of

employees based on its screening policy may do so by establishing that the screening
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standard is “job-related for the position in question” and “consistent with business

necessity.” 42 U.S.C. § 12112(b)(6).

      The Sixth Circuit Court of Appeals discussed direct evidence “screen out”

cases in Monette v. Electronic Data Systems, Corp., 90 F.3d 1173 (6th Cir. 1996),

abrogated on other grounds by Lewis v. Humboldt Acquisition Corp., Inc., 681 F.3d

312 (6th Cir. 2012). The Court of Appeals explained that “employers often rely on

an employee’s disability in making employment decisions, a fact rarely present in

Title VII race or gender discrimination cases” and that “when an employer admits

(or the evidence establishes) that its decision was based upon the employee’s

disability, direct evidence of discrimination exists.” Monette, 90 F.3d at 1180. In

direct evidence cases, courts do not need to use the McDonnell Douglas burden-

shifting framework for cases that rest on circumstantial evidence of discriminatory

intent or the disparate impact analysis attendant to facially-neutral employment

policies that have a disproportionate effect on a protected group. Monette, 90 F.3d

at 1180. Instead, when an employer relies partially or entirely on an applicant’s

disability in making a hiring decision, to prove his ADA claim, an applicant either

may establish that he can perform the requirements of the job despite his disability

or he may “challenge[] a particular job requirement as unessential.” Monette, 90

F.3d at 1182. In the latter instance, the employer “bears the burden of proving that

a particular hiring policy is ‘job-related’ and ‘consistent with business necessity;’”
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the job applicant “retains the burden of proving that he or she is qualified to perform

the essential functions of the job absent the challenged job requirement.” Monette,

90 F.3d at 1184; see also Rohr v. Salt River Project Agricultural Imp. & Power Dist.,

555 F.3d 850, 862 (9th Cir. 2009) (“Once an employee shows that a qualification

standard tends to screen out an individual with a disability, the employer shoulders

the burden of proving that the challenged standard is job-related and consistent with

business necessity.”).

      The Court finds the reasoning of Monette persuasive. Therefore, the Court

rejects Dollar General’s contention that § 12112(b)(6) pertains only to disparate

impact claims and that a plaintiff may prove a discrimination claim under

§ 12112(b)(6) only by offering comprehensive statistical evidence. Another feature

of the plain language of § 12112(b)(6) bolsters this conclusion. Generally, under

employment discrimination statutes, plaintiffs bring disparate impact claims on

behalf of groups of applicants or employees who suffer disproportionate harm

because of an employer’s facially-neutral policy, and plaintiffs establish those

claims with statistical evidence. Raytheon, 540 U.S. at 52-53; Hallmark Developers,

Inc. v. Fulton County, Georgia, 466 F.3d 1276, 1286 (11th Cir. 2006) (“Typically,

a disparate impact is demonstrated by statistics.”).          But under the ADA,

§ 12112(b)(6) expressly authorizes not only class claims but also individual claims

based on an employer’s screening policy. 42 U.S.C. § 12112(b)(6). In other words,
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a disabled individual may assert a claim under § 12112(b)(6) and may prove that his

employer’s qualification standards, employment tests, or other selection criteria

screened him out. Gonzales, 176 F.3d at 839 n.26 (“In the ADA context, a plaintiff

may satisfy the second prong of his prima facie case by demonstrating an adverse

impact on himself rather than on an entire group. 1 Barbara Lindemann & Paul

Grossman, Employment Discrimination Law 333–34 (3d ed.1996).”); Williams v.

ABM Parking Services Inc., 296 F. Supp. 3d 779, 789 (E.D. Va. 2017) (“[A]

disparate impact claim under the ADA differs from a disparate impact claim under

other federal statutes, such as Title VII. Under § 12112(b)(6), claims can be brought

either by an individual plaintiff or by a class of individuals. . . . [A]n ADA disparate

impact claim need not present statistical evidence if he or she can show that a job

qualification screens out the plaintiff on the basis of his or her disability.”).9


9
  In support of its argument that the EEOC must produce statistical evidence to prove its disparate
impact claim, Dollar General cites Smith v. Miami-Dade County, 621 Fed. Appx. 955 (11th Cir.
2015). In Smith, the Eleventh Circuit stated:

       Further, to establish a prima facie case of disparate impact, a plaintiff must provide
       comparative evidence showing that a policy has a disparate impact on the disabled.
       See Schwarz v. City of Treasure Island, 544 F.3d 1201, 1218 (11th Cir.2008)
       (holding that a district court correctly rejected a disparate-impact claim because the
       plaintiff completely failed to present relevant comparative evidence). It is not
       sufficient to show that a few people are affected by a policy. See id. (“[S]imply
       showing that a few houses are affected by an ordinance does not come close to
       establishing disparate impact.”). The disparity of the evidence provided must be
       substantial enough to raise an inference of causation. Armstrong v. Flowers Hosp.,
       Inc., 33 F.3d 1308, 1314 (11th Cir.1994).

       [The plaintiff]’s disparate-impact claim stems from [the defendant]’s no-rehire
       policy, which prevents former employees with a history of long-term absences from
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       For an individual to prove a prima facie screen out claim under § 12112(b)(6)

of the ADA, a plaintiff “must (i) identify the challenged employment practice or

policy, (ii) demonstrate that the practice or policy had an adverse impact on the

plaintiff with a disability, and (iii) demonstrate a causal relationship between the

identified practice and the [adverse] impact.” Williams, 296 F. Supp. 3d at 789

(citing generally Gonzalez, 176 F.3d 834). “To assert a business necessity defense,




       being rehired. [The plaintiff], however, has provided none of the evidence
       necessary to make out a prima facie case. Her argument that she was adversely
       affected by the no-rehire policy is insufficient and does not show a significant
       discriminatory effect on disabled individuals as a group. Thus, the district court
       did not err in granting summary judgment on [the plaintiff]’s disparate-impact
       claim.

Smith, 621 Fed. Appx. at 961-62. The decisions that the Eleventh Circuit cited in this passage are
not ADA decisions. In Schwarz, the Eleventh Circuit examined a disparate impact claim under
the Fair Housing Act. Schwarz, 544 F.3d at 1217. In Armstrong, the Eleventh Circuit examined
a disparate impact claim under Title VII. Armstrong, 33 F.3d at 1312, 1314. Unlike the ADA,
neither the FHA nor Title VII expressly authorizes an individual to maintain a disparate impact
claim. Smith involved a facially-neutral employment policy, so it falls in the Raytheon category
of cases that examine the effect of an employment policy on a group of applicants or employees,
but not all disparate impact cases concern facially-neutral employment policies. Because it is an
unpublished opinion, the Smith decision is persuasive authority, not binding precedent. U.S. v.
Izurieta, 710 F.3d 1176, 1179 (11th Cir. 2013). Significantly, Ms. Smith was pro se, and she
offered little authority to save her claim on appeal. Appellant’s Reply Brief at 15-21, Smith, 621
Fed. Appx. 955 (No. 14-12566). Nothing in the Smith record or in the Smith decision suggests
that Ms. Smith developed arguments like those on which the EEOC relies in this case. For these
reasons, Dollar General’s reliance on Smith is misplaced.

The Court has located one binding decision in which the Eleventh Circuit evaluated an individual
plaintiff’s ADA screen out claim under § 12112(b)(6). Allmond v. Akal. Sec., Inc., 558 F.3d 1312
(11th Cir. 2009). Because the Eleventh Circuit based its decision in that case on the business
necessity affirmative defense to a § 12112(b)(6) claim, the Eleventh Circuit did not consider the
statutory nature of a § 12112(b)(6) claim. Allmond v. Akal. Sec., Inc., 558 F.3d at 1316 (“[W]e
focus our attention solely on the affirmative business-necessity defense and its application to the
hearing-aid ban. We express no view on whether Allmond is disabled under federal law and just
assume that he is disabled for the sake of discussion.”).
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the defendants must show that the allegedly discriminatory qualification requirement

is (i) job-related, (ii) consistent with business necessity, and (iii) that performance

cannot be accomplished with a reasonable accommodation.” Williams, 296 F. Supp.

3d at 790 (citing Bates v. United Parcel Service, Inc., 511 F.3d 974, 993 (9th Cir.

2007)).

      Here, the EEOC alleges, and the evidence, viewed in the light most favorable

to the EEOC and Mr. Jackson, demonstrates, that Dollar General required job

applicants to undergo a post-offer medical examination, and Dollar General deemed

not qualified for employment in Dollar General’s Bessemer warehouse applicants

whose corrected vision did not measure 20/50 or better in both eyes, whose blood

pressure measured 160/100 or higher, and/or whose blood sugar exceeded a certain

threshold. (Doc. 1, pp. 7-8, ¶¶ 25(b)-(d) & 25(i); Doc. 104-19, p. 362; Doc. 115-16,

pp. 2-5, 8; Doc. 115-26, pp. 7-8; Doc. 115-35, p. 6). The EEOC contends that

binocular vision and blood pressure below 160/100 were not job-related

requirements for the general warehouse worker position, and the medical

qualification standards were not consistent with business necessity. (Doc. 1, pp. 7-

8, ¶¶ 25(e)-(g) & 25(j)). On its face, Dollar General’s policy that screened out

applicants whose corrected vision did not measure 20/50 or better in both eyes and

whose blood pressure measured 160/100 or higher is direct evidence of intent to
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screen out certain job applicants based on medical qualifications standards or

criteria.

       Viewed in the light most favorable to the EEOC and Mr. Jackson, the

summary judgment evidence establishes a prima facie screen out claim under

§ 12112(b)(6). The EEOC and Mr. Jackson have demonstrated that the unsuccessful

job applicants who the EEOC represents, whose corrected vision did not measure

20/50 or better in both eyes or whose blood pressure measured 160/100 or higher,

either were disabled or Dollar General regarded those applicants as disabled, and

Dollar General’s screening standards had an adverse impact on those job

applicants.10

       The ADA defines “disability” as (1) “a physical or mental impairment that

substantially limits one or more major life activities of [an] individual;” (2) “a record

of such an impairment;” or (3) “being regarded as having such an impairment.” 42

U.S.C. § 12102(1). “The definition of disability in this chapter shall be construed in

favor of broad coverage of individuals under this chapter, to the maximum extent

permitted by the terms of this chapter.” 42 U.S.C. § 12102(4)(A).

       Federal Regulations define a physical impairment as:




10
  There is not sufficient evidence in the record to establish a screen out claim based on an unstated
blood sugar level. The Court limits its analysis to unsuccessful job applicants with impaired vision
or blood pressure that exceeded 160/100.
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      (1) Any physiological disorder or condition, cosmetic disfigurement, or
          anatomical loss affecting one or more body systems, such as
          neurological, musculoskeletal, special sense organs, respiratory
          (including speech organs), cardiovascular, reproductive, digestive,
          genitourinary, immune, circulatory, hemic, lymphatic, skin, and
          endocrine[.]


29 C.F.R. § 1630.2(h). The ADA provides that “major life activities include, but are

not limited to, caring for oneself, performing manual tasks, seeing, hearing, eating,

sleeping, walking, standing, lifting, bending, speaking, breathing, learning, reading,

concentrating, thinking, communicating, and working.” 42 U.S.C. § 12102(2)(A).

With respect to the meaning of the phrase “substantially limits,” the Eleventh

Circuit, in Mazzeo v. Color Resolutions Int’l, LLC, noted that Congress has amended

the statute to ensure that the phrase is interpreted broadly, and:

      the EEOC, pursuant to its statutory authority to issue regulations
      implementing the definition of “disability” in the ADA, see id. at
      § 12205a, has further explained that the phrase “substantially limits” is
      to be “construed broadly in terms of extensive coverage” and is “not
      meant to be a demanding standard.” 29 C.F.R. § 1630.2(j)(1)(i). The
      EEOC’s regulations also provide that an “impairment need not prevent,
      or significantly or severely restrict, the individual from performing a
      major life activity in order to be considered substantially limiting;” the
      phrase “substantially limits” “shall be interpreted and applied to require
      a degree of functional limitation that is lower than the standard for
      ‘substantially limits’ applied prior to the ADAAA;” (with the exception
      of glasses or contact lenses) the “determination of whether an
      impairment substantially limits a major life activity shall be made
      without regard to the ameliorative effects of mitigating measures;” and
      an “impairment that is episodic or in remission is a disability if it would
      substantially limit a major life activity.” Id. at § 1630.2(j)(1)(ii), (iv),
      (vi)-(vii).
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Mazzeo, 746 F.3d 1264, 1269 (11th Cir. 2014) (adopting the EEOC’s interpretation

of the phrase “substantially limits”). Similarly, the ADA provides:

      (E)(i) The determination of whether an impairment substantially limits
      a major life activity shall be made without regard to the ameliorative
      effects of mitigating measures such as—

             (I) medication, medical supplies, equipment, or appliances, low-
             vision devices (which do not include ordinary eyeglasses or
             contact lenses), prosthetics including limbs and devices, hearing
             aids and cochlear implants or other implantable hearing devices,
             mobility devices, or oxygen therapy equipment and supplies;

             (II) use of assistive technology;

             (III) reasonable accommodations or auxiliary aids or services; or

             (IV) learned behavioral or adaptive neurological modifications.

42 U.S.C. § 12102(4)(E)(i). “In effect, these provisions require courts to look at a

plaintiff’s impairment in a hypothetical state where it remains untreated.” Lloyd v.

Housing Auth. of the City of Montgomery, Ala., 857 F. Supp. 2d 1252, 1263 (M.D.

Ala. 2012). Courts must “determine the existence of disabilities on a case-by-case

basis.” Albertson’s, Inc. v. Kirkingburg, 527 U.S. 555, 566 (1999).

      Monocular vision – meaning an individual relies on one eye – is a physical

impairment because it is a physiological condition that affects an individual’s eyes,

a “special sense organ.” 29 C.F.R. § 1630.2(h)(1). Monocular vision also affects a

major life activity, “seeing.” 42 U.S.C. § 12102(2)(A). Dollar General argues that

monocular vision does not “substantially limit” Mr. Jackson’s nor any EEOC class
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member’s ability to see. (Doc. 110, pp. 24-26).11 Because those with monocular

vision “may embrace a group whose members vary by the degree of visual acuity in

the weaker eye . . . and the ultimate scope of the restrictions on their visual abilities,”

those with monocular vision are not per se disabled. Kirkingburg, 527 U.S. at 566.

       This is not to suggest that monocular individuals have an onerous
       burden in trying to show that they are disabled. On the contrary, our
       brief examination of some of the medical literature leaves us sharing
       the Government’s judgment that people with monocular vision
       “ordinarily” will meet the [ADA]’s definition of disability . . . and we
       suppose that defendant companies will often not contest the issue. We
       simply hold that the [ADA] requires monocular individuals, like others
       claiming the [ADA]’s protection, to prove a disability by offering
       evidence that the extent of the limitation in terms of their own
       experience, as in loss of depth perception and visual field, is substantial.

Kirkingburg, 527 U.S. at 567 (internal citations omitted).

       According to Mr. Jackson, the only member of the plaintiff class with

monocular vision to be deposed, from his right eye, he cannot see anything directly

ahead of him other than light. (Doc. 105-8, pp. 105-06, tpp. 104-05).12 Mr.


11
  Dollar General contends that “particularly in cases where an individual has had monocular vision
for a long time and becomes accustomed to primarily using one eye, the condition likely does not
substantially impact a major life activity.” (Doc. 110, p. 25) (citing Littlefield v. Nevada, ex. rel.
Dep’t of Public Safety, 195 F. Supp. 3d 1147, 1153-54 (D. Nev. 2016)). But that is not the law in
the Eleventh Circuit; rather, the Court must ignore any “ameliorative effects of mitigating
measures.” Mazzeo v. Color Resolutions Int’l, LLC, 746 F.3d at 1269 (internal quotations
omitted); see also 42 U.S.C. § 12102(4)(E)(i).
12
  It appears that Mr. Jackson’s peripheral vision from his right eye is not affected by his condition.
(Doc. 105-8, p. 105, tp. 104). As noted by Dollar General, Mr. Jackson stated during his deposition
that he does not consider himself disabled. (Doc. 105-8, p. 431, tp. 430). This admission is not
dispositive because a reasonable jury may conclude that, due to his condition, Mr. Jackson is
disabled under the ADA.
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Jackson’s inability to see straight ahead with his right eye supports a reasonable

inference that “the extent of the limitation in terms of [his] own experience, as in

loss of depth perception and visual field, is substantial,” Kirkingburg, 527 U.S. at

567; which in turn creates a genuine dispute of material fact as to whether he has an

actual disability.13

       Hypertension – also known as high blood pressure – is a physical impairment

because it is a physiological condition that affects an individual’s cardiovascular

system. 29 C.F.R. § 1630.2(h)(1). And hypertension affects a major life activity,

“working.” 42 U.S.C. § 12102(2)(A). As with monocular vision, Dollar General

argues that, on the record before the Court, hypertension does not “substantially

limit” the EEOC class members’ ability to work. (Doc. 110, pp. 23-24). Dollar

General mistakenly relies on the fact that two EEOC class members with

hypertension – Eric Fielder and Willie Copeland – stated that their ability to work is

not substantially limited. (Doc. 110, p. 24). Dollar General overlooks the fact that

both Mr. Fielder and Mr. Copeland take medication for hypertension. (Doc. 105-

14, p. 62, tp. 61; Doc. 111-14, p. 2, ¶ 7). As noted, a “determination of whether an

impairment substantially limits a major life activity shall be made without regard to


13
  Carlos Carey, another EEOC class member who has difficulty seeing from one eye, twice failed
Middle Creek’s eye exam. (Doc. 115-8, pp. 3, 4, ¶¶ 8, 9, 11). Mr. Carey failed his second test
after he purchased corrective lens. (Doc. 115-8, p. 4, ¶ 10). This evidence supports a reasonable
inference that Mr. Carey’s vision is substantially limited, which in turn creates a genuine dispute
of material fact as to whether he has an actual disability.
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the ameliorative effects of mitigating measures such as medication.” 42 U.S.C.

§ 12102(4)(E)(i)(I).14

       While “[n]o pathologic changes occur early in hypertension[,] [s]evere or

prolonged hypertension damages target organs (primarily the cardiovascular system,

brain, and kidneys), increasing risk of [c]oronary artery disease (CAD) and

myocardial infarction, [h]eart failure, [s]troke (particularly hemorrhagic), [r]enal

failure, [and] [d]eath[.]” Toland v. BellSouth Telecommunications, LLC, NO. 1:15-

CV-2441-SCJ, 2017 WL 6380641, at *3 (N.D. Ga. Aug. 9, 2017) (internal footnote

omitted)                    (quoting                    MERCK                      MANUALS,

https://www.merckmanuals.com/professional/cardiovascular-

disorders/hypertension/overview-of-hypertension (last visited July 25, 2022).15

Because Mr. Fielder and Mr. Copeland have hypertension, jurors reasonably may

infer that the men are at risk of suffering the aforementioned maladies in a


14
   Dollar General’s reliance on Morgan v. County Comm’n of Lawrence County, No. 5:14-CV-
01823-CLS, 2016 WL 3525357 (N.D. Ala. June 20, 2016), is misplaced. (Doc. 130, p. 6). In
Morgan, the district court stated: “The Eleventh Circuit also has held that exhaustion and high
blood pressure, without more, are not conditions that substantially impair a person’s ability to
perform major life activities, such as working.” Morgan, 2016 WL 3525357, at *28. The district
court cited to two pre-ADAA Eleventh Circuit cases which relied on the now outdated definition
of “substantially limits.”
15
   In Harris v. H & W Contracting, the Eleventh Circuit took judicial notice in the summary
judgment context that ‘“Graves’ disease is a condition that is capable of substantially limiting
major life activities if left untreated by medication.’” Toland v. BellSouth Telecommunications,
LLC, NO. 1:15-CV-2441-SCJ, 2017 WL 6380641, at *3 (N.D. Ga. Aug. 9, 2017) (quoting Harris
v. H & W Contracting Co., 102 F.3d 516, 522 (11th Cir. 1996)). The Toland court also took
judicial notice of the risks associated with hypertension. Toland, 2017 WL 6380641, at *3.
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“hypothetical state where [their hypertension] remains untreated.” Lloyd, 857 F.

Supp. 2d at 1263.16 In turn, this creates a genuine dispute of material fact as to

whether Mr. Fielder and Mr. Copeland have an actual disability.17

       In any event, the evidence, viewed in the light most favorable to the EEOC

and Mr. Jackson, indicates that Dollar General regarded Mr. Jackson and the other

unsuccessful job applicants as disabled.



16
   Mr. Fielder has a family history of high blood pressure, (Doc. 105-14, p. 61, tp. 60), and has
taken medication for high blood pressure since he was 19 years old, (Doc. 105-14, p. 62, tp. 61).
On the day he failed his physical examination at Middle Creek, Mr. Fielder had been off his
medication for about a month because he did not have health insurance. (Doc. 105-14, pp. 78-79,
tpp. 77-78).

Mr. Copeland failed two physical examinations at Middle Creek because of high blood pressure.
(Doc. 111-14, pp. 2-3, ¶¶ 7-9). Mr. Copeland failed his first examination after not taking his
medication on the day of the exam (due to side effects) and he failed his second examination after
starting a different medication. (Doc. 111-14, pp. 2-3, ¶¶ 7-9).
17
   The Court’s analysis here with respect to Mr. Fielder and Mr. Copeland is similar to the analysis
in Toland, where the Northern District of Georgia found that the risks associated with hypertension
coupled with the fact that the plaintiff has hypertension are “sufficient to create a genuine issue of
material fact about whether [plaintiff’s] medical condition, in the absence of mitigating measures,
would substantially limit [his] major life activities [to include the cardiovascular/circulatory
systems].” Toland, 2017 WL 6380641, at *4 (quoting Harris, 102 F.3d at 522). Unlike the
plaintiffs here, the plaintiff in Toland had had “at least one hospitalization for blood pressure.”
Toland, 2017 WL 6380641, at *4 n.9. But this difference does not dictate a different outcome
because jurors reasonably may infer that Mr. Fielder and Mr. Copeland would be at risk of
hospitalization if they were to skip their medication for an extended period.

In its brief in support of its motion for summary judgment, Dollar General also relies on Toland
but for the opposite proposition—that “Toland’s assertion that he suffers from hypertension does
not establish that this physical impairment substantially limited one or more of his major life
activities.” (Doc. 110, p. 23) (quoting Toland v. BellSouth Telecommunications, Division of
AT&T, Inc., No. 1:15-cv-02441-SCJ-RGV, 2017 WL 6374873, at *7 (N.D. Ga. May 1, 2017)).
Dollar General relies on the magistrate judge’s final report and recommendation, rather than the
subsequent order from the Northern District of Georgia sustaining the plaintiff’s objection on this
very point. Toland, 2017 WL 6380641, at *4.
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      “[A] person is ‘regarded as’ disabled within the meaning of the ADA if
      a covered entity mistakenly believes that the person’s actual,
      nonlimiting impairment substantially limits one or more major life
      activities.” Murphy v. United Parcel Serv., Inc., 527 U.S. 516, 521–22,
      119 S.Ct. 2133, 144 L.Ed.2d 484 (1999) . . . . Thus, “[a]n employer
      runs afoul of the ADA when it makes an employment decision based
      on a physical or mental impairment, real or imagined, that is regarded
      as substantially limiting a major life activity.” Sutton, 527 U.S. at 490,
      119 S.Ct. 2139.

D’Angelo v. ConAgra Foods, Inc., 422 F.3d 1220, 1228 (11th Cir. 2005) (quoting

Sutton v. United Air Lines, Inc., 527 U.S. 471, 490 (1999), superseded by statute,

U.S. Pub. L. No. 110-325). Using physical criteria that Dollar General established

for warehouse workers, Middle Creek indicated to Dollar General that Mr. Jackson

and the other unsuccessful job applicants were not qualified to work as warehouse

workers either because of impaired vision or blood pressure that exceeded 160/100.

Using the Middle Creek rating, Dollar General did not offer the applicants a

warehouse worker position because Dollar General regarded those applicants’ health

conditions as limiting their ability to work in the warehouse. Because Dollar General

declined to extend job offers to Mr. Jackson and the other unsuccessful job

applicants based on real or perceived physical disabilities, Dollar General’s

screening policy had a negative impact on Mr. Jackson and the other unsuccessful

applicants in violation of § 12112(b)(6).

      Disputed questions of fact regarding Dollar General’s screen out policy

preclude judgment in Dollar General’s favor based on the company’s job-relatedness
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and business necessity defenses. Job-relatedness and business necessity are “distinct

pillars of the affirmative defense.” Allmond, 558 F.3d at 1317.

      As [the Eleventh Circuit] has explained, “[j]ob[-]relatedness is used in
      analyzing the questions or subject matter contained in a test or criteria
      used by an employer in making hiring or promotional decisions.”
      Hamer, 872 F.2d at 1533. Business necessity, in contrast, “is larger in
      scope and analyzes whether there is a business reason that makes
      necessary the use by an employer of a test or criteria in hiring or
      promotion decision making.” Id.

Allmond, 558 F.3d at 1317.

      Vision tests – meant to assess one’s ability to see – and blood pressure tests –

meant to assess the likelihood that one may become suddenly incapacitated – are

job-related, satisfying the first prong of the test. This is especially true when the job

requires an individual to operate heavy machinery around other workers, as is the

case here. But Dollar General has not met its burden of showing that the physical

criteria it set for its warehouse worker position was necessary. This “defense must

be ‘based on a reasonable medical judgment that relies on the most current medical

knowledge and/or the best available objective evidence,’ and upon an expressly

‘individualized assessment of the individual’s present ability to safely perform the

essential functions of the job,’ reached after considering, among other things, the

imminence of the risk and the severity of the harm portended.” Chevron U.S.A. Inc.

v. Echazabal, 536 U.S. 73, 86 (2002) (quoting 29 C.F.R. § 1630.2(r)). Dollar

General contends that rating candidates “referred to PMD” individualized
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assessments. (Doc. 130, pp. 14-15). But the evidence, viewed in the light most

favorable to the nonmoving parties, indicates that candidates rated “referred to

PMD” were effectively screened out because Dollar General did not follow up with

those applicants to explain how they could qualify for a warehouse worker

position.18

       The record is replete with evidence from which jurors reasonably may infer

that the EEOC class members could safely perform the essential functions of the job,

undercutting Dollar General’s argument that screening the applicants out was a

business necessity. Notably, many EEOC class members held similar jobs, both

before and after applying to work at Dollar General, without incident, despite the

medical conditions that caused them to be screened out from Dollar General’s

warehouse worker position. (See e.g., Doc. 115-4, p. 3, ¶ 5; Doc. 115-5, p. 3, ¶¶ 3,

4; Doc. 115-6, p. 3, 4 ¶ 3, 6; Doc. 115-7, p. 4, ¶ 9). Additionally, an EEOC expert

witness, Dr. Robert Swotinsky, posited that “[t]here is not a medical or scientific

basis for excluding people from general warehouse work (or other jobs) because of


18
   According to the EEOC, the 24 applicants “were not told whether they passed the exam, were
not told that they needed medical clearance from their doctor in order to start work, and were not
told what medical standard they needed to pass.” (Doc. 121, p. 17; see Doc. 115-4, pp. 4-6, ¶ 14
(declaration of EEOC class member Roderiquez Crumpton); Doc. 115-5, p. 4, ¶¶ 10-11
(declaration of EEOC class member John Greene); Doc. 115-12, p. 4, ¶¶ 10-11 (declaration of
EEOC class member Percy Tate); Doc. 115-9, pp. 4-5, ¶¶ 11-12 (declaration of EEOC class
member Orenthal Jordan)). Thus, viewing the evidence in the light most favorable to the 24
applicants who the EEOC represents, the EEOC has established that Dollar General screened out
this group of 24 applicants through its medical examination requirement for job applicants at the
Bessemer warehouse.
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high blood pressure.” (Doc. 115-1, p. 15).19 According to another expert witness,

Dr. Dawn DeCarlo, “if you have one good eye, you tend to be able to do pretty much

everything that everybody else around you can do.” (Doc. 111-4, p. 49, tp. 191).

Ultimately, as mentioned above, Dollar General has not met its burden of

demonstrating that using its physical qualification standards to screen out candidates

was consistent with business necessity.

          Thus, the Court denies Dollar General’s motion for summary judgment on the

EEOC’s and Mr. Jackson’s ADA “screen out” claim.

                          Generic ADA Disparate Treatment Claim

          As discussed, in paragraphs 22 through 24 of their respective complaints, the

EEOC, on behalf of Mr. Jackson, and Mr. Jackson independently pleaded a generic

disparate treatment claim under 42 U.S.C. § 12112(a).20 Procedurally, the claim is

poorly pleaded. The Eleventh Circuit Court of Appeals “discourage[s] consideration

of ‘shotgun’ pleadings where the plaintiff asserts multiple claims of relief in single

counts and ‘it is virtually impossible to know which allegations of fact are intended

to support which claim(s) for relief.’” Kennedy v. Bell South Telecommunications,


19
     In Doc. 115-1, Dr. Swotinsky provides reasons for these conclusions.
20
   In Paragraph 22, the EEOC alleges violations of 42 U.S.C. § 12112(a) and 42 U.S.C.
§ 12112(b)(6), but none of the key phrases in § 12112(b)(6) – “screen out,” “tend to screen out,”
“standard,” “test,” “selection criteria,” or “business necessity” – appears in paragraphs 22 through
24. These omissions indicate that neither the EEOC nor Mr. Jackson intended the claim alleged
in paragraphs 22 through 24 to be duplicative of the claim alleged in paragraphs 25 and 26, where
the language mirrors that of a screen out claim under § 12112(b)(6).
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Inc. (AT & T), 546 Fed. Appx. 817, 820 (11th Cir. 2013) (quoting Anderson v. Dist.

Bd. Of Trs. Of Cent. Fla. Cmty. Coll., 77 F.3d 364, 366 (11th Cir. 1996)). A pleading

which lumps multiple claims into a single count fails “to give the defendant[]

adequate notice of the claims against [it] and the grounds upon which each claim

rests.” Weiland v. Palm Beach County Sheriff’s Office, 792 F.3d 1313, 1323 (11th

Cir. 2015).

       While the EEOC and Mr. Jackson “commit[ted] the sin of not separating into

a different count each cause of action or claim for relief,” Weiland, 792 F.3d at 1323,

their complaints provided Dollar General with adequate notice that they were

bringing a generic disparate treatment claim under § 12112(a). In its brief in support

of its motion for summary judgment, Dollar General acknowledged that the EEOC

and Mr. Jackson may have pleaded paragraphs 22 through 24 “in an effort to craft a

disparate treatment claim” on behalf of Mr. Jackson. (Doc. 110, p. 16 n.15).21 Dollar

General then explained why a disparate treatment claim must fail. (Doc. 110, p. 16

n.15). Accordingly, Dollar General will not be prejudiced by the Court addressing

the plaintiffs’ § 12112(a) claim on the merits.

       Dollar General argues that the plaintiffs’ generic disparate treatment claim

“fail[s] because there is no evidence of any decisionmaker with unlawful motive:”



21
   In its reply brief, Dollar General argues for the first time that the EEOC and Mr. Jackson failed
to plead a disparate treatment claim. (Doc. 130, pp. 2-3).
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       To the extent Jackson alleges he was treated differently by Dollar
       General because of his monocular vision, it is undisputed that Dollar
       General was unaware of Jackson’s monocular vision. The only
       information provided to Dollar General was that Middle Creek had not
       qualified Jackson because he failed the vision exam and had refused to
       complete the physical. While Jackson disputes that he refused to
       complete the remainder of his physical, he cannot dispute what Middle
       Creek relayed to Dollar General, and this justifies Dollar General’s
       honest belief that Jackson abandoned the process. This forecloses any
       attempt to impute a discriminatory motive to Dollar General.

(Doc. 110, p. 16 n.15) (internal record citations omitted). But, as discussed above,

Dollar General’s version of the facts is disputed. Mr. Jackson testified that he

wanted to continue his examination, but Middle Creek would not allow him to

proceed because his impaired vision could not be corrected.22                    By producing

evidence that Dollar General did not hire Mr. Jackson because of his monocular

vision, the EEOC and Mr. Jackson have demonstrated that Dollar General acted with

discriminatory intent. Moreover, as explained above, the EEOC and Mr. Jackson




22
   On the form that Middle Creek faxed to Dollar General, a Middle Creek employee noted that
the “[patient] failed vision exam + then refused physical.” (Doc. 102-9, p. 11). Mr. Jackson
testified that he wanted to finish the exam. (Doc. 105-8, p. 266, tp. 265).

Elizabeth Deslattes, a Middle Creek employee, testified that Mr. Jackson refused to complete his
physical examination after he failed his eye examination. (Doc. 104-1, p. 119). According to Mr.
Jackson, after he failed his eye examination, Brittney Busbee, another Middle Creek employee,
told him that under Dollar General’s requirements he was disqualified from consideration for the
job. (Doc. 105-8, p. 373, tp. 372). Therefore, viewing the evidence in the light most favorable to
Mr. Jackson, even if Mr. Jackson refused to complete his physical examination, the effort would
have been futile because he was effectively disqualified by Dollar General’s requirement that
“[v]ision must be 20/50 or better.” (Doc. 104-19, p. 365).
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have established a disputed question of material fact as to whether Mr. Jackson was

qualified to perform the essential functions of the warehouse worker job.

      Thus, the Court denies Dollar General’s motion for summary judgment on the

EEOC’s and Mr. Jackson’s generic disparate treatment claim.

                                        IV.

      The Genetic Information Nondiscrimination Act of 2008 prohibits employers

from discriminating based on genetic information and acquiring genetic information.

42 U.S.C. § 2000ff-1. An employee – or an agency, such as the EEOC, acting on

behalf of an employee – may bring a GINA claim under subsection (a),

“Discrimination based on genetic information;” or subsection (b), “Acquisition of

genetic information.” 42 U.S.C. § 2000ff-1. Here, the EEOC brings its GINA claim

under subsection (b). (Doc. 1, p. 9, ¶ 34; see also Doc. 41, p. 9, ¶ 35). Under

subsection (b):

      It shall be an unlawful employment practice for an employer to request,
      require, or purchase genetic information with respect to an employee or
      a family member of the employee except—

             (1) where an employer inadvertently requests or requires family
                 medical history of the employee or family member of the
                 employee; . . . .
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42 U.S.C. § 2000ff-1(b).23 Under GINA, “[t]he term ‘genetic information’ means,

with respect to any individual, information about—"


23
   There are six exceptions to subsection (b). The first exception is quoted above. The remaining
five exceptions are:

       (2) where—

              (A) health or genetic services are offered by the employer, including such
              services as part of a wellness program;

              (B) the employee provides prior, knowing, voluntary, and written
              authorization;

              (C) only the employee (or family member if the family member is receiving
              genetic services) and the licensed health care professional or board certified
              genetic counselor involved in providing such services receive individually
              identifiable information concerning the results of such services; and

              (D) any individually identifiable genetic information provided under
              subparagraph (C) in connection with the services provided under
              subparagraph (A) is only available for purposes of such services and shall
              not be disclosed to the employer except in aggregate terms that do not
              disclose the identity of specific employees;

       (3) where an employer requests or requires family medical history from the
       employee to comply with the certification provisions of section 2613 of Title 29 or
       such requirements under State family and medical leave laws;

       (4) where an employer purchases documents that are commercially and publicly
       available (including newspapers, magazines, periodicals, and books, but not
       including medical databases or court records) that include family medical history;

       (5) where the information involved is to be used for genetic monitoring of the
       biological effects of toxic substances in the workplace, but only if—

              (A) the employer provides written notice of the genetic monitoring to the
              employee;

              (B)(i) the employee provides prior, knowing, voluntary, and written
              authorization; or

              (ii) the genetic monitoring is required by Federal or State law;
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       (i) such individual’s genetic tests,

       (ii) the genetic tests of family members of such individuals, and

       (iii) the manifestation of a disease or disorder in family members of
       such individual.

42 U.S.C. § 2000ff(4)(A).

       Here, Dollar General does not deny that it violated GINA subsection (b). It is

undisputed that, from at least December 2013 until August 22, 2014, pursuant to




              (C) the employee is informed of individual monitoring results;

              (D) the monitoring is in compliance with—

                      (i) any Federal genetic monitoring regulations, including any such
                      regulations that may be promulgated by the Secretary of Labor
                      pursuant to the Occupational Safety and Health Act of 1970 (29
                      U.S.C. 651 et seq.), the Federal Mine Safety and Health Act of 1977
                      (30 U.S.C. 801 et seq.), or the Atomic Energy Act of 1954 (42
                      U.S.C. 2011 et seq.); or

                      (ii) State genetic monitoring regulations, in the case of a State that
                      is implementing genetic monitoring regulations under the authority
                      of the Occupational Safety and Health Act of 1970 (29 U.S.C. 651
                      et seq.); and

              (E) the employer, excluding any licensed health care professional or board
              certified genetic counselor that is involved in the genetic monitoring
              program, receives the results of the monitoring only in aggregate terms that
              do not disclose the identity of specific individuals; or

       (6) where the employer conducts DNA analysis for law enforcement purposes as a
       forensic laboratory or for purposes of human remains identification, and requests
       or requires genetic information of such employer’s employees, but only to the
       extent that such genetic information is used for analysis of DNA identification
       markers for quality control to detect sample contamination.

42 U.S.C. § 2000ff-1(b)(2)-(6).
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Dollar General’s instructions, Dollar General’s agent, Middle Creek Medical Center,

asked Dollar General job candidates whether their grandparents, parents, or children

had significant medical problems, in violation of 42 U.S.C. § 2000ff-1(b). (See e.g.,

Doc. 104-19, p. 316).24 Instead, Dollar General argues that the EEOC and Mr.

Jackson lack standing to bring this GINA claim. (Doc. 126, pp. 5-15). Specifically,

Dollar General argues that, insofar as the EEOC and Mr. Jackson request

compensatory and punitive damages, there is no redressability because GINA does

allow for compensatory and punitive damages for claims brought under 42 U.S.C.

§ 2000ff-1(b). (Doc. 126, pp. 10-12).25 As far as the Court can tell, this is an issue

of first impression.

       In its remedies and enforcement section, GINA incorporates the remedial

schemes of other statutes. 42 U.S.C. § 2000ff-6.26 With respect to the availability

of damages, GINA states:


24
  As noted above, under GINA subsection (b), “[i]t shall be an unlawful employment practice for
an employer to request . . . genetic information with respect to an employee or a family member
of the employee . . . .” 42 U.S.C. § 2000ff-1(b). Dollar General, acting through its agent, Middle
Creek Medical Center, is an employer. 42 U.S.C. § 2000e(b); 42 U.S.C. § 2000ff(2)(B)(i). Dollar
General’s job applicants are employees. 42 U.S.C. 2000ff(2)(A)(i); 42 U.S.C. § 2000e(f). And
“genetic information” includes “information about—(iii) the manifestation of a disease or disorder
in family members of such individual.” 42 U.S.C. § 2000ff(4)(A)(iii). Thus, Dollar General
requested genetic information from its employees in violation of GINA.
25
   The EEOC also requests injunctive relief. (Doc. 1, p. 11). Dollar General argues that the Court
lacks jurisdiction over a claim for injunctive relief because the company voluntarily ceased the
alleged unlawful practice more than six years ago. (Doc. 126, p. 11 n.5).
26
  Subsection (a) applies to “Employees covered by title VII of the Civil Rights Act of 1964.”
Subsection (b) applies to “Employees covered by Government Employee Rights Act of 1991.”
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       The powers, remedies, and procedures provided in section 1981a of this
       title, including the limitations contained in subsection (b)(3) of such
       section 1981a, shall be powers, remedies, and procedures this chapter
       provides to the Commission, the Attorney General, or any person,
       alleging such a practice (not an employment practice specifically
       excluded from coverage under section 1981a(a)(1) of this title).

42 U.S.C. § 2000ff-6(a)(3). In turn, 42 U.S.C. § 1981a states, in pertinent part:

       In an action brought by a complaining party under section 706 or 717
       of the Civil Rights Act of 1964 against a respondent who engaged in
       unlawful discrimination (not an employment practice that is unlawful
       because of its disparate impact) prohibited under section 703, 704, or
       717 of the Act, and provided that the complaining party cannot recover
       under section 1981 of this title, the complaining party may recover
       compensatory and punitive damages as allowed in subsection (b), in
       addition to any relief authorized by section 706(g) of the Civil Rights
       Act of 1964, from the respondent.

42 U.S.C. § 1981a(a)(1). According to the Supreme Court, this provision “limits

compensatory and punitive damages awards . . . to cases of ‘intentional

discrimination’—that is, cases that do not rely on the ‘disparate impact’ theory of

discrimination.” Kolstad v. American Dental Ass’n, 527 U.S. 526, 534 (1999) (citing

42 U.S.C. § 1981a(a)(1)).

       Dollar General argues that neither the EEOC nor Mr. Jackson alleges

intentional discrimination and that, for purposes of § 1981a(a)(1), the Court should

treat the EEOC’s and Mr. Jackson’s GINA claim like a disparate impact claim.




Subsection (c) applies to “Employees covered by Congressional Accountability Act of 1995.”
Subsection (d) applies to “Employees covered by chapter 5 of Title 3.” Subsection (e) applies to
“Employees covered by section 717 of the Civil Rights Act of 1964.”
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(Doc. 126, pp. 8-12). The EEOC’s complaint upends this argument. While citing

42 U.S.C. § 2000ff-1(b) as the basis for its GINA claim, (Doc.1, p. 9, ¶ 34), the

EEOC expressly alleges that “Defendant’s request for genetic information was not

inadvertent,” (Doc. 1, p. 10, ¶ 40), and that the unlawful employment practices that

the EEOC describes “were and are intentional,” (Doc. 1, p. 11, ¶ 44). Thus, as with

the ADA claims in this case, Dollar General’s attempt to characterize the claims as

unintentional discriminatory effect claims is not persuasive. The EEOC expressly

alleged intentional conduct to support an award of damages for Dollar General’s

GINA violation.

       District courts appear to have assumed that damages are available for claims

brought under 42 U.S.C. § 2000ff-1(b). For example, in EEOC v. Grisham Farm

Products, Inc., the United States District Court for the Western District of Missouri

ordered the defendant to pay $10,000 “for the damages suffered that are a direct and

proximate result of its violations of the ADA, 42 U.S.C. § 12112(d) and GINA, 42

U.S.C. § 2000ff-1(b).” Grisham Farm Products, Inc., 191 F. Supp. 3d 994, 998

(W.D. Mo. 2016).27 Conversely, no court has held that damages are not available

under 42 U.S.C. § 2000ff-1(b).


27
   See also Jackson v. Regal Beloit America, Inc., NO. 16-134-DLB-CJS, 2018 WL 3078760, at
*17 (E.D. Ky. June 21, 2018) (granting the plaintiff’s motion for partial summary judgment on her
GINA claim under subsection (b) and holding that “damages must be determined by a jury”); Lee
v. City of Moraine Fire Dep’t, No. 3:13-cv-222, 2015 WL 914440 (S.D. Ohio Mar. 3, 2015); Lowe
v. Atlas Logistics Group Retail Servs. (Atlanta), LLC, 102 F. Supp. 3d 1360 (N.D. Ga. 2015).
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          Admittedly, GINA’s statutory framework does not neatly map onto 42 U.S.C.

§ 1981a(a)(1)’s remedial scheme.             As discussed, the Supreme Court separates

§ 1981a(a)(1) into two types of claims: “intentional discrimination” claims for

which compensatory and punitive damages are available and “the disparate impact

theory of discrimination,” for which compensatory and punitive damages are not

available. Kolstad, 527 U.S. at 534 (internal quotation marks omitted). GINA

separates claims into two somewhat different categories: “[d]iscrimination based on

genetic information” and “[a]cquisition of genetic information.”                      42 U.S.C.

§ 2000ff-1. As Dollar General notes, the first type of claim under each statute –

“intentional discrimination” under 42 U.S.C. § 1981a(a)(1) and “discrimination

based on genetic information” under 42 U.S.C. § 2000ff-1(a) – align neatly. Both

sections expressly address intentional discrimination.28 But the second type of claim



28
     GINA subsection (a) states:

          It shall be an unlawful employment practice for an employer—

          (1) to fail or refuse to hire, or to discharge, any employee, or otherwise to
              discriminate against any employee with respect to the compensation, terms,
              conditions, or privileges of employment of the employee, because of genetic
              information with respect to the employee; or

          (2) to limit, segregate, or classify the employees of the employer in any way that
              would deprive or tend to deprive any employee of employment opportunities or
              otherwise adversely affect the status of the employee as an employee, because
              of genetic information with respect to the employee.

42 U.S.C. § 2000ff-1(a).       By its terms, GINA subsection (a) applies only to intentional
discrimination.
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under each statute – “the disparate impact theory of discrimination” under 42 U.S.C.

§ 1981a(a)(1) and “acquisition of genetic information” under 42 U.S.C. § 2000ff-

1(b) – are less compatible.

      Importantly, though a claim under 42 U.S.C. § 2000ff-1(b) may not involve

intent to discriminate, a claim under 42 U.S.C. § 2000ff-1(b) does involve the

intentional collection of genetic information. Under 42 U.S.C. § 2000ff-1(b) an

employer may not “request, require, or purchase” certain information. To “request,

require, or purchase” necessarily involves intentional conduct, not benign conduct

that produces an unlawful result as in a disparate impact claim. In fact, § 2000ff-

1(b)(1) expressly excludes liability for inadvertent requests for family medical

history of an employee or family member of the employee. GINA explicitly deals

with unintentional conduct, not by limiting what remedies are available to a plaintiff,

but by excusing liability. Finally, and most importantly, any argument that a 42

U.S.C. § 2000ff-1(b) claim should be treated like a disparate impact is undercut by

the language of GINA itself, which states: “Notwithstanding any other provision of

this Act, ‘disparate impact’, as that term is used in section 2000e-2(k) of this title,

on the basis of genetic information does not establish a cause of action under this

Act.” 42 U.S.C. § 2000ff-7(a).

      GINA’s legislative history also suggests that a plaintiff may recover

compensatory and punitive damages for claims brought under 42 U.S.C. § 2000ff-
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1(b). When the bill originally was introduced in the House, the provision that would

eventually become 42 U.S.C. § 2000ff-1(b) was nearly identical to the final version:

       Acquisition Of Genetic Information.—It shall be an unlawful
       employment practice for an employer to request, require, or purchase
       genetic information with respect to an employee or a family member of
       the employee (or information about a request for the receipt of genetic
       services by such employee or a family member of such employee)
       except— . . . .

H.R. 493, 110th Cong. § 202(b) (2007). The only difference is the parenthetical,

which was removed from the bill in the House. H.R. 493, § 202(b) (as engrossed in

the House, Apr. 25, 2007).29 Similarly, the remedies and enforcement section in the

original bill is nearly identical to what would eventually become 42 U.S.C. § 2000ff-

6. H.R. 493, § 207. The damages subsection incorporated 42 U.S.C. § 1981a’s

remedial scheme. H.R. 493, § 207(a)(3).30

       The House Committee on Education and Labor recognized that this bill would

allow an array of damages actions. H.R. REP. NO. 110-28 (2007) (Conf. Rep.).

Burton J. Fishman, on behalf of the Genetic Information Nondiscrimination in

Employment Coalition, testified before the Committee on Education and Labor.

H.R. REP. NO. 110-28, at 67-68. In his testimony, Mr. Fishman stated that “[w]hen



29
   The original bill included five exceptions, including exception (b)(1) covering inadvertent
requests or requirements. H.R. 493, § 202(b)(1)-(5). Later, a sixth exception was added covering
DNA analysis for law enforcement purposes. H.R. 493, § 202(b)(6).
30
  Later, the Senate added subsection (f): “Prohibition against retaliation.” H.R. 493, § 207(f) (as
engrossed in the Senate).
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a company intentionally discriminates, remedies should be available,” but expressed

concern over the fact that this bill “resorts to jury trials with punitive and

compensatory damages for any violation, without distinction, while will necessarily

invite additional litigation.” H.R. REP. NO. 110-28, at 67-68. Those writing for the

minority in the committee report quoted Mr. Fishman, sharing his concern. H.R.

REP. NO. 110-28, at 67. Yet, the language of the bill was not changed to limit the

availability of compensatory and punitive damages. Thus, given the language and

legislative history of GINA, coupled with the Supreme Court’s interpretation of 42

U.S.C. § 1981a(a)(1), the Court finds that compensatory and punitive damages are

available for claims brought under 42 U.S.C. § 2000ff-1(b). In turn, the Court also

finds that the EEOC and Mr. Jackson have standing to bring their GINA claims, even

if their request for injunctive relief is moot, and the EEOC and Mr. Jackson have

alleged intentional conduct to support a damages claim.

      Alternatively, Dollar General argues that the EEOC’s summary judgment

motion on its GINA claim “is premature because it depends upon the EEOC

establishing proof of damages,” (Doc. 126, p. 15), but the EEOC has moved for

partial summary judgment only with respect to a GINA violation, not damages,

(Doc. 107, p. 1). The Court does not need to determine damages to determine a

GINA violation. Thus, the Court grants the EEOC’s motion for partial summary

judgment on its GINA claim as to liability. Damages under GINA are for a jury to
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decide. Jackson, NO. 16-134-DLB-CJS, 2018 WL 3078760, at *17. Additionally,

the Court grants summary judgment for Mr. Jackson on his GINA claim pursuant to

its power under FED. R. CIV. P. 56(f)(1).

                                  CONCLUSION

      For the reasons discussed above, the EEOC and Mr. Jackson have established

as a matter of law that Dollar General violated GINA. The Court denies Dollar

General’s motion for summary judgment on the EEOC’s and Mr. Jackson’s 42

U.S.C. §§ 12112(b)(6) and 12112(a) ADA claims. Finally, the Court regards the

EEOC’s and Mr. Jackson’s 42 U.S.C. § 12112(d)(3) ADA claim as a duplicate claim

that the Court will dismiss. By separate order, the Court will set the EEOC’s and

Mr. Jackson’s remaining ADA claims and their GINA claim, with respect to

damages, for trial.

      DONE and ORDERED this July 26, 2022.


                                    _________________________________
                                    MADELINE HUGHES HAIKALA
                                    UNITED STATES DISTRICT JUDGE
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                        Exhibit B
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                                                                       175Jan-03 PM 12:33
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


 EQUAL EMPLOYMENT                           }
 OPPORTUNITY COMMISSION,                    }
                                            }
       Plaintiff,                           }
                                            }
 and                                        }
                                            }
 VINCENT JACKSON,                           }   Case No.: 2:17-cv-01649-MHH
                                            }
       Plaintiff-Intervenor,                }
 v.                                         }
                                            }
 DOLGENCORP, LLC,                           }
                                            }
       Defendant.                           }


                                      ORDER

       Earlier this year, the Court denied Dollar General’s motion for summary

judgment on the EEOC’s and Mr. Jackson’s Americans with Disability Act and

Genetic Information Nondiscrimination Act claims. (Doc. 131). Pursuant to 28

U.S.C. § 1292(b), Dollar General has asked the Court to certify for interlocutory

appeal the order denying the company’s summary judgment motion. (Doc. 134).

       Interlocutory review is a “rare exception” to the firm rule that the “great bulk

of [] review must be conducted after final judgment.” McFarlin v. Conseco Servs.,

LLC, 381 F.3d 1251, 1264 (11th Cir. 2004). Under § 1292(b), when a district judge

                                           1
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who issues an order “not otherwise appealable . . . shall be of the opinion that such

order involves a controlling question of law as to which there is substantial ground

for difference of opinion and that an immediate appeal from the order may materially

advance the ultimate termination of the litigation,” the judge should state so in its

order. 28 U.S.C. § 1292(b). Both district and circuit courts have the discretion to

certify issues for interlocutory appeal. OFS Fitel, LLC v. Epstein, Becker & Green,

P.C., 549 F.3d 1344, 1358 (11th Cir. 2008).

      A court should certify an issue for interlocutory appeal only when the issue

involves:

      (1) pure questions of law, (2) which are controlling of at least a
      substantial part of the case, (3) and which are specified by the district
      court in its order, (4) and about which there are substantial grounds for
      difference of opinion, (5) and whose resolution may well substantially
      reduce the amount of litigation necessary on remand.

McFarlin, 381 F.3d at 1264. The “and” towards the end of the five-factor test makes

the factors conjunctive, so if a factor is not established, a court must deny a request

for interlocutory review.

                                   The GINA Issue

      Dollar General has asked the Court to certify for interlocutory appeal the

following question:

            Is a GINA claim for the “acquisition of genetic information” under
            42 U.S.C. § 2000ff-1(b) a claim for “intentional unlawful
            discrimination” within the meaning of 42 U.S.C. § 1981a for which
            compensatory and punitive damages are available?
                                          2
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(Doc. 134, p. 1). The parties dispute whether the question Dollar General presents

for interlocutory appeal is a question on which there are substantial grounds for

difference of opinion. (Doc. 134, pp. 6-8; Doc. 142, pp. 5-6). The Court will assume

that the other requirements for certification are met and will focus its analysis on

whether substantial grounds for difference of opinion exist.

       “Substantial ground for difference of opinion exists when a legal issue is (1)

difficult and of first impression, (2) the district courts of the controlling circuit are

split as to the issue, or (3) the circuits are split on the issue.” Consumer Fin. Prot.

Bureau v. Frederick J. Hanna & Assocs., P.C, 165 F. Supp. 3d 1330, 1335 (N.D.

Ga. 2015) (citing Georgia State Conf. of NAACP v. Fayette Cnty. Bd. of Comm’rs,

952 F. Supp. 2d 1360, 1362 (N.D. Ga. 2013)). Only the first factor is relevant here.

With respect to the plaintiffs’ GINA claim, the Court has stated: “[a]s far as the

Court can tell, this is an issue of first impression,” (Doc. 131, p. 39), but that is not

enough to establish a basis for an interlocutory appeal; the issue must be one of first

impression, and it must be difficult. Consumer Fin. Prot. Bureau, 165 F. Supp. 3d

at 1335. The issue here is novel, but it is not difficult.

      Stated plainly, Dollar General asks whether an employer who intentionally

obtains an employee’s genetic information in violation of 42 U.S.C. § 2000ff-1(b) is

liable for compensatory and punitive damages under 42 U.S.C. § 1981(a) which

allows such damages for intentional discrimination. The Court answered yes and
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pointed to other district courts that have said the same and to GINA’s legislative

history. (Doc. 131, pp. 41-45). The Court also noted that “no court has held that

damages are not available under 42 U.S.C. § 2000ff-1(b).” (Doc. 131, p. 41). While

the Court recognized, and Dollar General emphasizes, that “GINA’s statutory

framework does not neatly map onto 42 U.S.C. § 1981(a)(1)’s remedial scheme,”

(Doc. 131, p. 41; Doc. 135, p. 7), the underlying issue is not a particularly difficult

one. Section 2000ff-1(b) makes the intentional acquisition of genetic information

unlawful. When an employer intentionally requests, requires, or purchases genetic

information that it is not otherwise allowed to have or allowed to base its

employment decisions on, it intentionally engages in the kind of unlawful intentional

conduct 42 U.S.C. § 1981(a)(1) disallows. Admittedly, 42 U.S.C. § 1981(a)(1) uses

the word discrimination and 42 U.S.C. § 2000ff-1(b) does not, but the Court found

that “given the language and legislative history of GINA” and “the Supreme Court’s

interpretation of 42 U.S.C. § 1981a(a)(1) . . . compensatory and punitive damages

are available for claims brought under 42 U.S.C. § 2000ff-1(b).” (Doc. 131, p. 45).

      This damages analysis is based on general and well-settled principles of

employment law. Therefore, it is not difficult and does not require interlocutory

review. See Owens v. Metro. Life Ins. Co., 2017 WL 106017, *5 (N.D. Ga. Jan. 11,

2017) (“And while this issue is one of first impression, it involves the application of

traditional rules of contract interpretation. This is not the difficult issue for which §


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1292(b) was intended.”); Consumer Fin. Prot. Bureau, 165 F. Supp. 3d at 1337

(“The application of settled law to this case’s somewhat new facts does not present

a substantial ground for difference of opinion warranting certification.”). Although

no circuit has found that a violation of 42 U.S.C. § 2000ff-1(b) entitles a plaintiff to

compensatory and punitive damages, no circuit has rejected such a rule. Consumer

Fin. Prot. Bureau, 165 F. Supp. 3d at 1337 (finding that no substantial difference of

opinion existed because, “[a]lthough no circuit has specifically applied the

meaningful attorney doctrine to the filing of a debt collection complaint, no circuit

has rejected such application”). Accordingly, in the absence of a record that

demonstrates substantial grounds for difference of opinion beyond Dollar General’s

disagreement with the Court’s analysis, the Court declines to certify Dollar

General’s first question for interlocutory review. Consumer Fin. Prot. Bureau, 165

F. Supp. 3d at 1339 (“Defendants’ disagreement with this Court’s Order does not

constitute substantial ground for difference of opinion . . . .”) (internal quotation

marks omitted).

                                 The ADA Question

      Dollar General also has asked the Court to certify the following question for

interlocutory appeal:

      Is an ADA claim of qualification standards that screen out or tend to
      screen out individuals with disabilities under 42 U.S.C. § 12112(b)(6)
      analyzed exclusively as a disparate impact claim or can it be established
      through a showing of disparate treatment?
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(Doc. 134, p. 1). As with the first question, the certification of Dollar General’s

second question turns on whether there are substantial grounds for a difference of

opinion on the proposed question. For this question, Dollar General argues, and the

Court agrees, that substantial grounds for difference of opinion exists because

district courts within this circuit and circuit courts across the country are split on the

issue. (Doc. 146, pp. 5-7). “[T]o demonstrate the existence of a substantial ground

for difference of opinion, the appellant must show that at least two courts interpret

the legal principle differently.” Havana Docks Corp. v. MSC Cruises SA Co., 2020

WL 3451681, *3 (S.D. Fla. June 24, 2020) (internal quotations and citation omitted).

      At least four district courts in this circuit have analyzed the issue. This Court

found that a party may pursue a disparate treatment claim under § 12112(b)(6).

(Doc. 131, pp. 14-19) (“[T]he Court rejects Dollar General’s contention that §

12112(b)(6) pertains only to disparate impact claims and that a plaintiff may prove

a discrimination claim under § 12112(b)(6) only by offering comprehensive

statistical evidence.”). Similarly, in Toole v. Metal Services, LLC, the district court

allowed the plaintiff to pursue an intentional discrimination claim under §

12112(b)(6) using the McDonnell Douglas burden-shifting standard. 17 F. Supp. 3d

1161, 1170 (S.D. Ala. 2014). In contrast, in Allmond v. Akal Security, Inc., the

district court found that “[c]laims brought pursuant to § 12112(b)(6) are treated as

disparate impact claims.” 2007 WL 2904023, at *6 (M.D. Ga. Sept. 28, 2007), aff’d
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on other grounds, 558 F.3d 1312 (11th Cir. 2009). District courts in other circuits

also differ in their analysis of the issue. (Doc. 131, pp. 14, 20).

      Lack of consensus among the district courts of this circuit creates substantial

grounds for differences of opinion on the ADA question presented by Dollar

General. No clear consensus on the issue exists among federal circuit courts either.

Compare Monette v. Electronic Data Systems, Corp., 90 F.3d 1173 (6th Cir. 1996),

abrogated on other grounds by Lewis v. Humboldt Acquisition Corp., Inc., 681 F.3d

312 (6th Cir. 2012), and Gonzales v. City of New Braunfels, Tex., 176 F.3d 834, 839

(5th Cir. 1999) (examining medical screening claim by individual plaintiff as a

disparate treatment claim and noting that plaintiff did not plead a disparate impact

claim under § 12112(b)(6)), with Boersig v. Union Elec. Co., 219 F.3d 816, 822 (8th

Cir. 2000) (stating that 42 U.S.C. § 12112(b)(6) “invoke[es] a disparate impact

theory of ADA liability.”). The Supreme Court’s opinion in Raytheon Company v.

Hernandez, 540 U.S. 44 (2003), also is relevant. As this Court stated, “[d]icta in

Raytheon undergirds the argument that § 12112(b)(6) pertains only to disparate

impact claims.” (Doc. 131, p. 14).

      Given the lack of consensus among the district courts of this circuit and among

circuit courts and the dicta in Raytheon, substantial grounds for difference of opinion

exist. An interlocutory determination of this issue would not require the Eleventh

Circuit Court of Appeals to delve into the factual record in this case, and the ADA


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issue impacts a substantial part of this case. Resolution of the ADA issue in favor

of Dollar General likely will substantially reduce the scope of this litigation on

remand.

                                   Conclusion

      For the reasons discussed above, the Court declines to certify the GINA

question for interlocutory appeal. The Court certifies for interlocutory appellate

review the following issue under the ADA:

      Should ADA claims regarding qualification standards that screen out
      or tend to screen out individuals with disabilities under 42 U.S.C. §
      12112(b)(6) be analyzed exclusively as disparate impact claims or may
      plaintiffs establish screening claims by making an adequate showing of
      disparate treatment?

      DONE and ORDERED this January 3, 2023.


                                   _________________________________
                                   MADELINE HUGHES HAIKALA
                                   UNITED STATES DISTRICT JUDGE




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                        Exhibit C
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                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT FOR
                           THE NORTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION

 EQUAL EMPLOYMENT                               )
 OPPORTUNITY COMMISSION,                        )
                                                )
           Plaintiff,                           )
                                                )
 and                                            )
                                                )
 VINCENT JACKSON,                               )
                                                )
           Plaintiff-Intervenor,                )
 v.                                             )    Civil Action No. 2:17-cv-01649-MHH
                                                )
 DOLGENCORP, LLC,                               )
                                                )
           Defendant.                           )


                   DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF
                          MOTION FOR SUMMARY JUDGMENT


                                     I.   INTRODUCTION

         The Americans with Disabilities Act (the “ADA”) has long given employers the right to

condition job offers on pre-employment medical examinations assessing a candidate’s physical

qualification for the job. Plaintiffs in this action bring a misplaced challenge to pre-employment

physical examinations lawfully conducted between 2013 and 2017 for General Warehouse Worker

(“GWW”) candidates at Dollar General’s Bessemer distribution center (“Bessemer DC”). Medical

personnel at nearby Middle Creek Medical Center conducted those examinations, with each

candidate medically evaluated for their ability to perform the physically demanding GWW

position while working on and near various types of moving equipment. Citing 42 U.S.C. §

12112(b)(6), Plaintiffs claim in error that these examinations applied unlawful “qualification



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standards” because Middle Creek’s medical personnel considered a candidate’s blood pressure

reading, peripheral vision and depth perception, and blood sugar level in their overall assessment.

         Plaintiffs’ ADA challenge is unfounded for many reasons. First, Plaintiffs cannot establish

that any of the twenty-five candidates on whose behalf the case is brought are disabled. Second,

they cannot establish that consideration of any candidate’s blood pressure, blood sugar, or vision

constituted an unlawful “qualification standard” that “screened out or tended to screen out”

individuals with disabilities.     Even in those situations where the Middle Creek examiner

determined there was an issue that might impact a candidate’s ability to do the job, candidates

were not excluded from further consideration. They were instead referred to their personal doctor

(or another doctor of the candidate’s choice) to address the candidate’s particular issue. That

referral status also allowed for the candidate to return for reevaluation after taking forgotten

medication, obtaining corrective lenses, or simply for a recheck of vital signs. Nearly all of those

whom Middle Creek initially gave a “referral” status were ultimately qualified to work as GWWs

on their return to Middle Creek.     Plaintiffs, however, challenge this medically-focused process

and attempt to substitute their medical judgment for that of the Middle Creek medical personnel

who, in addition to using their own medical judgment also considered the medical judgment of a

candidate’s own doctor in making physical qualification assessments.

         The ADA claim Plaintiffs seek to bring must also be dismissed because the medical

examiner’s consideration of such information was job-related and consistent with business

necessity. Middle Creek’s medical personnel knew the GWW position involved work in a fast-

paced industrial setting, with workers expected to work on and near forklifts and other motorized

equipment, and often at significant heights. It was therefore particularly important that they assess

the candidate’s ability to navigate within that environment, including whether the candidate was


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at risk of a sudden loss of consciousness while operating or working near moving equipment and

whether the candidate could perceive risks using their peripheral vision and depth perception.

           Plaintiffs also attempt a separate claim under the Genetic Information Non-Discrimination

Act (“GINA”) based on allegations that Middle Creek improperly asked candidates about family

health history. This claim is similarly without merit. First, the question on which Plaintiffs base

this claim was on a form that Middle Creek discontinued in August 2014. Second, GINA does not

provide for damages on an “impermissible inquiry” claim. Accordingly, the harm alleged is not

redressable, and this deprives either plaintiff of Article III standing.

                                       II.    STATEMENT OF FACTS

           A. Dollar General’s Bessemer Distribution Center

           Dollar General is a discount retailer of consumable goods with approximately 17,000 retail

locations nationwide.1 In order to supply its retail locations, Dollar General operates large

distribution centers in multiple locations where product is shipped, checked in, unloaded and stored

before being sent out to the stores. DG Dep. Tr. 50:19-52:16; 53:9–69:19; 93:25–96:14. Id. One

such distribution center is the Bessemer DC. DG Dep. Tr. 21:10–17.

           The Bessemer DC is a 1.2 million square foot facility with height clearance of

approximately 50 feet that contains pallets of merchandise stacked on shelving four stories high.

Orefice Dep. Tr. 92:9–98:25; see also Pl’s Exs. 78–92; Deslattes Exs. 12A–D; Deslattes Dep. Tr.

440:10–444:6. The over 600 employees who actually distribute the product within the distribution

center are known as “General Warehouse Workers.” Orefice Dep. Tr. 92:9–98:25; DG Dep. Tr.

137:14–144:14. GWWs fill the stores’ orders by retrieving the necessary merchandise—either in

full cases or in smaller quantities—and placing the merchandise on rolltainers, a non-motorized



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    https://www.dollargeneral.com/about-us.html.
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silver rack on wheels that fits onto the pallet truck. DG Dep. Tr. 93:9–96:14; Pl’s Exs. 78–79, 91.

Loaded rolltainers and other merchandise are then loaded on trucks for delivery to Dollar General

stores. Id.

         Product is then moved throughout the Bessemer DC on various motorized equipment that

includes: sweeping vehicles, pallet trucks, tow tractors, and several different types of forklifts

(including “MUOPs,” or “Man Up Order Pickers”). DG Dep. Tr. 68:18–70:22; Pl’s Exs. 78–85,

91–95. The motorized equipment most frequently operated by GWWs are various types of

forklifts and pallet trucks, which have two long prongs used to transport product on and off trucks

and around the Bessemer DC. DG Dep. Tr. 68:18–70:22; 93:9–96:14; Pl’s Exs. 78–79, 91. The

three main types of forklifts operated by GWWs are: (1) counterbalanced lift trucks, which are

what one would generally think of as a standard forklift; (2) reach-fork lift truck, which are forklifts

with the ability to reach over four stories high; and (3) MUOPs, which lift a person standing on a

platform up to four stories in the air. DG Dep. Tr. 96:15–101:7; 104:4–108:8; Pl’s Exs. 80–81,

84, 91–92, 95.

         The Bessemer DC is a fast-paced work environment and GWWs must constantly be aware

of their surroundings both on and off the motorized equipment they use to move product. Orefice

Dep. Tr. 102:21–104:25; DG Dep. Tr. 126:22–127:22; 133:5–134:9; 219:7–16. No matter where

a GWW is located in the DC, the individual will be operating or working near large motorized

equipment. Orefice Dep. Tr. 102:21–104:25; DG Dep. Tr. 126:22–127:22; 133:5–134:9; 219:7–

16.

         GWWs work across four departments: (1) Repack, which pulls individual product to pack

rolltainers based on individual store orders and also puts individual product back onto shelves; (2)

Shipping, which transports product between the loading dock and the trucks; (3) Full Case, which


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loads or unloads pallets of product from shelves; and (4) Case Pack, which takes cases of

merchandise and places it on conveyor belts for travel to the shipping dock. DG Dep. Tr. 53:9–

69:19; Orefice Dep. Tr. 92:21–100:20; Young Dep. Tr. 37:2–43:2; Pl’s Ex. 8 at 2–5.

         Though GWWs generally start out in one department, the expectation is that over time they

will become cross-trained and able to perform the duties of any department on any given shift

depending on business needs, including operating the various motorized equipment used in that

department. DG Dep. Tr. 64:1–78:12; Orefice Dep. Tr. 99:1–100:20; Young Dep. Tr. 37:2–43:2;

75:3–76:11. As detailed in both the GWW Position Description and a Job Analysis created during

the initial stage of the pre-employment physical, the GWW position is physically demanding and

requires continuous lifting and walking, operating on and around motorized equipment, and

working at heights. Pl’s Ex. 6 at 2; Pl’s Ex. 8 at 2–5.

         B. Pre-Employment Physical

                   1. The Pre-Employment Physical

         During the time period at issue,2 GWW job applicants went through a multi-step selection

process that included a written application, job interview, background check, and an offer of

employment conditioned on successful completion of a drug screen and a pre-employment

physical examination with Middle Creek Medical Center. Young Dep. Tr. 17:18–24:24, 32:13–

36:19; Orefice Dep. Tr. 14:24–28:9; DG Dep. Tr. 39:10–47:18. After receiving a conditional

offer, the candidate would be referred to Middle Creek for their pre-employment physical. DG

Dep. Tr. 45:19–47:18.

         After Middle Creek conducted the physical, it faxed a one page “results” form indicating

whether in the examiner’s judgment the candidate was “qualified,” “not qualified,” or whether a


2
 The relevant period is December 2013 until August 2014 for Plaintiffs’ GINA claim and until September 2017 for
Plaintiffs’ ADA claim.
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decision was pending. DG Dep. Tr. 240:7–244:1; MC Dep. Tr. 31:8–32:19; 52:15–20; 56:20–

59:17; 229:15–231:16; 264:12–265:10; Young Dep. Tr. 49:2–16; Orefice Dep. Tr. 44:9–47:24;

102:9–20.          Dollar General was not involved with the examinations, but Middle Creek’s

contemporaneous medical records and the testimony of its personnel reflect the following process:

    1. Upon arrival at Middle Creek’s facility, the candidate was given paperwork that included

         a health questionnaire entitled “Physical Encounter.” MC Dep. Tr. 58:13–60:13; 111:6–

         113:5; see Pl’s Ex. 5 at 5.3

    2. A Middle Creek medical assistant next performed “triage,” which included taking vital

         signs such as blood pressure, pulse, height, and weight. MC Dep. Tr. 34:12–37:6; 61:17–

         66:12; 76:12–77:2; 111:6–113:5; Busbee Dep. Tr. 42:7–45:7.

    3. The medical assistant also performed a vision test and collect urine from the candidate for

         drug screen and urinalysis, contemporaneously entering her findings in the appropriate

         forms and Middle Creek’s electronic medical records. MC Dep. Tr. 34:12–37:6; 61:17–

         66:12; 76:12–77:2; 111:6–113:5; Busbee Dep. Tr. 42:7–45:7; see Pl’s Ex. 16 at 4–5, 8–9.

    4. A nurse practitioner next met with the candidate to review the candidate’s health history

         information, vital signs, and test results, ask any necessary follow up questions, and

         conduct a physical examination of the candidate. MC Dep. Tr. 35:19–36:14; 52:15; 260:3–

         11; Busbee Dep. Tr. 63:9–64:5. 23; 57:10–58:12; 111:6–113:5; Deslattes Dep. Tr. 74:23–

         76:16; 83:3–85:14.

    5. At the conclusion of the examination, the nurse practitioner assessed whether in her

         medical judgment—and in reliance on the GWW Job Description and Job Analysis—the


3
  The questionnaire at one time included a “yes/no” question concerning the candidate’s family medical history. That
form was later updated, and by August 22, 2014 the question had been removed and Middle Creek specifically
instructed not to ask candidates any questions about family medical history. Pl’s Ex. 17 at 9–15. Any family medical
history obtained by Middle Creek had no effect on the examiner’s qualification rating. MC Dep. Tr. 270:9–13.
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         candidate was physically qualified to perform the GWW position. MC Dep. Tr. 67:5–

         68:23; 77:19–79:9; 86:11–88:8; 237:15–240:13; 271:15–274:6; Deslattes Dep. Tr. 40:9–

         25; 52:19–60:19; 86:16–90:11; 265:9–273:16; 287:1–292:24; 108:12–110:8; 267:12–

         273:23; see Pl’s Exs. 6 at 2; 8 at 2–5. The nurse practitioner then advised the candidate of

         her assessment, including whether or not additional information was needed before a

         qualification decision could be made. MC Dep. Tr. 31:8–32:19; 52:15–20; 56:20–59:17;

         229:15–231:16; 264:12–265:10; Deslattes Dep. Tr. 41:14–48:4; 104:20–106:24; 149:19–

         153:19; 160:11–161:23; 290:16–292:24; 315:1–318:4; 406:4–407:3; Pl’s Ex. 5 at 4.

    6. Following the exam, Middle Creek faxed Dollar General a one-page “Pre-Employment

         Physical Results” form with one of three pre-printed boxes checked: “Qualified,” “Not

         Qualified,” or “Referred to PMD.” MC Dep. Tr. 31:8–32:19; 52:15–20; 56:20–59:17;

         229:15–231:16; 264:12–265:10; see Pl’s Ex. 5 at 2. Dollar General received no other

         information from the pre-employment physical beyond the final rating indicated on the

         Results Form.4 DG Dep. Tr. 240:7–244:1; MC Dep. Tr. 31:8–32:19; 52:15–20; 56:20–

         59:17; 229:15–231:16; 264:12–265:10; Young Dep. Tr. 49:2–16; Orefice Dep. Tr. 44:9–

         47:24; 102:9–20.

         The “Refer to PMD” rating was intended to convey that there was some aspect of the

candidate’s pre-employment physical that required further evaluation and possible treatment by

another healthcare provider before a qualification decision could be made. MC Dep. Tr. 54:6–

55:2; 66:4–12; 72:2–73:10; 101:12–102:16; 123:9–127:1; 163:16–165:10; 182:18–186:14; 201:2–

20; Deslattes Dep. Tr. 41:14–48:4; 86:16–90:11; 104:20–106:24; 149:19–153:19; 160:11–161:23;


4
 Though Middle Creek personnel occasionally wrote explanations on the result form, they were instructed not to do
so. See e.g., Pl’s Ex. 6 at 4 (“Dollar General will not receive any medical documents from the medical facility.”); Pl’s
Ex. 17 at 9 (“You should only inform Dollar General (on the form provided) whether a candidate is qualified, not
qualified or referred to his or her PMD.”).
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290:16–292:24; 315:1–318:4; 406:4–407:3. When giving a “Refer to PMD” rating, the nurse

practitioner explained to the candidate what the rating meant and what the candidate should do

next—including seeing another physician or contacting Dollar General to request an

accommodation if necessary. MC Dep. Tr. 54:6–55:2; 66:4–12; 72:2–73:10; 101:12–102:16;

123:9–127:1; 163:16–165:10; 182:18–186:14; 201:2–20; Deslattes Dep. Tr. 41:14–48:4; 86:16–

90:11; 104:20–106:24; 149:19–153:19; 160:11–161:23; 290:16–292:24; 315:1–318:4; 406:4–

407:3. If the nurse practitioner referred the candidate to his or her primary doctor (or another

provider), copies of the GWW Position Description and Job Analysis were given to the candidate

to take to the candidate’s provider. Deslattes Dep. Tr. 45:17–47:3; 86:16–90:11; see Pl’s Ex. 5 at

2 (noting under “Referred to PMD” rating that “Copy of Job Analysis was provided to applicant

for PMD review”). If the candidate said he or she did not already have an appropriate provider,

the nurse practitioner provided referral suggestions.5 Deslattes Dep. Tr. 45:17–47:3; 86:16–90:11.

Unless the candidate failed the drug screen or refused to complete the pre-employment physical,

it was rare for a candidate to be rated “Not Qualified.” MC Dep. Tr. 163:16–165:10; 195:22–

196:23; 201:2–20; Deslattes Dep. Tr. 86:16–90:11; see also Medical Record Summary.6

                      2. Pre-Employment Physical Criteria

         The EEOC contends that Middle Creek’s nurse practitioners improperly considered blood

pressure, blood sugar, and vision as part of its examination process. It takes issue in particular

with the decision to refer candidates for further evaluation if on the day of the examination the

candidate had: (1) a blood pressure reading of 160/100 or higher; (2) corrected visual acuity that



5
  Testimony from Middle Creek confirms that referral suggestions included free clinics for candidates who indicated
cost might be an issue. Deslattes Dep. Tr. 45:17–47:3; 213:7–22.
6
  The attached Medical Record Summary is a spreadsheet summarizing relevant information contained in the almost
9,000 pages of medical records that Middle Creek produced in response to a subpoena seeking the medical records of
all individuals who underwent the Pre-Employment Physical during the relevant period. The summary is provided
pursuant to Federal Rule of Evidence 1006, which permits the summarizing of voluminous records.
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was not at least 20/50 in each eye; or (3) an abnormally high blood sugar level reflected in their

urinalysis or a blood test. Compl. at ¶ 25(a)–(d). Dollar General did not mandate any specific

“cut off” numbers for the criteria or direct Middle Creek to use them as a screen to disqualify

candidates.7 DG Dep. Tr. 219:17–220:7; MC Dep. Tr. 67:5–68:23; 77:19–79:9 Ex. 6; 86:11–88:8;

237:15–240:13; 271:15–274:6; Deslattes Dep. Tr. 40:9–25; 52:19–60:19; 86:16–90:11; 95:15–

98:7; 265:9–273:16; 287:1–292:24; Sumner Dep. Tr. 94:8–25; 151:24–156:7; 159:14–164:8.

Instead, the final rating was based on the independent medical judgment of the Middle Creek nurse

practitioner. Id.

                      3. Pre-Employment Physical Statistical Results

         Provided the candidates had also passed their drug screen, those rated “Qualified” by

Middle Creek were contacted about a start date. Young Dep. Tr. 32:13–36:19; Orefice Dep. Tr.

44:9–47:24.        Those candidates who were given a “Refer to PMD” rating—most of whom

subsequently were rated “Qualified”—were placed in a pending status. Orefice Dep. Tr. 48:6–

49:12.

         Middle Creek’s records reflect that its personnel conducted 627 pre-employment physicals

of GWW candidates during the period at issue. Medical Record Summary. Of those, 392 initially

received “Qualified” ratings, 33 received “Not Qualified” ratings for various reasons, 189 received

a “Refer to PMD” rating.8 Id. Of the 33 individuals rated “Not Qualified,” the records reflect that


7
  Throughout discovery, the EEOC has attempted to present a document produced by Middle Creek and entitled
“Dollar General Physical Requirements” as if it is a document that was given by Dollar General to Middle Creek for
use during the POETs. Pl’s Ex. 2; see e.g., Orefice Dep. Tr. 105:1–121:4. The overwhelming and undisputed record,
however, including several versions of the document itself, clearly show that this document was created by Middle
Creek as a sort of checklist for them to use. Pl’s Ex. 14; Sumner Dep. Tr. 151:24–156:7; Orefice Dep. Tr. 1015:16–
121:4; Middle Creek Dep. Tr. 44:23–47:1; 98:23–101:20; 163:3–15; Deslattes Dep. Tr. 90:31–95:14; 100:4–103:3.
8
  The remaining 13 medical records are incomplete and do not contain either a completed rating form or enough
information to otherwise determine the rating. Medical Record Summary. Many of those candidates, however, have
an unchecked form and some indication that the candidate failed or refused the drug screen. Id. Additionally, several
individuals underwent the Pre-Employment Physical twice as part of separate application processes during the relevant
period, and each of their Pre-Employment Physicals are counted separately. Id.
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26 had failed their drug screen, 3 had refused to complete the pre-employment physical exam, and

3 were later rated “Qualified.” Id. Only 1 out of 630 candidates, Lorenzo McConnico, is shown

to have received a final rating of “Not Qualified” for any reason other than failing a drug screen

or not completing the pre-employment physical. Id.

         Among those 189 candidates who were rated “Refer to PMD,” the majority (118

candidates) who followed through and returned to Middle Creek for further evaluation, were rated

“Qualified.” Id. Most noticeably, out of the 143 candidates rated “Referred to PMD” because of

their tested blood pressure, blood sugar, or vision measurements (the specific criteria challenged

by Plaintiffs), every one of those who followed the nurse practitioner’s instructions and returned

for further evaluation—a total of 90 candidates—were later rated “Qualified.”9

                      4. Relevance of Criteria to General Warehouse Worker Position

         After considering the Bessemer DC environment, the GWW Job Description and Job

Analysis, Middle Creek medical providers determined that it was appropriate to consider blood

pressure, blood sugar, and vision information in determining whether a candidate could perform

the duties of a GWW. Deslattes Dep. Tr. 267:12–273:23; see also id. at 55:25–60:19; 265:9–

271:2; 290:16–292:24; 301:7–305:7; 314:2–25; 319:7–322:22; Haimes Dep. Tr. 70:12–79:24;

119:1–120:18; 185:22–200:25; 213:12–218:11; 242:22–245:6. The medical evidence developed

in discovery further indicates that blood pressure of 160/100 or higher, if left untreated or

uncorrected, indicates a condition that has the potential to cause sudden incapacitation, and the

unpredictable nature of such an event means it could pose a safety hazard not only to the individual




9
  Of those 92 out of 145 candidates, Middle Creek’s records reflect that 22 candidates had initially been referred to
PMD due to their blood pressure readings, 14 because of their blood sugar level, and 56 because of vision. Id. Of the
remaining 53 candidates referred to PMD for the same criteria, Middle Creek’s records reflect that none of them
returned for further evaluation despite the opportunity to do so. Id. That includes 21 of the 25 candidates on whose
behalf the EEOC is seeking to assert its ADA claim here. Id.
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but to others within the Bessemer DC. MC Dep. Tr. 76:13–77:2; Deslattes Dep. Tr. 56:10–58:6;

95:15–97:4; 290:16–292:24; see also Swotinsky Dep. Tr. 73:25–80:11.10 Abnormal blood sugar

levels are also indicative of possible conditions that if left untreated can lead to sudden

incapacitation as well as sudden loss of vision—again posing a safety hazard in a distribution

center environment. Deslattes Dep. Tr. 58:7–60:19; 301:7–305:7; 314:2–25.11

         Finally, corrected visual acuity of 20/50 or better in each eye was a relevant consideration

given the presence in the Bessemer DC of hundreds of pieces of motorized equipment in operation

and the need for depth perception and peripheral vision in that environment.12 Orefice Dep. Tr.

102:21–104:25; MC Dep. Tr. 77:19–79:9; 86:11–88:8; Deslattes Dep. Tr. 55:25–56:9; 265:9–

271:2; 319:7–322:22; see also Haimes Dep. Tr. 70:12–79:24; 119:1–120:18. Without reasonable

peripheral vision and depth perception, GWWs would be limited in their ability to see or react in

time to pedestrians or other equipment. MC Dep. Tr. 77:19–79:9; 86:11–88:8; Deslattes Dep. Tr.

55:25–56:9; 265:9–271:2; 319:7–322:22; see also DeCarlo Dep. Tr. 88:20–94:12 (noting

legitimate concern for evaluation that someone with one eye would not being able to process

information fast enough or work safely in a dangerous job because of lost depth perception). They

would also be limited in their ability to safely line up the prongs of the forklifts without causing

damage to the shelves or equipment, or inadvertently knocking a loaded pallet off one of the four-

story racks in the Bessemer DC. MC Dep. Tr. 77:19–79:9; 86:11–88:8; Deslattes Dep. Tr. 55:25–

56:9; 265:9–271:2; 319:7–322:22.


10
   Notably, A requirement of blood pressure below 160/100 is less stringent than the blood pressure requirement
imposed by the Department of Transportation (“DOT”) for commercial drivers. MC Dep. Tr. 98:23–101:20; Deslattes
Dep. Tr. 413:19–416:12; 457:10–458:19; see also Swotinsky Dep. Tr. 16:18–17:20, 18:2–22:22 (DOT standards for
truck drivers are appropriate and common to consider for evaluating fork lift operators); Haimes Dep. Tr. 74:17–79:24
(looking at standards for regulated jobs is relevant and helpful for analogous jobs).
11
   On at least one occasion, a GWW at the Bessemer DC lost consciousness and/or vision while working on a MUOP
because she suffered from an unknown and uncontrolled diabetic condition. Young Dep. Tr. 73:13–74:15.
12
   This vision criteria as also less stringent than the corrected vision requirement imposed by the DOT for commercial
drivers. Haimes Dep. Tr. 74:2–79:24.
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         C. Jackson’s Pre-Employment Physical

         Jackson went to Middle Creek for his pre-employment physical on June 17, 2014. Jackson

Dep. Tr. 331:7–394:4; Pl’s Ex. 16. Jackson followed the process described above and filled out a

Physical Encounter form in which he checked “No” in response to the “family history” question

and then had his vital signs and vision checked by a Middle Creek medical assistant. Jackson Dep.

Tr. 331:7–394:4; Pl’s Ex. 16. When the vision test resulted in a finding of 20/200 in his right eye,

the medical assistant informed Jackson that he had not met the vision criteria for the pre-

employment physical. Jackson Dep. Tr. 331:7–394:4; Pl’s Ex. 16. She then completed her portion

of the process and took him to a room to be examined by the nurse practitioner. Jackson Dep. Tr.

331:7–394:4; Pl’s Ex. 16.

         Jackson was seen by a Middle Creek nurse practitioner, who discussed with him the poor

vision in his right eye. Jackson Dep. Tr. 331:7–394:4; Pl’s Ex. 16. After reviewing his test results

and before performing an exam, the nurse practitioner advised Jackson that his current vision was

insufficient to satisfy the pre-employment physical and that he should see a doctor to either have

his vision corrected or obtain a further evaluation to determine his ability to do the job. Jackson

Dep. Tr. 331:7–394:4; Pl’s Ex. 16. Jackson says he advised the nurse practitioner that he was

born with the vision issue and it was not correctable and that she then completed the exam before

he left.13 Jackson Dep. Tr. 387:20–392:20; Pl’s Ex. 16. However, according to the nurse

practitioner and the contemporaneous medical records, after the conversation concerning his

vision, the nurse practitioner requested Jackson finish the exam, but Jackson refused and walked

out. Deslattes Dep. Tr. 117:16–119:7; 137:23–139:7; 149:19–151:14; 155:4–156:1; 160:11–

161:23; 324:21–326:21; Pl’s Ex. 16 at 5 (“Pt refused physical”), at 6 (“refused physical exam”),


 Jackson testified that notwithstanding his vision in his right eye, he does not consider himself disabled. Jackson
13

Depo. at 430.
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at 8 (“Pt sts he knows there is no correction, and he declined a physical exam”), at 10 (“Pt . . .

refused physical”). It is undisputed that within an hour of Jackson leaving Middle Creek, Middle

Creek faxed a “Not Qualified” Results Form to Dollar General with a note that he had refused to

finish the physical. Pl’s Ex. 16 at 10.

                                     III.    LEGAL ARGUMENT

         The Plaintiffs assert two causes of action with respect to Dollar General’s pre-employment

physical: (1) an ADA challenge that prior to September 2017, the Middle Creek examinations

“applied unlawful qualification standards that screened out or had the effect of screening out

individuals with disabilities” and (2) a GINA “unlawful inquiry” claim that prior to August 2014

Middle Creek made improper requests for family medical history. Compl. at ¶¶ 21–45.14

         The ADA claim is brought on behalf of Jackson and twenty-four additional candidates (the

“ADA Aggrieved Parties”) who allegedly were denied employment because they received a rating

on the exam of either “Referred to PMD” or “Not Qualified” based on their blood pressure, blood

sugar, or visual acuity measurements. EEOC’s Second Amended Response to Interrogatories ¶ 12.

The GINA claim is bought on behalf of Jackson and approximately 500 additional candidates (the

“GINA Aggrieved Parties”) who allegedly were harmed by being asked to answer a single question

on a form concerning their family medical history and possibly being asked the same question

orally by a Middle Creek medical assistant during their pre-employment physical. EEOC’s Second

Amended Response to Interrogatories ¶ 13.

         For the reasons addressed below, Dollar General should be granted summary judgment on

both claims and the Court should dismiss this case with prejudice.


14
   Jackson’s Intervenor-Complaint is substantively identical to the EEOC’s Complaint and asserts the same
claims. Compl. at ¶¶ 21–45; Intervenor Compl. at ¶¶ 21–45. Moreover, Jackson is an aggrieved party for both the
EEOC’s ADA and GINA claim. Accordingly, Jackson’s individual claims fail for the same reasons the EEOC’s
claims on behalf of the ADA and GINA Aggrieved Parties fail.
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         A. Dollar General is Entitled to Summary Judgment on Plaintiffs’ ADA Claim.

         Although pled as two separate counts, Plaintiffs assert a single ADA claim alleging that

Dollar General’s pre-employment physical was an unlawful employee entrance exam under 42

U.S.C. § 12112(d)(3) because it used “qualification standards or selection criteria that screen out

or tend[ed] to screen out an individual with a disability or a class of individuals with disabilities,”

in violation of 42 U.S.C. § 12112(b)(6). See Complaint at ¶ 25.a. Claims premised on qualification

standards or selection criteria that violate § 12112(b)(6) are properly analyzed as disparate impact

claims, not disparate treatment claims, because they turn on the effect of a qualification standard

or selection criteria and whether it “screens out individuals with disabilities,” see § 12112(b)(6),

not the intent for which the standard or criteria was adopted.

         Plaintiffs’ ADA claim is fatally flawed as a matter of undisputed fact and controlling law.

A comprehensive analysis of all the pre-employment physicals Middle Creek performed

demonstrates that the criteria considered during the pre-employment physicals did not “screen out

or tend to screen out” individuals with disabilities. Those criteria accordingly did not violate

§ 12112(b)(6). Additionally, because the criteria used during pre-employment physicals were

permissible as job-related and consistent with business necessity, the pre-employment physicals

themselves did not violate § 12112(d)(3).

                   1. Plaintiffs’ ADA claim must be analyzed as a disparate impact claim.

         Dollar General’s pre-employment physical is an “employee entrance exam” expressly

authorized under 42 U.S.C. § 12112(d)(3) (“A covered entity may require a medical examination

after an offer of employment has been made to a job applicant and prior to the commencement of

the employment duties of such applicant, and may condition an offer of employment on the results

of such examination.”). An employee entrance exam is lawful if it meets three requirements:


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         (1)       all entering employees are subjected to such an examination regardless of
                   disability;

         (2)       information obtained regarding the medical condition or history of the
                   applicant is collected and maintained on separate forms and in separate
                   medical files and is treated as a confidential medical record …; and

         (3)       the results of such examination are used only in accordance with this
                   subchapter.

42 U.S.C. § 12112(d)(3). There is no allegation that the pre-employment physicals did not meet

the first two requirements. Compl. at ¶¶ 21–32; 42 U.S.C. § 12112(d)(3)(A)–(B). Plaintiffs’ only

contention is that the pre-employment physical was unlawful under the third element for such an

exam because its “results . . . [were not] used in accordance with” either § 12112(a) or

§ 12112(b)(6)—the subsections of the ADA cited in Count 1. § 12112(d)(3)(C); see Compl. at

¶¶ 21–32.

         Section 12112(a) is the general provision of the ADA disability stating that an employer

shall not “discriminate against a qualified individual on the basis of a disability.” Section 12112(b)

provides a list of seven employment practices that constitute discrimination “against a qualified

individual on the basis of a disability.” The only one of those seven practices the EEOC alleges

Dollar General violated is § 12112(b)(6)’s prohibition of “using qualification standards,

employment tests or other selection criteria that screen out or tend to screen out an individual with

a disability or a class of individuals with disabilities” as a type of discrimination within the

meaning of § 12112(a). See 42 U.S.C. § 12112.

         As recognized by numerous Courts in this circuit, “[c]laims brought pursuant to

§ 12112(b)(6) are [more properly] treated as disparate impact claims.” Allmond v. Akal Sec., Inc.,

2007 U.S. Dist. LEXIS 72713, *16–17 (M.D. Ga. Sep. 28, 2007) (collecting cases); see Raytheon

v. Hernandez, 540 U.S. 44, 53 (2003) (explaining the ADA permits disparate treatment claims by


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quoting § 12112(b)(3) and disparate impact claims by quoting § 12112(b)(6)); see also Monaco v.

City of Jacksonville, 51 F. Supp. 3d 1251, 1268 (M.D. Fla. 2014) (“Because Plaintiffs are

proceeding solely under a theory of disparate treatment . . . Plaintiffs’ argument that the City’s

practice violates 42 U.S.C. § 12112(b)(6) as a selection criteria that excludes or tends to exclude a

class of individuals with disabilities, is unavailing in that it relies on a theory of disparate impact

discrimination.”).

         Plaintiffs’ Complaint and discovery responses, confirm that their ADA claim is indeed

brought as a disparate impact claim.15              See Compl. at ¶¶ 21–26; EEOC Second Amended

Responses to First Set of Interrogatories at ¶ 10 (alleging Dollar General intentionally used the

pre-employment physical, not that it intentionally discriminated against the disabled). The EEOC

does not plead any factual basis for an intentional discrimination claim under § 12112(a) and

appears to reference that subsection for the proposition that the ADA general prohibits

discrimination against a qualified individual with a disability, including the specific type of

discrimination alleged by the EEOC—application of an improper qualification standard. See

Compl. at ¶¶ 21–26. Plaintiffs’ ADA claim is premised solely on the allegation that the pre-




15
   The EEOC and Jackson each devote a section of their respective Complaints to Jackson individually, with both
relying on 42 U.S.C. § 12112(b)(6) as the statutory basis for an alleged violation of 42 U.S.C. 12112(a). See
Complaint at ¶¶ 21-24; Intervenor-Complaint at ¶¶ 21-24. If they have done so in an effort to craft a disparate
treatment claim on his behalf, any such claim would fail because there is no evidence of any decisionmaker with
unlawful motive. If they contend it was the nurse practitioner who rated him, that allegation is foreclosed by
Jackson’s admission that his pre-employment physical involved application of the vision criteria consistent with its
application to others, including the recommendation that Jackson consult his own doctor (or a specialist) for further
evaluation. Jackson Dep. at 387:21-388:8. The nurse practitioner accordingly did not treat him differently from the
manner in which the EEOC alleges others were treated. To the extent Jackson alleges he was treated differently by
Dollar General because of his monocular vision, it is undisputed that Dollar General was unaware of Jackson’s
monocular vision. DG Dep. Tr. 240:7–244:1; MC Dep. Tr. 31:8–32:19; 52:15–20; 56:20–59:17; 229:15–231:16;
264:12–265:10. The only information provided to Dollar General was that Middle Creek had not qualified Jackson
because he failed the vision exam and had refused to complete the physical. Pl’s Ex. 16 at 10. While Jackson
disputes that he refused to complete the remainder of his physical, he cannot dispute what Middle Creek relayed to
Dollar General, and this justifies Dollar General’s honest belief that Jackson abandoned the process. This forecloses
any attempt to impute a discriminatory motive to Dollar General.
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employment physical used qualification standards that “screen out or tend to screen out”

individuals with a disability in violation of § 12112(b)(6). See Compl. at ¶ 25a.

         Accordingly, to survive summary judgment, Plaintiffs must present sufficient evidence to

establish a prima facie case for disparate impact under § 12112(b)(6). It has failed to do so.

                   2. Plaintiffs cannot establish a prima facie case of disparate impact
                      discrimination.

           Disparate impact claims under § 12112(b)(6) are those claims which “involve

employment practices that are facially neutral in their treatment of different groups but that in fact

fall more harshly on one group than another and cannot be justified by business

necessity.” Raytheon, 540 U.S. at 52–53. In the ADA context, the group that is adversely affected

must be qualified individuals with a disability. See Haynes v. City of Montgomery, 2008 U.S. Dist.

LEXIS 19435, *10 (M.D. Ala. Mar. 12, 2008) (“The ADA also protects against employment

practices that have a disparate impact on persons with disabilities. See, e.g., 42 U.S.C.

§ 12112(b)(6).” (emphasis added)).

         Unlike disparate treatment claims where the fundamental issue is the intent of a particular

decision-maker, disparate impact claims do not require evidence of discriminatory

intent. Raytheon, 540 U.S. at 53. Instead, a qualified individual with a disability asserting the

claim must present two kinds of evidence to establish a prima facie case. First, the plaintiff must

point to the specific employment practice that allegedly has a disparate impact. Spivey v. Beverly

Enters., Inc., 196 F.3d 1309, 1314 (11th Cir. 1999). Second, the plaintiff must demonstrate

causation by offering statistical evidence sufficient to show that the challenged practice has

resulted in prohibited discrimination. See id.; Hallmark Developers v. Fulton Cnty., 466 F.3d

1276, 1286 (11th Cir. 2006). “While no single test controls in measuring disparate impact, the

plaintiff must produce some evidence about the population that a policy applies to, some numbers

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or proportional statistics, in order to survive a motion for summary judgment.” Kintz v. UPS, 766

F. Supp. 2d 1245, 1254 (M.D. Ala. 2011) (internal quotation omitted); see Corbin v. Town of Palm

Beach, 2014 U.S. Dist. LEXIS 28093, *5 (S.D. Fla. Mar. 4, 2014) (“Besides pointing to a specific

employment practice that allegedly has a disparate impact, a plaintiff must also demonstrate

causation by offering statistical evidence to show that the challenged practice has resulted in

prohibited discrimination.”).

         With respect to the vision, blood pressure, and blood sugar criteria Plaintiffs challenge,

Plaintiffs cannot carry their prima facie burden when it comes to statistical evidence. The

undisputed medical records related to pre-employment physicals during the relevant period belie

any allegation of a disparate impact disfavoring the disabled and refute any causal connection

Plaintiffs may attempt to draw between the challenged criteria and the failure of the ADA

Aggrieved Parties to successfully complete the pre-employment physical. Moreover, the EEOC

has failed to present evidence that a single one of the ADA Aggrieved Parties is a qualified

individual with a disability who it may rely upon to establish disparate impact.

                       a. The statistics of the pre-employment physicals disprove any disparate
                          impact in violation of the ADA.

         The EEOC claims that over an approximately 4-year period, twenty-five individuals were

impermissibly screened out because of their abnormal vision, blood pressure, or blood sugar

measurements. Compl. at ¶¶ 21–32. Accepting for the sake of argument that each those conditions

is a disability (or a proxy for one)—which is untrue as explained below—any claim of disparate

impact under § 12112(b)(6) nevertheless fails because the statistics of the pre-employment

physical results show that the criteria did not cause any disparate impact on those individuals.

         Based on the entirety of the records provided by Middle Creek for candidates during the

relevant period, out of the 627 candidates who underwent a pre-employment physical at that time,

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only one single candidate, McConnico, received a “Not Qualified” rating for anything other than

refusing to finish the exam or failing the drug screen. Medical Record Summary. Therefore, even

if McConnico’s rating was based on his medical condition—which is not established in the record

and Dollar General disputes—the pre-employment physical exam resulted in less than .16% of all

candidates being screened out because of their medical test measurements.           Id.   This tiny

percentage cannot as a matter of law be enough to establish the pre-employment physical had a

disparate impact on such individuals. See Smith v. Miami-Dade Cty., 621 F. App’x 955, 961–62

(11th Cir. 2015) (“It is not sufficient to show that a few people are affected by a policy. The

disparity of the evidence provided must be substantial enough to raise an inference of causation.”).

         To the extent the EEOC attempts to challenge the notations in Middle Creek’s medical

records that ADA Aggrieved Parties Jackson and Carlos Carey were rated “Not Qualified” after

they refused to finish their pre-employment physicals, even crediting such challenges, three

individuals (McConnico, Jackson, and Carey) would still only constitute .48% of the 627

candidates who took the pre-employment physical and only 2% of the 149 individuals who were

rated “Referred to PMD” or “Not Qualified” under the exact same criteria that the EEOC claims

was unlawful. Medical Record Summary. Again, such small numbers of even potentially

adversely effected candidates are insufficient to show disparate impact. See Smith, 621 F. App’x

at 961–62; see also Schwarz v. City of Treasure Island, 544 F.3d 1201, 1218 (11th Cir.

2008) (“[S]imply showing that a few houses are affected by an ordinance does not come close to

establishing disparate impact.”).

         Further, those who were rated “Referred to PMD” for blood pressure, blood sugar or vision,

were just as successful in ultimately being rated “Qualified” as every other candidate rated

“Referred to PMD.” Medical Record Summary. Over half of the candidates who received a


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“Referred to PMD” rating (118 out of 189, or 62%) subsequently received a “Qualified Rating.”

Id. This fact does not change when the universe is narrowed to only those who received a

“Referred to PMD” for the exact criteria now being challenged. On the contrary, the percentage

stays nearly the same as out of the 143 individuals who were rated “Referred to PMD” because of

blood pressure, blood sugar, or vision, 90 of them (about 63%) were subsequently rated

“Qualified.” Id. Therefore, there is no factual basis to claim that the three challenged criteria

impacted a candidate’s chance of ultimately being rated “Qualified” any differently from all the

other criteria considered.

         Finally, the medical records show that the “Referred to PMD” rating did not screen out any

candidates.16 Among the 53 candidates who were rated “Referred to PMD” because of blood

pressure, blood sugar, or vision and were not ultimately rated “Qualified”—from whom the EEOC

draws the vast majority of its ADA Aggrieved Parties—all but 4 of them failed to return to Middle

Creek after their referral, and the 4 who did return all failed to visit a doctor before doing so. Id.

The common factor shared among the ADA Aggrieved Parties was their failure to follow

instructions and complete the pre-employment physical, not their respective test measurements.

Id. Indeed, among those who rated “Referred to PMD” because of blood pressure, blood sugar, or

vision measurements and either saw a primary care doctor, took medication, or obtained corrective

lenses before returning, every one of them was rated “Qualified”—even those with monocular

vision. See e.g., id. (TR6, DW7, JS6).

         The data of the pre-employment physical results thus show that the exam worked exactly

as intended: it identified measurement levels that could be indicative of potential problems if left

uncorrected or uncontrolled, and once the candidate either corrected or controlled the issue or


16
  Indeed, numerous candidates with actual disabilities—like cancer, heart diseases, and multiple sclerosis—were rated
“Qualified,” and are notably not ADA Aggrieved Parties. See, e.g., Medical Record Summary (AB4, CD2, FF, TL).
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obtained a doctor’s note clearing him to work, he was rated “Qualified.” Id. The EEOC’s ADA

Aggrieved Parties represent—at most—three outliers from the established practice, and a

collection of other candidates who failed to follow instructions and complete the pre-employment

physical process. Id. Accordingly, the actual statistical results of the pre-employment physical

disprove any claim of disparate impact towards individuals with a disability and Plaintiffs’ ADA

claim must fail.

                        b. None of the ADA Aggrieved Parties have a proven disability.

          Notwithstanding the lack of any statistical evidence that the criteria Middle Creek used

during pre-employment physicals screened out any individuals with any condition, none of the

individuals identified by the EEOC as ADA Aggrieved Parties are appropriate parties on whose

behalf to bring such a challenge in the first place. Only a “qualified individual with a disability”

is entitled to bring an ADA claim under §§ 12112(d)(3) and (b)(6), and the undisputed facts

confirm that none of the twenty-five ADA Aggrieved Parties meet that statutory definition.

         An essential element for a prima facie case of disparate impact under § 12112(b)(6) is that

those allegedly being discriminated against are qualified individuals with a disability. Howard v.

Norfolk S. Corp., 2020 U.S. Dist. LEXIS 170436, *40 (N.D. Ala. Sep. 17, 2020) (“Under the ADA,

an employer cannot: ‘discriminate against a qualified individual on the basis of disability by using

qualification standards . . . that screen out or tend to screen out an individual with a disability.’ 42

U.S.C. § 12112(b)(6).” (emphasis added)) (quoting Pollard v. Drummond Co., 2015 U.S. Dist.

LEXIS 120279, *6 (N.D. Ala. Sept. 10, 2015)); see Wetherbee v. S. Co., 754 F.3d 901, 904–05

(11th Cir. 2014) (“We . . . join the Seventh and Tenth Circuits in holding that an individual seeking

relief under § 12112(d)(3)(C) must demonstrate that he is a qualified individual with a disability.”).

          “The ADA defines the term ‘disability’ as (1) a physical or mental impairment that

‘substantially limits one or more’ of an individual’s ‘major life activities,’ (2) a ‘record of such an
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impairment,’ or (3) ‘being regarded as having such an impairment’ as described in subsection

(1).” Lewis v. City of Union City, 934 F.3d 1169, 1179 (11th Cir. 2019) (quoting 42 U.S.C.

§ 12102(1)). “[M]ajor life activities include, but are not limited to, caring for oneself, performing

manual tasks, seeing, hearing, eating, sleeping, walking, lifting, bending, speaking, breathing,

learning, reading, concentrating, thinking, communicating, and working.” Id. § 12102(2)(A).

Accordingly, to survive summary judgment, the EEOC must prove that each of the ADA

Aggrieved Parties are limited in a major life activity and thus qualified individuals with a disability

in order to survive summary judgment. See Lewis, 934 F.3d at 1179 (explaining it is the plaintiff’s

burden to “produce sufficient evidence to permit a jury to find that she: . . . is disabled.”). It has

failed to do so for any of them.

            Out of the twenty-five ADA Aggrieved Parties, nine demonstrated visual acuity of less

than 20/50 in both eyes, fifteen had blood pressure results equal to or greater than 160/100, and

five had exam results indicating elevated blood sugar.17 None of these conditions, however,

qualifies per se as a disability, and Plaintiffs have not presented any evidence that a single one of

them was in fact disabled at the time of their pre-employment physical. To the contrary, all the

evidence produced in discovery on the issue uniformly demonstrates that these individual were not

disabled. Accordingly, the ADA claim asserted on behalf of the ADA Aggrieved Parties fails.

                                      i.    High Blood Sugar

            First, a high blood sugar test result on a given day is not a diagnosis of a chronic condition,

let alone a diagnosis of substantially limiting impairment. See Swotinsky Dep. Tr. 331:14–332:25

(EEOC putative expert explaining that a one-time blood sugar reading could be high for reasons

like recently eating sugar that have nothing to do with any underlying condition); see also Wagner



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     Four individuals fit into two of these categories.
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v. Colvin, 2013 U.S. Dist. LEXIS 182823, *28 (M.D. Fla. Dec. 11, 2013) (finding in the context

of an appeal from denial of SSA disability benefits that occasional low blood sugar shown by a

lab test rather than frequent abnormal levels shown by a blood sugar log did not show the plaintiff

was precluded from gainful employment). The record is devoid of any evidence that any of the

five ADA Aggrieved Parties who were rated “Referred to PMD” because of their blood sugar

levels were even aware that they had abnormal blood sugar levels at the time of the pre-

employment physical, let alone that it had any effect whatsoever on their daily life. Indeed, the

one individual in that group that has been deposed testified that he did not know he had high blood

sugar when he underwent the pre-employment physical, did not consider himself disabled by his

blood sugar level, and was not limited by it in any way. Snead Dep. Tr. 76:19–80:9. Thus, because

Plaintiffs have failed to make any showing that these individuals have a disability, the ADA claim

brought on their behalf should be dismissed.

                             ii.   High Blood Pressure

         Similarly, having a blood pressure reading of 160/100 or higher on a given day and during

a particular examination does not establish chronic hypertension, let alone hypertension that is

substantially limiting enough to constitute a disability. See Jones v. McDonald, 2018 U.S. Dist.

LEXIS 99217, *26–28 (S.D. Fla. June 12, 2018) (finding that merely having high blood pressure

without any evidence it substantially limited a major life activity does not constitute a disability);

Toland v. BellSouth Telecomms., 2017 U.S. Dist. LEXIS 211527, *17 (N.D. Ga. May 1, 2017)

(“Toland’s assertion that he suffers from hypertension does not establish that this physical

impairment substantially limited one or more of his major life activities.”) (internal quotations

omitted); Lloyd v. Housing Auth. of the City of Montgomery, Ala., 857 F. Supp. 2d 1252, 1263–64

(M.D. Ala. 2012) (finding that the plaintiff failed to produce sufficient evidence from which a

reasonable juror could conclude that his high blood pressure substantially affected a major life
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activity); see also Morgan v. Cty. Comm’n of Lawrence Cty., 2016 U.S. Dist. LEXIS 80281, *28

(N.D. Ala. June 20, 2016) (observing that “[t]he Eleventh Circuit . . . has held that exhaustion and

high blood pressure, without more, are not conditions that substantially impair a person’s ability

to perform major life activities, such as working”) (citing Swain v. Hillsborough Cty. Sch. Bd., 146

F.3d 855, 856 n.1 858 (11th Cir. 1998)).

         As with elevated blood sugar, the record is devoid of any evidence that any of the fifteen

ADA Aggrieved Parties who were rated “Referred to PMD” because of their blood pressure levels

were substantially limited in any way by their blood pressure. Again, the only individual deposed

on the issue affirmatively denied considering himself disabled or being limited in any major life

activity by his blood pressure. Fielder Dep. Tr. 105:25–107:16. Likewise, the only other

testimony (in the form of a declaration) from an ADA Aggrieved Party whose blood pressure was

high at his pre-employment physical also indicates that he did not consider the condition to have

any substantial impact on his life or ability to work. See Copeland Decl. at ¶ 12 (“I was really

surprised that the reason I did not get the Dollar General job was because of my blood pressure. I

had previously worked much more physically strenuous jobs such as a tree cuter for Asplundh for

over eight years. I believe I could have done the job easily.”). Because the EEOC has failed to

make any showing that the ADA Aggrieved Parties who were rated “Referred to PMD” because

of their blood pressure readings are substantially limited in any way, the ADA claim brought on

their behalf must fail.

                             iii.   Limited Peripheral Vision and Depth Perception

         Finally, lacking visual acuity of 20/50 or better in each eye—and the resulting limitations

on peripheral vision and depth perception—is also not inherently a disability, and simply having

poor vision in one eye does not make one disabled under the ADA. See Dick v. CRC Ins. Servs.,

2009 U.S. Dist. Lexis 147564, *17–18 (N.D. Ala. Dec. 14, 2009) (plaintiff is not disabled despite
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“not hav[ing] strong depth perception, and [somewhat limited] peripheral vision” due to issues

with her right eye because it “does not prevent her from doing anything in normal daily life”).

Even being “monocular,” broadly defined to mean poor vision in one eye that results in limited

peripheral vision and depth perception, is not enough alone to show an individual is disabled

without also showing the vision substantial impairs a major life activity. See Perry v. Kappos, 489

F. App’x 637, 638 (4th Cir. 2012) (plaintiff with “no vision in his left eye and reduced vision in

his right eye” was not disabled under the RA because he could drive so long as the route was well-

lit); Wilson v. Dollar Gen. Corp., 122 F. Supp. 3d 460, 466–68 (W.D. Va. 2015) (plaintiff’s

monocular vision was not a disability under the ADA inability to blink or completely close her

right eye hindered her depth perception at times, the Court found that her overall quality of life

and work performance were unaffected); Knutson v. Schwan’s Home Serv., Inc., 870 F. Supp. 2d

685 (D. Minn. 2012) (vision of “anywhere from 20/150 to 20/80 vision in his left eye” that could

not be corrected was not a disability because there was no evidence he was substantially limited);

cf. Dyke v. O’Neal Steel, Inc., 327 F.3d 628, 632 (7th Cir. 2003) (holding pre-ADAAA that

plaintiff’s monocular vision, which “prevented him only from driving at night, working on roofs,

holding his head straight when looking left to right, and participating in various recreational

activities,” was not substantially limiting).

         Indeed, particularly in cases where an individual has had monocular vision for a long time

and become accustomed to primarily using one eye, the condition likely does not substantially

impair a major life activity. See Littlefield v. Nev. ex rel. Dep’t of Pub. Safety, 195 F. Supp. 3d

1147, 1153–1154 (D. Nev. July 15, 2016) (“Mr. Littlefield has not met his burden in establishing

a prima facie case that he is disabled within the meaning of the ADA. On the contrary, the evidence

shows that Mr. Littlefield, having been monocular from the age of six months, has been and is able


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to function as an unimpaired individual in the use of his eyesight in daily life.”); see also DeCarlo

Dep. Tr. 252:2–256:15 (EEOC’s putative expert explaining that “most patients with monocular

vision can do everything you and I can do,” especially after they have had the condition “for a long

period of time”).

         The EEOC has again failed to present evidence that a single one of the ADA Aggrieved

Parties with monocular vision was substantially limited in any major life activity. The only ADA

Aggrieved Party who has testified about the impact of his monocular vision had on his life

activities was Vincent Jackson, and he affirmatively denied being disabled.18 Jackson Dep. Tr.

429:18–430:23; 436:2–437:20. Moreover, the EEOC’s own putative expert testified that having

monocular vision does not make one disabled or substantially impair them once they have adjusted

to it. DeCarlo Dep. Tr. 251:7–260:13. Accordingly, because the EEOC has not shown that any

of the ADA Aggrieved Parties with limited depth perception and peripheral vision are substantially

impaired by that condition, the ADA claim on behalf of those individuals must fail.

                                iv.    The EEOC cannot salvage the ADA Aggrieved Parties’ status
                                       as disabled by claiming they were regarded as such.

          A disparate impact theory under the ADA provides redress where a facially neutral policy

nevertheless adversely impacts individuals with actual disabilities and not those who might claim

they were “regarded as” disabled. Nevertheless, to the extent the EEOC attempts to salvage its

claim by asserting that the ADA Aggrieved Parties were “regarded as” disabled, the undisputed

facts foreclose the EEOC actually establishing that any of the ADA Aggrieved Parties were

regarded by Dollar General as disabled.




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   Jackson’s admissions that his monocular vision does not limit him in any way forecloses any argument he may
make that he is a qualified individual with a disability and dictates judgment in Dollar General’s favor on the ADA
claim he brings individually as an intervening plaintiff and the EEOC brings on his behalf.
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         First, Dollar General was never informed of a candidate’s actual condition, so it could not

have regarded any of them as disabled based on that condition. Second, Dollar General did not

dictate cut-off testing levels to Middle Creek that would result in a “Not Qualified” rating. It at

all times relied on Middle Creek to exercise its medical judgment in ascertaining which candidates

were qualified to work as GWWs. And finally, the “Referred to PMD” rating does not indicate

that Middle Creek or Dollar General regarded anyone as impaired; rather it indicated only that

there was a potential issue that warranted further medical evaluation.

         In “regarded as” cases, a plaintiff must show that the employer knew that the employee

had an actual impairment or perceived the employee to have an impairment at the time of the

adverse employment action. EEOC v. STME, LLC, 938 F.3d 1305, 1316 (11th Cir. 2019). Here,

Dollar General could not have regarded any ADA Aggrieved Party in question as disabled Dollar

General had no information, medical or otherwise, to suggest the candidate had a disability; the

only information available to Dollar General was that the candidate had not yet been rated

“Qualified.” DG Dep. Tr. 240:7–244:1; MC Dep. Tr. 31:8–32:19; 52:15–20; 56:20–57:8; 59:10–

17; 229:15–231:16; 264:12–265:10; Young Dep. Tr. 49:2–16; Orefice Dep. Tr. 44:9–47:24;

102:9–20; see Toland, 2017 U.S. Dist. Lexis 211527 at *20 (“Even assuming that Toland’s

assertion that BellSouth received his August 7, 2013, blood pressure readings from Concentra is

correct, this ‘only demonstrate[s] an awareness of [Toland’s] physical condition,’ but it ‘do[es] not

demonstrate that [BellSouth] regarded him as having a physical impairment.” (quoting Cooper v.

CLP Corp., 2015 U.S. Dist. LEXIS 171105, *6 (N.D. Ala. Dec. 23, 2015), aff’d, 679 Fed. Appx.

851 (11th Cir. 2017) (per curiam))).19


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  Similarly, the EEOC cannot rely on any record of impairment to satisfy disability element, because the relevant
record for establishing a substantially limiting impairment is the “record relied on by [the] employer,” and again, all
Dollar General knew was a candidate’s rating. Hall v. Masterlock Co., 1999 U.S. Dist. LEXIS 13119, *23 (M.D. Ala.
Aug. 12, 1999) (quoting 29 C.F.R. pt 1630, App. 1630.2(k)); see Butler v. Pers. Bd., 2008 U.S. Dist. LEXIS 125090,
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         Merely receiving notification that an individual had received a rating of “Referred to PMD”

or “Not Qualified,” does not show knowledge of any actual impairment that would support a

“regarded as” arguments, especially in light of the undisputed facts that numerous individuals with

such ratings were later rated “Qualified.” Medical Records Summary; see Hutcherson v. Int’l

Marine & Indus. Applications, LLC, 2016 U.S. Dist. Lexis 51749 (S.D. Ala. Apr. 11, 2016)

(knowledge that the plaintiff wore glasses was not enough to infer that the company perceived the

plaintiff as disabled or impaired); Cooper, 2015 U.S. Dist. LEXIS 171105 at *17 (not regarded as

disabled where plaintiff “only demonstrate an awareness of [his] physical condition” not “that [the

employer] regarded him as having a physical impairment”); see also Rubink v. Roadway Express,

Inc., 2002 U.S. App. Lexis 9920, *3–4 (8th Cir. May 20, 2002) (plaintiff was not regarded as

disabled because the employer had merely regarded him as not being able to meet DOT

regulations).

         Moreover, the undisputed record shows that the criteria used in the pre-employment

physical were not rigid cutoffs at which an individual would be disqualified. MC Dep. Tr. 43:1–

44:22; 98:23–104:9; 105:18–106:2; 140:18–141:7; 211:15–212:10; see also Medical Record

Summary. Instead, they were merely test levels that indicated the possibility of conditions and

therefore warranted further evaluation through a referral. MC Dep. Tr. 54:6–55:2; 66:4–12; 72:2–

73:10; 101:12–102:16; 123:9–127:1; 163:16–165:10; 182:18–186:14; 201:2–20; Deslattes Dep.

Tr. 41:14–48:4; 86:16–90:11; 104:20–106:24; 149:19–153:19; 160:11–161:23; 290:16–292:24;

315:1–318:4; 406:4–407:3; see also Medical Record Summary. In fact, there is no record of any



*21 (N.D. Ala. May 27, 2008) (“[I]n order to establish an ADA claim based on a record of disability, a plaintiff must
show that at some point in the past, the employer relied upon a record which either classified or misclassified that
individual as having a physical or mental impairment that substantially limits a major life activity.” (internal quotations
omitted)). The only record Dollar General had was the one-page result form. DG Dep. Tr. 240:7–244:1; MC Dep. Tr.
31:8–32:19; 52:15–20; 56:20–57:8; 59:10–17; 229:15–231:16; 264:12–265:10; Young Dep. Tr. 49:2–16; Orefice
Dep. Tr. 44:9–47:24; 102:9–20.
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specific number used for a “Refer to PMD” rating with respect to blood sugar at all. MC Dep. Tr.

103:18–104:9. Therefore, simply receiving a “Refer to PMD” rating, even if based on a specific

test level, does not indicate Dollar General or Middle Creek regarded someone with those levels

as disabled. See Toland, 2017 U.S. Dist. Lexis 211527 at *20; see also Rubink, 2002 U.S. App.

Lexis 9920 at *3–4. As a matter of undisputed fact, it did not.



         Accordingly, because all Dollar General ever knew were the ADA Aggrieved Parties’

ratings and the criteria challenged resulted in a determination of further evaluation needed rather

than a finding of impairment, Dollar General could not have regarded any of the ADA Aggrieved

Parties as disabled.

         B. The ADA claim also fails because the challenged criteria is job-related and
            consistent with business necessity.

         In addition to the previously discussed deficiencies, Plaintiffs’ ADA claim fails because

under § 12112(b)(6), the criteria considered by Middle Creek during pre-employment physicals

were permissible as “job-related for the position in question and . . . consistent with business

necessity.” 42 U.S.C. § 12112(b)(6); Allmond v. Akal Sec. Inc., 558 F.3d 1312, 1316–17 (11th

Cir. 2009) (“To benefit from the affirmative defense, an employer must prove that the pertinent

qualification standard is job-related and consistent with business necessity.”).

         The Eleventh Circuit has explained both prongs of the relevant analysis: “job-relatedness

is used in analyzing the questions or subject matter contained in a test or criteria used by an

employer” as a basis for an employment decision, while “[b]usiness necessity, in context, is larger

in scope and analyzes whether there is a business reason that makes necessary the use by an

employer of a test or criteria” for such a decision. Owusu-Ansah v. Coca-Cola Co., 715 F.3d 1306,

1311 (11th Cir. 2013). “Although [an employer’s] burden is generally quite high, it is significantly
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lowered when, like here, ‘the job clearly requires a high degree of skill and the economic and

human risks involved in hiring an unqualified applicant are great . . . .’” Allmond, 558 F.3d at

1316–17 (quoting Hamer v. City of Atlanta, 872 F.2d 1521, 1535 (11th Cir. 1989)).

         In analyzing whether consideration of particular physical conditions is job-related and

consistent with business necessity, “[t]he test is whether there exists an overriding legitimate

business purpose such that the practice is necessary to the safe and efficient operation of the

business.” Hamer v. City of Atlanta, 872 F.2d 1521, 1533 (11th Cir. 1989) (quoting Nash v.

Consol. City of Jacksonville, 837 F.2d 1534, 1539 (11th Cir. 1988). An analysis of cases from

within the 11th Circuit confirms that an employer can establish that the evaluation of a specific

physical condition is job-related and consistent with business necessity where the condition

increases a health or safety risk for the individual or those around him based on “reasonable

medical judgment that relies on the most current medical knowledge and/or the best available

objective evidence.” See Horton v. Hillshire Brands Co., 2018 U.S. LEXIS 60265, *28 (N.D. Ala.

Apr. 10, 2018) (analyzing issue of job-related and consistent with business necessity in conjunction

with a “direct threat” defense); accord. Chevron U.S.A. v. Echazabal, 536 U.S. 73, 84–87 (2002)

(Congress included harm-to-others as an example of legitimate qualifications that are job-related

and consistent with business necessity).

         For example, in Horton v. Hillshire Brands Co., this Court granted summary judgment to

an employer who suspended a forklift operator after multiple blood pressure checks failed to

provide a reading of 159/99 or below based on the opinion of its medical staff that he could not

safely perform the job given the risk of “potentially serious dangers, including stroke-like

symptoms, heart attacks, and muscle weakness that cannot be predicted with certainty and can

strike even asymptomatic individuals without warning.” 2018 U.S. Dist. Lexis 60265 at *28–33.


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         Similarly, in Lowber v. W.L. Halsey Grocery Co., the Court granted the employer summary

judgment after finding that the employer’s termination of a warehouse sanitation worker whose

vision was legally blind in one eye did not violate the ADA because a medical examiner had

determined that the worker’s poor eyesight meant he was “unable to practice safety awareness”

while at work, constituting a threat to himself and others. 2013 U.S. Dist. Lexis 109440, *4–6,

12–14 (N.D. Ala. Aug. 5, 2013).

         In Nix v. Home Depot USA, Inc., the Court similarly granted the employer summary

judgment after finding that a qualification standard requiring forklift operators to have a sufficient

level of hearing that was developed in consultation with an associate at the Georgia Resource

Center for the Deaf was job-related and consistent with business necessity because otherwise the

employees could not perform their job safely. 2003 U.S. Dist. LEXIS 19178 *18–20 (N.D. Ga.

Oct. 16, 2003).

         The undisputed record shows that Dollar General also satisfies its burden because the

challenged criteria were based on reasonable medical judgment that candidates who did not satisfy

those criteria could present a safety risk to themselves or their coworkers. Again, the three criteria

challenged by the EEOC are: (1) corrected visual acuity of 20/50 or better in each eye, (2) blood

pressure less than 160/100, and (3) non-concerning blood sugar levels. Compl. at ¶¶ 21–32.

Operating or working around forklifts and other motorized industrial equipment is an essential job

duty of the GWWs at the Bessemer DC. DG Dep. Tr. 53:9–69:19; Orefice Dep. Tr. 92:21–100:20;

Young Dep. Tr. 37:2–43:2; Pl’s Ex. 6 at 2; Pl’s Ex. 8 at 2–5. And as a matter of undisputed fact,

consideration of each challenged criteria is job-related and consistent with business necessity

because they are supported by reasonable medical judgments analyzing reasonable safety

requirements for operating and working around industrial motorized equipment like forklifts.


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Deslattes Dep. Tr. 55:25–60:19; 265:9–271:2; 290:16–292:24; 301:7–305:7; 314:2–25; 319:7–

322:22; Haimes Dep. Tr. 70:12–79:24; 119:1–120:18; 185:22–200:25; 213:12–218:11; 242:22–

245:6.

         Indeed, it is undisputed that limited visual acuity—particularly a lack of the depth

perception and peripheral vision provided by two functioning eyes—impacts an individual’s

ability to successfully and safely line up the prongs of a forklift with the slots of a pallet. All of

the medical professionals, including Middle Creek’s nurse practitioner (who holds a doctorate

degree and is a certified DOT examiner) and all of the designated medical experts agree on this

point. Deslattes Dep. Tr. 18:10–27:21; 55:25–56:9; 265:9–273:23; 319:7–322:22; DeCarlo Dep.

Tr. 88:20–94:12; Haimes Dep. Tr. 70:12–79:24; 119:1–120:18; 197:5–200:4. It is indisputable

that the need for depth perception is even more acute in the context of operating a forklift used to

place or retrieve pallets on shelves up to four stories high. Deslattes Dep. Tr. 321:4–321:22;

335:18–336:9; 441:18–25; DeCarlo Dep. Tr. 88:20–94:12; 233:5–234:24; Haimes Dep. Tr. 70:12–

79:24; 119:1–120:18; 197:5–200:4. And it is undisputable that limited visual acuity impacts an

individual’s ability to navigate motorized machinery around the busy Bessemer DC without an

unacceptable risk of hitting a pedestrian, another vehicle, or a shelf. Orefice Dep. Tr. 102:21–

104:25; MC Dep. Tr. 77:19–79:9; 86:11–88:8; Deslattes Dep. Tr. 55:25–56:9; 265:9–271:2;

319:7–322:22; Haimes Dep. Tr. 70:12–79:24; 119:1–120:18; see also DeCarlo Dep. Tr. 88:20–

94:12 (noting legitimate concern for evaluation that someone with one eye would not being able

to process information fast enough or work safely in a dangerous job because of lost depth

perception). Lower visual acuity and loss of peripheral vision also presents a risk to those working

and traveling around motorized equipment while in operation as they may not see an approaching

vehicle. Haimes Dep. Tr. 70:12–79:24; 119:1–120:18; see Lowber, 2013 U.S. Dist. Lexis 109440


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at *12–14 (warehouse sanitation worker’s monocular vision made him a direct threat to himself

and others in the warehouse because he was “unable to practice safety awareness”).

         It is also undisputed that high blood pressure increases the likelihood that a person who is

either operating motorized equipment or working in proximity to such equipment can suddenly

become incapacitated or lose his or her sight or cognitive function, causing an accident. MC Dep.

Tr. 76:13–77:2; Deslattes Dep. Tr. 56:10–58:6; 95:15–97:4; 290:16–292:24; Swotinsky Dep. Tr.

73:25–80:11; Haimes Dep. Tr. 41:19–45:10; 57:14–58:11. It is similarly undisputed that abnormal

blood sugar levels indicate an increased likelihood of blood sugar drops or spikes that also can

result in sudden incapacitation or loss of sight or cognitive function that might similarly result in

an accident. Deslattes Dep. Tr. 58:7–60:19; 301:7–305:7; 314:2–25; Haimes Dep. Tr. 156:25–

159:24; see also Young Dep. Tr. 73:13–74:15 (recalling an incident where a GWW at the

Bessemer DC lost consciousness or vision while working on a MUOP because of blood sugar).

         It is because of the potential medical reactions and subsequent harms that may result to the

candidates with these conditions or those working around them that Middle Creek’s medical

providers—who Dollar General hired for their independent medical judgment—determined that

such criteria were appropriate for assessing when determining whether a candidate was qualified

to perform the GWW position. Deslattes Dep. Tr. 55:25–60:19; 265:9–271:2; 290:16–292:24;

301:7–305:7; 314:2–25; 319:7–322:22. Moreover, it is not just the opinion of Middle Creek’s

medical providers that these were relevant criteria for evaluating someone operating motorized

equipment, but the DOT has expressed the same opinion through its regulations concerning the

exact same criteria to be evaluated for commercial drivers, an analogous position to an industrial

equipment operator.20 MC Dep. Tr. 98:23–101:20; Deslattes Dep. Tr. 413:19–416:12; 457:10–


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  Notably, the DOT standards are more stringent than those used by Middle Creek. See Deslattes Dep. Tr. 345:9–
347:24.
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458:19; Haimes Dep. Tr. 74:2–79:24; see Swotinsky Dep. Tr. 16:18–17:20, 18:2–22:22 (DOT

standards for truck drivers are appropriate and common to consider for evaluating fork lift

operators); Haimes Dep. Tr. 74:17–79:24 (looking at standards for regulated jobs is relevant and

helpful for analogous jobs); see also Vaughn v. FedEx Freight, Inc., 421 F. Supp. 3d 1302, 1306

(N.D. Ala. 2019) (recognizing that the DOT commercial trucker certification regulations “are

based on expert review of ‘the available scientific literature,’ are recommendations to help medical

examiners determine a driver’s medical fitness for duty, and are ‘considered best practice for

commercial motor vehicle operators and carriers’”). The Alabama State government likewise

expressly considers the same criteria when determining whether an individual is qualified to obtain

a standard driver’s license. See Ala. Admin. Code §§ 760-X-20-.03 (“Whenever the department

learns that a person applying for, renewing, or holding an operator’s license has a progressive,

recurring or debilitating medical condition which may affect safe driving, the department may

require the person to provide the department with medical information about the person’s medical

condition.”);      760-X-20-.06(2)(a),    .07(2)(a)    (hypertension);     760-X-20-.08(2)(a)–(b)

(hypoglycemia and hyperglycemia); 760-X-20-.14(2)(a)–(b) (visual acuity and field of vision).

         Accordingly, the criteria used in the pre-employment physical for the Bessemer DC’s

GWWs, which are based upon the reasonable medical opinion of Middle Creek and are the same

criteria used by the DOT and the State of Alabama to determine if someone can safely operate a

vehicle, were job-related and consistent with business necessity. As a result, even if it could

otherwise make a prima facie case, Plaintiffs’ ADA claim should be dismissed. See Adkison v.

Willis, 214 F. Supp. 3d 1190, 1198 (N.D. Ala. 2016) (J. Haikala) (placing an officer on leave

pending a medical evaluation “where a police department reasonably perceives an officer to be

even mildly paranoid, hostile, or oppositional, a fitness for duty examination is job-related and


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consistent with business necessity”) (quoting Watson v. City of Miami Beach, 177 F.3d 932, 935

(11th Cir. 1999)); see also Horton, 2018 U.S. Dist. Lexis 60265 at *28–33; Lowber, 2013 U.S.

Dist. Lexis 109440 at *12–14; Nix, 2003 U.S. Dist. LEXIS 19178 at *20.

         C. The EEOC does not have Article III standing to bring its GINA claim because
            none of the GINA Aggrieved Parties suffered a redressable injury.

         Before the EEOC can ask the Court to consider the merits of its GINA claim brought on

behalf of each of the nearly 500 alleged GINA Aggrieved Parties, it must first establish it has

standing to do so. There are two types of standing: “statutory standing” which requires a party

asserting a claim to be a party authorized by statute to bring that claim, and constitutional or

“Article III” standing, which requires that the claim present a case or controversy the Court can

address. See Elend v. Basham, 471 F.3d 1199, 1206 (11th Cir. 2006). GINA confers statutory

standing on the EEOC to bring claims on behalf of alleged aggrieved parties similar to its statutory

standing to bring Title VII claims on behalf of alleged aggrieved parties. 42 U.S.C. § 2000ff-

6(a)(1). However, while the EEOC has statutory standing to assert GINA claims on behalf of the

GINA Aggrieved Parties, it lacks Article III standing.

         For a party to have [Article III] standing to bring a lawsuit, it must have:

         (1) suffered an injury in fact,

         (2) that is fairly traceable to the challenged conduct of the defendant, and

         (3) that is likely to be redressed by a favorable judicial decision.

Muransky v. Godiva Chocolatier, Inc., 979 F.3d 917, *13–14 (11th Cir. 2020) (quoting Spokeo

Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016)). “In plainer language, the plaintiff needs to show

that the defendant harmed him, and that a court decision can either eliminate the harm or

compensate for it.” Id. at *14.



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         For a private individual, the first standing element, an “injury in fact,” requires more than

a mere technical violation of a statute where, like GINA, the statute does not provide damages for

a technical violation. Id. at *3–4 (“[A] party does not have standing to sue when it pleads only the

bare violation of a statute.”).21 The EEOC, however, does not simply “stand in the shoes” of the

individual claimants on whose behalf it brings claims. EEOC v. Waffle House, Inc., 534 U.S. 279,

297–98 (2002). Instead, its statutory enforcement authority provides it standing to bring a suit to

vindicate the rights of the government, including seeking an injunction to stop even bare technical

violations—like those alleged here. See Stauffer v. Brooks Bros., Inc., 619 F.3d 1321, 1325 (Fed.

Cir. 2010) (“A violation of [a] statute inherently constitutes an injury to the United States.); see

also Vt. Agency of Natural Res. v. United States ex rel. Stevens, 529 U.S. 765, 771 (2000) (stating

that the government suffers an “injury to its sovereignty arising from violation of its laws”).

         However, while the EEOC’s enforcement authority allows it to satisfy the “injury in fact”

requirement with a bare technical violation, the EEOC still must establish some form of relief is

available to exhibit Article III standing. See EEOC v. Celadon Trucking Servs., 2015 U.S. Dist.

LEXIS 84639, *33 (S.D. Ind. June 30, 2015) (“The EEOC has therefore stated a sufficient prima

facie case at the liability stage so long as the availability of some form of relief—whether an

injunction or money damages—renders the violation redressable.”); EEOC v. Tex. Dep’t of Agric.,

2012 U.S. Dist. LEXIS 95204, *16 (W.D. Tex. July 10, 2012) (“In order to get a prospective

injunction pursuant to Section 17, the EEOC must allege that the employer has employees covered

by the law, that it is in violation of the law with respect to these employees, and that without an

injunction the violations are likely to continue.”); EEOC v. Sears, Roebuck & Co., 883 F. Supp.


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   To the extent Jackson seeks to bring a GINA claim as a private party, his claim alleges a bare technical violation of
the statute. He accordingly also lacks standing because he fails to satisfy the injury in fact element in addition to the
issue of redressability. See Spokeo Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016); Muransky v. Godiva Chocolatier,
Inc., 979 F.3d 917, *13–14 (11th Cir. 2020).
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211, 214 (N.D. Ill. 1995) (finding “the EEOC lacks standing” where it has failed to identify an

individual who has actually been harmed); cf. EEOC v. GLC Rest., Inc., 2006 U.S. Dist. LEXIS

78270, *8 (D. Ariz. Oct. 26, 2006) (“The EEOC is correct that it has broader standing than a private

class representative, but its standing is not unlimited.”).

         The EEOC has failed to establish any form of relief is available to give it standing. As

explained below, Plaintiffs’ GINA claim is based upon an alleged impermissible inquiry under 42

U.S.C. § 2000ff-1(b), but the only damages it has sought are emotional and punitive damages,

which GINA does not permit for such claims. Accordingly, the EEOC does not have a redressable

injury, and thus, does not have standing.

                   1. Plaintiffs’ GINA claim is one for impermissible inquiry.

         Plaintiffs’ GINA claim alleges violations of GINA’s prohibitions on requesting family

medical history found at 42 U.S.C. § 2000ff-1(b). Compl. at ¶¶ 34–45. The only remedies sought

by the EEOC to redress these alleged improper requests under 42 U.S.C. § 2000ff-1(b) are

compensatory and punitive damages. See Compl. at Prayer for Relief ¶¶ A–H. Importantly,

however, the EEOC does not also allege violations of GINA’s separate anti-discrimination

provision found at 42 U.S.C. § 2000ff-1(a). See Compl. at ¶¶ 34–45; see also DG Dep. Tr. 240:15–

243:9 (EEOC counsel stating that any question about whether Dollar General considered genetic

information “is one of those that could have been eliminated;” “I’m not saying we’re making that

claim”). Accordingly, the EEOC only has standing to bring its GINA claim if the damages it is

seeking to redress for the alleged improper requests under 42 U.S.C. § 2000ff-1(b) are permitted

for such a claim under the statute. They are not.

                   2. Emotional and punitive damages are unavailable for an impermissible inquiry
                      claim under the GINA.



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         “In deciding what remedies, if any, are available under any statute, we begin our analysis,

as we must, with the language of the statute itself.” Sheely v. MRI Radiology Network, P.A., 505

F.3d 1173, 1190 (11th Cir. 2007). GINA states that “[t]he powers, remedies, and procedures

provided in [42 U.S.C. § 1981a of Title VII] . . . shall be [the] powers, remedies, and procedures

[GINA] provides.” 42 USCS § 2000ff-6(a)(3); see also Rusthoven v. Victor Sch. Dist., #7, 2014

U.S. Dist. LEXIS 162025, *5–6 (D. Mont. Sep. 30, 2014) (“GINA provides an employee with the

same civil remedies available under Title VII of the Civil Rights Act of 1964.”). Therefore, the

determination of what remedies are available under GINA depends on determining what remedies

are available under Title VII.

         Critically, 42 U.S.C. § 1981a distinguishes between the remedies available for “intentional

discrimination” and the remedies available for other unlawful employment practices that do not

fall within the definition of “intentional discrimination”:

         In an action brought by a complaining party . . . against a respondent who engaged
         in unlawful intentional discrimination (not an employment practice that is unlawful
         because of its disparate impact) . . . and provided that the complaining party cannot
         recover under section 1981 of this title, the complaining party may recover
         compensatory and punitive damages as allowed in subsection (b), in addition to any
         relief authorized by section 706(g) of the Civil Rights Act of 1964, from the
         respondent.

42 U.S.C. § 1981a(a)(1). In the context of Title VII—from which GINA borrows its remedies—

a violation like disparate impact that does not amount to intentional discrimination does not

provide for compensatory or punitive damages. See Rivers v. Walt Disney World Co., 2008 U.S.

Dist. LEXIS 9789, *1 (M.D. Fla. Feb. 11, 2008) (“ADA plaintiffs, like Title VII plaintiffs, have

no right to compensatory or punitive damages, or a jury trial, in a disparate impact case.”); EEOC

v. Outback Steak House of Fla., Inc., 576 F. Supp. 2d 1202, 1205 (D. Colo. 2008) (“[The EEOC]

ha[s] already agreed that compensatory and punitive damages cannot be recovered for the disparate


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impact claim” (internal quotations omitted)). Instead, the only relief available to a Title VII

plaintiff proving a Title VII violation that did not involve intentional discrimination is the equitable

and injunctive relief provided under 42 U.S.C. § 2000e5(g). See Terry v. City of San Diego, 2012

U.S. Dist. LEXIS 7661, *12 (S.D. Cal. Jan. 24, 2012) (“[B]ecause Plaintiff prevails on her Title

VII disparate impact claim, she is entitled to the remedies available under 42 U.S.C. § 2000e-

5(g)”).

           Similarly to Title VII, the GINA statute also has two distinct practices that it holds to be

unlawful, with one section prohibiting intentional discrimination (42 U.S.C. § 2000ff-1(a)) and a

separate section prohibiting an employer’s acquisition of genetic information (42 U.S.C. § 2000ff-

1(b)).22 Accordingly, in incorporating the Title VII remedies in 42 U.S.C. § 1981a, which provides

different remedies for different types of claims, GINA likewise incorporates Title VII’s distinction

between the different types of damages available for the different types of claims: compensatory

and punitive damages for proven claims of intentional discrimination (in addition to equitable or

injunctive relief), but only equitable or injunctive relief for unlawful employment practices other

than intentional discrimination. Accord. Sheely, 505 F.3d at 1190–96 (noting in the context of the

Rehabilitation Act’s adoption of the remedies available under Title VI the distinction between


22
     (a)   Discrimination based on genetic information

        It shall be an unlawful employment practice for an employer—
        (1) to fail or refuse to hire, or to discharge, any employee, or otherwise to discriminate against any employee
        with respect to the compensation, terms, conditions, or privileges of employment of the employee, because
        of genetic information with respect to the employee; or
        (2) to limit, segregate, or classify the employees of the employer in any way that would deprive or tend to
        deprive any employee of employment opportunities or otherwise adversely affect the status of the employee
        as an employee, because of genetic information with respect to the employee.
42 U.S.C. § 2000ff-1(a).

       (b) Acquisition of genetic information

        It shall be an unlawful employment practice for an employer to request, require, or purchase genetic
        information with respect to an employee or a family member of the employee….
42 U.S.C. § 2000ff-1(b).
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intentional and unintentional violations in determining whether compensatory and punitive

damages are provided).

         This distinction not only follows from the structure and language of the statutes, but it

makes logical sense considering that intentional discrimination based on genetic information is

likely to result in concrete (and other economic) harm whereas merely being asked genetic

information on its own does not.            Compare 42 U.S.C. §§ 2000ff-1(a) and (b) (treating

discrimination and acquisition of genetic information as separate employment actions) with 42

U.S.C. § 12112(d) (pursuant to which an impermissible medical examination or inquiry under the

ADA is defined as a type of disability discrimination). Therefore, applying both reason and the

plain language of GINA to its incorporation of the remedies under 42 U.S.C. § 1981a(a)(1) yields

the result that while compensatory and punitive damages are available for intentional

discrimination violations of 42 U.S.C. §§ 2000ff-1(a), they are not available for impermissible

acquisition violations of 42 U.S.C. §§ 2000ff-1(b). Compensatory and punitive damages are thus

unavailable to the EEOC on its 42 U.S.C. §§ 2000ff-1(b) claim.

                   3. A prospective injunction to obey the law is not an available form of relief.

         In its Complaint, the EEOC only prays for injunctive relief for its ADA claim and not its

GINA claim. Compl. at Prayer for Relief ¶¶ A–B (“Grant a permanent injunction enjoining

Defendant from . . . any [] employment practice which discriminates on the basis of disability.”

“Order Defendant to institute and carry out polices, practices, and program which provide equal

employment opportunities for qualified individuals with disabilities.”) (emphasis added).

Consequently, it cannot base its GINA standing on any request for injunctive relief. Even if it had

sought such relief, however, that too is unavailable.

         An enforcement agency’s request for a prospective injunction satisfies the redressability

requirement for Article III standing only if “the agency shows a real threat of future harm,”
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otherwise “there is in fact no lawful purpose to be served by a preventive injunction.” SEC v.

Gentile, 939 F.3d 549, 556 (3d Cir. 2019); see Tex. Dep’t of Agric., 2012 U.S. Dist. LEXIS 95204

at *16 (“In order to get a prospective injunction pursuant to Section 17, the EEOC must allege . . .

that without an injunction the violations are likely to continue.”). The EEOC has not, and cannot,

make such a showing.

         It is undisputed that the alleged GINA violations ceased more six years ago and three years

prior to this lawsuit even being filed. See Compl. at ¶ 41; Pl’s Ex. 18. Moreover, the corrective

instructions issued and reissued by Dollar General to prevent the allegedly offending questions

from ever being asked again and the passage of time without such questions recurring shows that

there is no real threat of any future violation of GINA. See Capability Grp., Inc. v. Am. Express

Travel Related Servs. Co., 706 F. Supp. 2d 146, 160 (D. Mass. 2010) (“The record does not reveal

to me another basis on which to enjoin AMEX from the use or dissemination of course materials

it has already stopped using. An injunction, five years later, appears to be moot because there is

no meaningful prospective relief that can be identified.”); FTC v. U.S. Oil & Gas Corp., 1987 U.S.

Dist. LEXIS 16137, *52 (S.D. Fla. July 10, 1987) (finding a cognizable danger of recurrence of

ceased conduct sufficient for an injunction only because of the “egregious nature” of past

violations, the fact that the conduct continued until after the Commission filed its complaint, and

the ease with which the violations could be transferred to new areas); see also FTC v. Evans Prods.

Co., 775 F.2d 1084 (9th Cir. 1985) (motion for preliminary injunction denied; defendant’s

violations had completely ceased over two years before suit filed).

         Indeed, Plaintiffs’ decision not to even seek an injunction further indicates that when it

filed the lawsuit, it did not believe there was any likelihood the conduct would be renewed. See

Compl. Prayer for Relief. Moreover, such a prospective injunction to obey the law without any


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showing of likely future violation is by its very nature inherently suspect as to its validity and

constitutionality. See SEC v. Goble, 682 F.3d 934, 949 (11th Cir. 2012) (“We have repeatedly

questioned the enforceability of obey-the-law injunctions not only in the context of securities cases

but other cases as well.”) (collecting cases). Accordingly, even if the EEOC had requested a

generalized injunction or some other declaratory relief, such a request could not confer standing

upon the EEOC. See Thomas v. Buckner, 2011 U.S. Dist. LEXIS 103260, *1213 (M.D. Ala. Sep.

13, 2011) (“To the extent that Plaintiffs seek generalized injunctive or declaratory relief based on

hypothetical future violations, Plaintiffs lack standing.”).

         In sum, none of the relief the EEOC seeks or could seek on behalf of the GINA Aggrieved

Parties is available. The EEOC accordingly cannot establish that its GINA claim is redressable,

and the lack of redressability deprives it of Article III standing for the claim. See Muransky, 979

F.3d at *3, 13–14.

              D. Plaintiffs’ GINA claim fails because the challenged actions were mere
                 inadvertent requests.

         As previously explained, Plaintiffs’ GINA claim is not premised upon any adverse

employment action Dollar General took against the GINA Aggrieved Parties “because of [their]

genetic information.” 42 U.S.C. § 2000ff-1(a)(1), (2); see DG Dep. Tr. 240:7–243:9. Instead, the

claims arise from § 2000ff-1(b), which makes it an “unlawful employment practice for an

employer to request, require, or purchase genetic information with respect to an employee or a

family member of the employee.” Specifically, the EEOC contends there were two unlawful

requests for genetic information: (1) a yes or no question on the Physical Encounter form asking

“Have your grandparents, parents, or children had significant medical problems?” and (2) follow

up questioning conducted by a Middle Creek medical assistant concerning family medical history.

Compl. at ¶¶ 36–37. Requests for family medical history do not violate § 2000ff-1(b) “where an
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employer inadvertently requests or requires family medical history of the employee or family

member of the employee.” 42 U.S.C. § 2000ff-1(b)(1) (emphasis added). The requests for family

medical history challenged here were inadvertent, and therefore not a violation of GINA.

         The statute does not define what constitutes an “inadvertent” request. The regulations

provide that the acquisition of genetic information as part of a lawful request for medical

information “will not generally be considered inadvertent” unless the covered entity directs the

individual or the health care provider not to provide genetic information, but such explicit direction

is not required. 29 C.F.R. § 1635.8(b)(1)(i)(A). Instead, the regulations provide that even where

an employer failed to provide this direction, that failure “will not prevent it from establishing that

a particular receipt of genetic information was inadvertent” “if its request for medical information

was not ‘likely to result in a covered entity obtaining genetic information.’”             29 C.F.R.

§ 1635.8(b)(1)(i)(C).

         Here, it is undisputed that any information regarding family medical history received by

Middle Creek was never intended to be considered nor shared with Dollar General. It was the

inadvertent result of an extraneous question on an initial version of a form and the ubiquity of such

questions in medical exams. MC Dep. Tr. 141:9–145:7; 159:7–161:11; 242:13–244:7; 266:21–

270:8; 270:14–271:14; Deslattes Dep. Tr. 48:5–52:12; see also Swontinsky Dep. Tr. 171:9–175:20

(EEOC’s putative expert noting his forms for post-offer pre-employment tests might include

family medical history). Any request for genetic information contained in the yes or no question

on the Physical Encounter form or any oral questioning by Middle Creek occurred during the pre-

employment physical was unintended as Dollar General did not seek or ever receive such

information. DG Dep. Tr. 243:3–244:1; MC Dep. Tr. 270:14–21. Indeed, as Middle Creek and

its employees repeatedly testified, family medical questions were asked not because such


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information had any effect on the rating an individual received but because they were standard

practice for their urgent care patients and therefore simply part of their normal routine. Deslattes

Dep. Tr. 80:17–83:2; 147:12–148:24; MC Dep. Tr. 141:9–145:7; 242:13–244:7; 266:21–270:8;

Busbee Dep. Tr. 128:13–130:4.

         Moreover, Middle Creek’s records show that in a significant number of cases, where the

candidate checked “no” and the medical record notes “Family History Unremarkable,” no family

medical information was ever obtained at all. Medical Record Summary; see Busbee Dep. Tr.

55:21–56:22; 59:23–60:6; 220:18–22:21; 240:14–242:2. It is also undisputed that not only did

Dollar General not receive any family medical history information, it would not have ever even

learned that the information was requested because it repeatedly and specifically directed Middle

Creek not to provide it with any medical records, including any family medical history information

incidentally obtained during the pre-employment physical. See Pl’s Ex. 6 at 4 (“Dollar General

will not receive any medical documents from the medical facility.”); Pl’s Ex. 14 at 3–4 (“Fax

ONLY FINAL PAGE (qualified or not) to Nick at the number on the top of the sheet”); MC Dep.

Tr. 264:12–265:10 (specifically instructed not to provide any information but the checked box

answer on the result form). Accordingly, the two challenged actions amounted to inadvertent—

and immaterial—requests that are not the sort of actions GINA was created to curtail, nor do they

support a cause of action under the statute.

                                      IV.      CONCLUSION

         For the foregoing reasons, Dollar General respectfully requests that the Court grant the

Motion and enter judgment in favor its as to each claim in this case.

                                               Respectfully submitted,

                                               /s/ Stanley E. Graham
                                               Stanley E. Graham, Esq.
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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 21, 2020, the foregoing Memorandum of Law in
Support of Motion for Summary Judgment was served via the court’s electronic filing system on
the following counsel of record:

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                        Exhibit D
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                                                                                                                          U.S. DISTRICT COURT
                                                                                                                              N.D. OF ALABAMA


                                                IN THE UNITED STATES DISTRICT COURT
                                              FOR THE NORTHERN DISTRICT OF ALABAMA
                                                         SOUTHERN DIVISION


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                         COMMISSION,                                            )
                                                                                )
                                                 Plaintiff,                     )       CIVIL ACTION NO.
                                                                                )
                                         v.                                     )
                                                                                )       COMPLAINT
                         DOLGENCORP, LLC,                                       )       JURY TRIAL REOUESTED
                                                                                )
Date Filed: 01/13/2023




                                                 Defendant.                     )


                                                              NATURE OF THE ACTION

                                This is an action under Title I of the Americans with Disabilities Act of 1990, as

                         amended by the ADA Amendments Act of2008, 42 U.S.C. § 12101 et seq., ("ADA"), Title II of

                         the Genetic Information Non-Discrimination Act of 2008, 42 U.S.C. 2000ff et seq., ("GINA")
Document: 1-2




                         and Title I ofthe Civil Rights Act of 1991, 42 U.S.C. §198la, to correct unlawful employment

                         practices on the basis of disability and genetic information, and to provide appropriate relief to

                         Vincent Jackson ("Jackson") and two classes of aggrieved individuals adversely affected by such
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                         practices.

                                As alleged with greater particularity in Paragraphs 21-23, 25, 27-31, and 33-42 below,

                         Dolgencorp, LLC ("Defendant" or "Dollar General") discriminated against Jackson, a qualified

                         individual with a disability, and a class of qualified individuals with disabilities, when it failed to

                         hire Jackson and the class (ADA class) for general warehouse positions because of disability,

                         perceived disability and/or record of disability. Defendant further discriminated against Jackson

                         and the class when it used post-offer medical examinations to screen out individuals with

                         disabilities by means of exclusionary criteria that were neither job-related nor consistent with



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                         business necessity. In addition, Defendant unlawfully sought genetic infonnation about Jackson

                         and a class of applicants {GINA class) for employment by requiring them to provide, as part of

                         the post-offer medica! examination, family medical history.
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                                                        JURISDICTION ANO VENUE

                                l.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

                         1343 and 1345. This action is authorized and instituted pursuant to Section 107{a) of the

                         Americans with Disabilities Act of 1990, 42 U.S.C. § 12117{a), and Section 207(a) of the
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                         Genetic Infonnation Non-Discrimination Act of 2008, 42 U.S.C. § 2000ff-6(a), both of which

                         incorporate by reference Section 706(t)(l) and (3) ofTitle VII of the Civil Rights Act of 1964

                         (..Title VII"), 42 U.S.C.§ 2000e-5(t){l) and (3), and pursuant to Section 102 of the Civil Rights

                         Act of 1991, 42 U.S.C. § 1981a.

                                2.     The employment practices alleged to be unlawful were and are now being
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                         committed within the jurisdiction of the United States District Court for the Northem District of

                         Alabama, Southem Division.

                                                                       PARTIES

                                3.      Plaintiff, the Equal Employment Opportunity Commission (the '•Commission"), is
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                         the agency of the United States of America charged with the administration, interpretation and

                         enforcement ofTitle I ofthe ADA and Title II of the GINA, and is expressly authorized to bring

                         this action by Section 107(a) of the ADA, 42 U.S.C. § 12 l l 7(a), and by Section 207(a) of the

                         GINA, 42 U.S.C. § 2000ff-6(a), both of which incorporate by reference Sections 706(t){l) and

                         (3) ofTitle VII, 42 U.S.C. § 2000e-5(t)(l).

                                4.      At all relevant times, Defendant has continuously been doing business in the State

                         of Alabama and the City of Bessemer, and has continuously had at least 15 employees.




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                                   5.    At ali relevant times, Defendant has continuously been an employer engaged in an

                         industry affecting commerce under Sections 101(5) and 101(7) of the ADA, 42 U.S.C.§§

                         12111(5), (7), and under Section 201(2)(B)(i) of the GlNA, 42 U.S.C.§ 2000ff(2)(B)(i), which
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                         incorporate by reference Section 701(b), (g), and (h) ofTitle VII, 42 U.S.C. §§ 2000e(b), (g), and

                         (h).

                                   6.    At ali relevant times, Defendant Employer has been a covered entity under

                         Section 101(2) ofthe ADA, 42 U.S.C. § 12111(2).
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                                                       ADMINISTRATIVE PROCEDURES

                                   7.    More than thirty days prior to the institution of this lawsuit, Jackson filed a charge

                         with the Commission alleging violations ofthe ADA and GlNA by Defendant.

                                   8.    On May 9, 2017, the Commission issued to Defendant a Letter of Determination

                         finding reasonable cause to believe that the ADA and GINA were violated as to Jackson anda
Document: 1-2




                         class of individuals and inviting Defendant to join with the Commission in informal methods of

                         conciliation to endeavor to eliminate the unlawful employment practices and provide appropriate

                         relief.

                                   9.    On August 10, 2017, the Commission issued to Defendant a Notice of Failure of
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                         Conciliation advising Defendant that the Commission was unable to secure from Defendant a

                         conciliation agreement acceptable to the Commission.

                                   1O.   Ali conditions precedent to the institution of this lawsuit have been fulfilled.

                                                             STATEMENT OF FACTS

                                   11.   Since at least December of 2013, Defendant has hired general warehouse workers

                         for its Bessemer, Alabama facility using a two-step process. Defendant first reviewed

                         applications, interviewed applicants, and extended conditional offers to those applicants it




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                         wished to hire. Next. Defendant scheduled those conditional offerees to undergo an extensive,

                         and often, highly invasive, post-offer medical examination. Defendant hired only those

                         applicants who received a rating of"Qualified" as a result ofthe medical exam.
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                                 12.    In 2011, Defendant contracted with Middle Creek Medical Center ("Middle

                         Creek"), a third-party health services provider. to conduct the post-offer medica] examinations.

                                 13.    At ali times relevant to this action, Middle Creek acted as an agent of Defendant

                         in the conduct ofthe post-offer medica] examinations.
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                                 14.    Defendant set the formal and content of the exams. Specifically, Defendant

                         provided Middle Creek with instructions on conducting the exams and Defendant provided

                         Middle Creek with specific forms to use in collecting and recording the results of the

                         examinations. Toe forms provided to Middle Creek contained Defendant's business logo. The

                         forms and instructions were sent to Middle Creek by Defendant when it retained Middle Creek.
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                                 15.     Defendant's post-offer examination included the taking of vital signs, the

                         completion of a drug test, a vision test, a medical and health history questionnaire, a review of

                         current medications, and a physical examination. including, in sorne instances, genital

                         examination ofjob applicants.
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                                16.     Toe examinations were conducted by Middle Creek medica] assistants and

                         certified registered nurse practitioners. During the examinations, Middle Creek medica!

                         personnel recorded their observations in exam notes.

                                17.     At the conclusion of the examination, Middle Creek rated the conditional hire as

                         "Qualified," "Not Qualified," or "Referred to PMD" (referred to primary medica] doctor) based

                         on the results of the examination.




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                                 18.    Middle Creek rated a conditional hire as "Referred to PMD" when it did not have

                         enough information to fail or clear the applicant on the spot.

                                 19.    Upon completion of the examination, Middle Creek faxed Defendant a one page
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                         result sheet indicating, with respect to the candidate, only whether that candidate had rated

                         Qualified, Not Qualified or Referred to PMO.

                                20.     Defendant did not hire a candidate unless he or she passed the post-offer medical

                         examination with a rating of "Qualified."
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                                                           STATEMENT OF CLAIMS

                                                                   COUNT 1
                                                    (Discrimination on the Basis of Disability)

                                21.     Plaintiffrealleges and incorporales by reference Paragraphs 1-20 herein.

                                22.     Since at least December of 2013, Defendant has engaged in unlawful employment
Document: 1-2




                         practices involving its Bessemer, Alabama facility in violation ofTitle I of the ADA, 42 U.S.C.

                         §§ 12112(a) and 12112(b)(6). These unlawful employment practices include discriminating

                         against Vincent Jackson on the basis of disability.

                                         a.     Vincent J ackson is a qualified individual with a disability under the ADA,
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                         42 U.S.C. §§ 12102 and 12111(8). Jackson has an impairment, monocular vision, that

                         substantially limits a major life activity. In the altemative, Defendant regarded Jackson as having

                         a disability by subjecting him to an adverse employment action when it failed to hire him for a

                         general warehouse position because of an actual or perceived impairment, monocular vision.

                                         h.     On or about June 7, 2014, Jackson applied for a general warehouse

                         position with Defendant in Bessemer, Alabama.




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                                             c.   After an interview by the Warehouse Supervisor, Defendant extended

                         Jackson an offer of employment, contingent upon successful completion of a post-offer medica)

                         examination.
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                                             d.   On June 17, 2014, Jackson underwent a post-offer medica) examination at

                         Middle Creek.

                                             e.   At the beginning of the examination, Jackson informed Middle Creek that

                         he could not see out of his right eye and that this condition was not correctable. Jackson
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                         informed Middle Creek that his monocular vision had not prevented him from working similar

                         jobs in the past.

                                             f.   Middle Creek responded that Dollar General's standard required

                         candidates to have 20/50 vision or better in both eyes in order to pass the eye exam. Middle

                         Creek informed Jackson that his monocular vision disqualified him from the job.
Document: 1-2




                                             g.   Jackson asked to continue the exam.

                                             h.   A certified registered nurse practitioner from Middle Creek then entered

                         the exam room and began to conduct the physical portion of the exam. When that nurse

                         practitioner leamed of Jackson's monocular vision, she suggested he see an eye specialist to
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                         confirm his eye condition was not correctable.

                                             i.   Jackson replied that he was certain his condition was not correctable.

                                             J.   At the conclusion of the examination, Middle Creek rated Jackson "Not

                         Qualified," noting that he had "failed the vision exam" and "refused the physical examination."

                                             k.   Middle Creek faxed this result to Defendant.

                                             l.   Defendant did not hire Jackson.




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                                         m.     Exam notes for other patients with vision difficulties indicate that

                         Defendant instructed Middle Creek that it was not necessary to finish the medica} examination if

                         the patient failed the vision test and that such candidates were "Not Qualified."

                                23.     Defendant's refusal to hire Jackson and/or rescission of his offer on the basis of
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                         his monocular vision constituted discrimination on the basis of disability.

                                24.     The effect of the practices detailed in Paragraphs 21-23 has been to deprive

                         Jackson of equal employment opportunities and otherwise adversely affect his status as an
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                         applicant for employment because of disability.

                                25.     Since at least December 2013, Defendant has engaged in unlawful employment

                         practices involving its Bessemer, Alabama facility in violation ofTitle I of the ADA, 42 U.S.C.

                         §§ 12112(a) and 12112(b)(6). These unlawful employment practices include discriminating

                         against Jackson and a class of job applicants on the basis of disability.
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                                        a.      On information and belief, Defendant, in the administration of its post

                         offer medica} examination, uses qualification standards or selection criteria that screen out or

                         tend to screen out an individual with a disability ora class of individuals with disabilities.

                                        b.      Defendant informed Middle Creek that candidates whose (corrected)
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                         vision did not measure 20/50 or better in both eyes were "Not Qualified."

                                        c.      Defendant informed Middle Creek that candidates whose blood pressure

                         measured 160/100 or higher were "Not Qualified."

                                        d.      On information and belief, Defendant informed Middle Creek that

                         individuals with blood sugar over a certain threshold and assorted other impairments were "Not

                         Qualified."




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                                        e.      Binocular vision is not an essential function of the general warehouse

                         worker position.

                                        f.      Blood pressure that measures less than 160/ l 00 is not an essential function
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                         of the general warehouse worker position.

                                        g.      None of the other criteria or standards which Defendant deemed

                         disqualifying constitute essential functions of the general warehouse worker position.

                                        h.      On their face, Defendant's qualification standards and selection criteria
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                         operate as blanket policies that go beyond the essential job functions, that are not mandated by

                         law, and that screen out qualified individuals with disabilities on the basis of disability.

                                        i.      Because Defendant would not hire anyone who did not rate ..Qualified"

                         and because those with certain impainnents, including blood pressure over 160/ l 00 and

                         monocular vision, could not rate "Qualified" under Defendant's qualification standards, these
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                         individuals were not eligible for hire.

                                        J.      Defendant's qualification standards or selection criteria were not job

                         related or consistent with business necessity.

                                        k.      Defendant through the operation of these qualification standards and
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                         selection criteria discriminated against Jackson and a class of qualified individuals with

                         disabilities who were screened out on the basis of disability.

                                26.     The effect of the practices detailed in Paragraph 25 has been to deprive a class of

                         qualified individuals with disabilities of equal employment opportunities and otherwise

                         adversely affect their status as applicants for employment because of disability.

                                                                   COUNT2
                                                         (Unlawful Medical Examination)




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                                27.      Plaintiff realleges and incorporates by reference Paragraphs 1-26 herein.

                                28.      Since at least December 2013, Defendant has engaged in unlawful employment

                         practices involving its Bessemer, Alabama facility in violation of Title I of the ADA, 42 U .S.C.
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                         12112(d)(3). These unlawful employment practices include discriminating against Jackson anda

                         class of job applicants on the basis of disability by subjecting them to unlawful post-offer

                         medica} examinations.

                                29.      Since at least December 2013 Defendant has used the results of its post-offer
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                         medica] examinations to screen out qualified individuals with disabilities using criteria that are

                         neither job-related nor consistent with business necessity.

                                30.      Defendant has further used the results of its post-offer medical examinations to

                         require individuals with certain impairments to obtain, sometimes costly, additional medica]

                         examinations at their own expense, after the examinations revealed these impairments or a record
Document: 1-2




                         of such impairments, in a manner that is not job related nor consistent with business necessity.

                                31.      Defendant thereby used the results of its post-offer medica! examinations in a

                         discrirninatory manner.

                                32.      The effect of the practices detailed in Paragraphs 27-31 above has been to deprive
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                         a class of qualified individuals with disabilities of equal ernployrnent opportunities and otherwise

                         affect their status as applicants because of disabilities.

                                                                      COUNT3
                                                               (Violation of the GINA)


                                 33.     Plaintiff realleges and incorporates by reference Paragraphs 1-32 herein.

                                 34.     Since at least 2011, Defendant has engaged in unlawful employrnent practices at

                         its Bessemer, Alabama facility in violation ofTitle II ofGINA, 42 U.S.C. 2000ff-l(b){l).




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                                  35.     Since at least 2011 Defendant has requested and required applicants for

                         employment to undergo a post-offer medica] examination conducted for Defendant by Middle

                         Creek.
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                                    36.   From 2011 through August 21, 2014 Defendant requested and required

                         conditional hires to complete a health and medica] questionnaire for Middle Creek, which

                         included a section requesting applicants indicate whether their grandparents, parents or children

                         have suffered from significant medica] problems.
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                                    37.   From 2011 through August 21, 2014, Defendanes agent, Middle Creek,

                         conducted additional detailed inquiries into the family medical history of applicants during the in

                         person medica] examinations, which included soliciting information regarding cancer history,

                         heart history, and blood pressure history.

                                    38.   On June 17, 2014, Jackson went to Middle Creek and was requested and required
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                         to complete Defendant's health and medical questionnaire form which requested family medical

                         history.

                                    39.   On June 17, 2014, Jackson went to Middle Creek and was subjected to additional

                         detailed questioning regarding his family medica} history during the in-person portian of the
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                         post-offer examination.

                                  40.     Defendant's request for genetic information was not inadvertent.

                                  41.     On or about August 22, 2014, Defendant provided Middle Creek with a new

                         health and medica] questionnaire that removed the question soliciting family medica] history.

                         Defendant instructed Middle Creek not to request family medical history.




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                                42.     From 2011 through August 21, 2014, Defendant required every conditional hire

                         who underwent a post-offer medical examination at Middle Creek to disclose family medical

                         history through the health and medica) questionnaire and through in person inquiries.
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                                43.     The effect of the practices complained of in Paragraphs 33-42 above has been to

                         deprive Jackson and a class of applicants of equal employment opportunities and otherwise

                         adversely affect their status as applicants because of their génetic information.

                                44.     The unlawful employment practices complained of in Paragraphs 21-23, 25, 27-
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                         31, 33-42 above were and are intentional.

                                45.     The unlawful employment practices complained of in Paragraphs 21-23, 25, 27-

                         31, 33-42 above were and are done with matice or with reckless indifference to the federally

                         protected rights of Jackson, the ADA class and the GINA class.

                                                             PRAYER FOR RELIEF
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                                Wherefore, the Commission respectfully requests that this Court:

                               A.       Grant a permanent injunction enjoining Defendant, its officers, agents, servants,

                         employees, attomeys, and ali persons in active concert or participation with it, from failing to

                         provide equal employment opportunities to applicants for employment and employees with
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                         disabilities and to accommodate applicants' and employees' disabilities, and any other

                         employment practice which discriminates on the basis of disability.

                               B.       Order Defendant to institute and carry out policies, practices, and programs which

                         provide equal employment opportunities for qualified individuals with disabilities and which

                         eradicate the effects of its past and present unlawful employment practices.

                                C.      Order Defendant to make whole Jackson and the ADA class, by providing

                         appropriate back pay and front pay with prejudgment interest, in amounts to be determined at




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                         tria), and other affirmative relief necessary to eradicate the effects of its unlawful employment

                         practices.

                                 D.      Order Defendant to make whole Jackson, the ADA class and the GINA class by
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                         providing compensation for past and future pecuniary losses resulting from the unlawful

                         employment practices described in Paragraphs 21-23, 25, 27-31, 33-42 above, including past and

                         future out-of-pocket losses, in amounts to be detennined at trial.

                                 E.      Order Defendant to make whole Jackson, the ADA class and the GINA class by
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                         providing compensation for past and future nonpecuniary losses resulting from the unlawful

                         practices complained of in Paragraphs 21-23, 25, 27-31, 33-42 above, including emotional pain,

                         suffering, humiliation, embarrassment, inconvenience, and loss of enjoyment of life, in arnounts

                         to be determined at trial.

                                 F.      Order Defendant to pay Jackson, the ADA class, and the GINA class, punitive
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                         darnages for its malicious and reckless conduct, as described in Paragraphs 21-23, 25, 27-31, 33-

                         42 above, in arnounts to be determined at trial.

                                 G.      Grant such further relief as the Court deems necessary and proper in the public

                         interest.
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                                 H.      Award the Commission its costs of this action.

                                                             JURY TRIAL DEMAND

                                 Toe Commission requests a jury trial on ali questions of fact raised by its Complaint.



                                                                       Respectfully submitted,

                                                                       JAMES L. LEE
                                                                       Deputy General Counsel




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                                                     ~¿KER
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                                                      EQUAL EMPLOYMENT OPPORTUNITY
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                                                      COMMISSION
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Date Filed: 01/13/2023
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                        Exhibit E
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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT FOR
                          THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

 EQUAL EMPLOYMENT                                )
 OPPORTUNITY COMMISSION,                         )
                                                 )
          Plaintiff,                             )
                                                 )
 and                                             )
                                                 )
 VINCENT JACKSON,                                )
                                                 )
          Plaintiff-Intervenor,                  )
 v.                                              )     Civil Action No. 2:17-cv-01649-MHH
                                                 )
 DOLGENCORP, LLC,                                )
                                                 )
          Defendant.                             )


      DEFENDANT’S MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL


        Pursuant to 28 U.S.C. § 1292(b), Defendant Dolgencorp, LLC (“Dollar General”) moves

for certification of interlocutory appeal of the Court’s July 26, 2022 Memorandum Opinion (Doc.

131) on following two questions:

             1. Is a GINA claim for the “acquisition of genetic information” under 42
                U.S.C. § 2000ff-1(b) a claim for “intentional unlawful discrimination”
                within the meaning of 42 U.S.C. § 1981a for which compensatory and
                punitive damages are available?

             2. Is an ADA claim of qualification standards that screen out or tend to screen
                out individuals with disabilities under 42 U.S.C. § 12112(b)(6) analyzed
                exclusively as a disparate impact claim or can it be established through a
                showing of disparate treatment?

        As explained in the accompanying memorandum, these two questions are controlling

questions of law that do not require any assessment of disputed facts in the record; are questions

over which there is substantial ground for difference of opinion; and resolution of these questions


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will materially advance termination of the litigation. Accordingly, they are appropriate for

certification to the Eleventh Circuit.

        For these reasons, Dollar General respectfully requests that the Court certify the Court’s

July 26, 2022 Memorandum Opinion for interlocutory appeal on the above questions.



                                             Respectfully submitted,

                                             /s/ Stanley E. Graham
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                               CERTIFICATE OF SERVICE

        I hereby certify that on August 25, 2022, the foregoing Motion for Certification of
Interlocutory Appeal was served via the court’s electronic filing system on the following counsel
of record:

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                                            /s/ Stanley E. Graham




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                        Exhibit F
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                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT FOR
                          THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

 EQUAL EMPLOYMENT                               )
 OPPORTUNITY COMMISSION,                        )
                                                )
          Plaintiff,                            )
                                                )
 and                                            )
                                                )
 VINCENT JACKSON,                               )
                                                )
          Plaintiff-Intervenor,                 )
                                                )
 v.                                             )    Civil Action No. 2:17-cv-01649-MHH
                                                )
 DOLGENCORP, LLC,                               )
                                                )
          Defendant.                            )

                    MEMORANDUM OF LAW IN SUPPORT OF
            MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL

                                   I.     INTRODUCTION

        This case presents unusual and unsettled legal theories under the Genetic Information

Nondiscrimination Act (“GINA”) and the Americans with Disabilities Act (“ADA”). The EEOC

seeks to recover compensatory and punitive damages under these statutes on behalf of more than

500 people, but not on claims of intentional discrimination for either genetic information or

disability. Its GINA claim rests instead on a section of the statute aimed at the “acquisition” of

genetic information, while its ADA claim is asserted under a provision addressing the alleged

impact of employment qualification standards on disabled individuals.

        Until this Court’s recent summary judgment order, no other court had analyzed whether

the law allows for the recovery of compensatory and punitive damages on a GINA acquisition

claim. Dollar General maintains that the plain language of the governing statute extends the right


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to such damages only for claims of intentional discrimination based on genetic information—

claims that are not asserted here. The Court’s recent Memorandum Opinion, however, found both

liability and a right to seek damages on the EEOC’s conceptually distinct GINA acquisition claim.

Whether there is such a right to damages on a GINA acquisition claim is a pure question of law

and a matter of first impression. Dollar General submits that this question should be certified for

an immediate appeal under 28 U.S.C. § 1292(b).

        The EEOC’s ADA qualifications standards claim also presents a pure question of law that

Dollar General submits warrants immediate review by the Eleventh Circuit. There is substantial

legal authority in this Circuit and elsewhere that an ADA challenge to qualification standards is

analyzed as a disparate impact claim that requires statistical evidence and cannot be established as

a disparate treatment claim of intentional discrimination. The Court’s Memorandum Opinion ruled

otherwise, despite the weight of this authority to the contrary.

        An interlocutory appeal of a district court’s order is appropriate when the questions

presented are: (1) controlling questions of law that do not require any assessment of disputed facts

in the record, (2) questions over which there is substantial ground for a difference of opinion, and

(3) questions whose resolution through an immediate appeal will materially advance termination

of the litigation. All of those elements are present in the following two questions addressed in the

Court’s July 26, 2022 Memorandum Opinion (Doc. 131):

             1. Is a GINA claim for the “acquisition of genetic information” under 42
                U.S.C. § 2000ff-1(b) a claim for “intentional unlawful discrimination”
                within the meaning of 42 U.S.C. § 1981a for which compensatory and
                punitive damages are available?

             2. Is an ADA claim of qualification standards that screen out or tend to screen
                out individuals with disabilities under 42 U.S.C. § 12112(b)(6) analyzed
                exclusively as a disparate impact claim or can it be established through a
                showing of disparate treatment?


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        These two questions do not require consideration of any disputed facts. They are pure

questions of law, the answers to which are potentially dispositive of those claims.

        The Court’s Memorandum Opinion also effectively recognizes that both questions are ones

over which there are substantial grounds for differences of opinion. As the Court noted, the first

question concerning what relief is available for an acquisition of genetic information claim under

42 U.S.C. § 2000ff-1(b) is a difficult question of law that is “an issue of first impression.”

(Memorandum Order, Doc. 131, p. 39). The question turns on the complex and novel issue of how

to apply Title VII’s remedial scheme to GINA claims when “GINA’s statutory framework does

not neatly map onto” that remedial scheme. (Id. at 42).

        The ADA qualification standards claim likewise presents substantial grounds for a

difference of opinion. This difference of opinion is evident from the split of authority noted in the

Court’s Memorandum Opinion, including Supreme Court and Eleventh Circuit authority tacitly

acknowledging that ADA qualification standards claims are to be analyzed as disparate impact

claims requiring statistical proof—a type of proof that is indisputably absent here. (Memorandum

Order, Doc. 131, p. 14, 20–21).

        An immediate appeal is further warranted because the answer to either or both of the

questions presented would materially advance the termination of this litigation by avoiding the

need for further damages discovery, additional dispositive motions practice, a trial, and an

inevitable appeal on the same pure questions of law for which immediate review is now sought.

This case is in an unusual posture that is even more suitable for immediate appeal following

dispositive motion briefing because the parties—at the Court’s direction—delayed taking damages

discovery precisely because such discovery could be mooted by summary judgment in Dollar

General’s favor on these legal questions. See (Transcript of 10/6/20 Hearing, Doc. 98 at 3–6, 14–


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20 (“The Court: I wonder if there might be some efficiency in delaying the discovery about

damages until after the Court receives . . . the parties’ briefing on [a summary judgment] motion.”;

“I have requested this dispositive motion earlier than anticipated because I’m trying to see if there’s

an opportunity to narrow the issues in the case. . . .”)). Now that the Court has ruled on those

initial summary judgment motions, the parties will need to take substantial discovery concerning

the alleged damages of over 500 individuals, prepare a second round of dispositive motions on the

absence of any damages proof, and (because the Court has already found liability on the GINA

claim) try at least some claims before a jury. (Id. at 22–24 (“[I]f the EEOC survives these early

dispositive motions [] there will be a discovery period on damages and [] Dollar General [may

have] the opportunity for a post damages discovery dispositive motion. . . .” (emphasis added)).

As the Court already recognized in ordering early summary judgment briefing, however, some or

all of these issues may be mooted if the legal questions are raised now before the Eleventh Circuit,

materially advancing the termination of this litigation.

                                       II.     ARGUMENT

        If a district court determines that an order “[1] involves a controlling question of law [2]

as to which there is substantial ground for difference of opinion and [3] that an immediate appeal

from the order may materially advance the ultimate termination of the litigation,” an immediate

appeal to the circuit court can be certified. 28 U.S.C. § 1292(b); see McFarlin v. Conseco

Servs., 381 F.3d 1251, 1257–59 (11th Cir. 2004). “The legal question must be stated at a high

enough level of abstraction to lift the question out of the details of the evidence or facts of a

particular case and give it general relevance to other cases in the same area of law. And the answer

to that question must substantially reduce the amount of litigation left in the case.” McFarlin, 381

F.3d at 1259. These elements are satisfied for each of the two questions presented here.


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    1. Both questions presented are controlling questions of law that do not require study of
       the factual record.

        “Controlling questions of law are abstract legal issues that the appellate court ‘can decide

quickly and cleanly without having to study the record.’” Johns Manville v. Tva, 2006 U.S. Dist.

LEXIS 111761, *3 (N.D. Ala. July 31, 2006) (quoting McFarlin, 381 F.3d at 1258). “They are

those questions that involve the meaning of statutes, constitutional provisions, regulations, or

common law doctrines and not those that involve ‘the application of settled law to fact.’” Id.

(quoting McFarlin, 381 F.3d at 1258). Both questions presented satisfy this element.

        The first purely legal question concerns whether GINA’s adoption of Title VII’s remedial

scheme includes that statute’s distinction between the remedies available for unlawful employment

practices generally and the remedies available for the specific subset of unlawful employment

practices that constitute “unlawful intentional discrimination.” Prior to 1991, Title VII claimants

could not recover damages for any type of claim and could only obtain equitable remedies. The

Civil Rights Act of 1991, however, carved out one specific exception. That amendment provided

a limited right to recover compensatory and punitive damages under Title VII, but only for a claim

of “unlawful intentional discrimination.” 42 U.S.C. § 1981a(a)(1).

        GINA prohibits two types of employment practices. It creates one cause of action for

“discrimination based on genetic information” and a separate cause of action for the “acquisition

of genetic information,” even if the genetic information is never used in a discriminatory manner.

The question presented is whether a standalone GINA “acquisition” claim that does not involve

discriminatory intent is nonetheless a claim of “unlawful intentional discrimination” for which

§ 1981a would allow the recovery of damages. Whether a claim affords a particular type of relief

is the type of question that the Eleventh Circuit has recognized is appropriate for interlocutory

review. See, e.g., Tucker v. Fearn, 333 F.3d 1216, 1218 (11th Cir. 2003) (granting § 1292(b)

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review of whether a nondependent parent may recover loss of society damages for the wrongful

death of a minor child under maritime law); Love v. Delta Air Lines, 310 F.3d 1347, 1351 (11th

Cir. 2002) (granting § 1292(b) review of what remedies, if any, are available to private litigants

under the Air Carrier Access Act of 1986); cf. Solutia Inc. v. McWane, Inc., 2008 U.S. Dist. LEXIS

126003, *11 (N.D. Ala. June 25, 2008) (finding that whether a party “can seek to recover [] cleanup

costs pursuant to § 107 of CERCLA [] is a ‘controlling question of law’”).

        The second question presented is whether an ADA “qualification standards” claim under

§ 12112(b)(6) is a disparate impact claim that cannot also be treated as a claim of intentional

disability discrimination. This too is a controlling question of law because it concerns the standard

applicable to a specific claim under the ADA and does not depend on any review of the factual

record. See Love, 310 F.3d at 1351 (granting § 1292(b) review of whether the Air Carrier Access

Act of 1986 implies a private right of action); United States v. AseraCare Inc., 2014 U.S. Dist.

LEXIS 191640, *6 (N.D. Ala. Dec. 19, 2014) (finding that what type of proof is required to

establish an element of a claim is “a pure question of law, which the Eleventh Circuit can decide

quickly and cleanly without having to study the record”) (quotations omitted).

    2. The answers to both questions are ones for which there are substantial grounds for a
       difference of opinion.

        “Questions of law as to which there is substantial ground for difference of opinion are those

in which the Eleventh Circuit is not in ‘complete and unequivocal’ agreement with the district

court.” Id. (quoting McFarlin, 381 F.3d at 1258). “Substantial ground for difference of opinion

exists when a legal issue is (1) difficult and of first impression, (2) the district courts of the

controlling circuit are split as to the issue, or (3) the circuits are split on the issue.” Ala. Aircraft

Indus. V. Boeing Co., 2019 U.S. Dist. LEXIS 242335, *18–19 (N.D. Ala. Mar. 18, 2019). Both

questions presented here are ones for which substantial grounds for a difference of opinion exist.

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        The question of what remedies are available for an “acquisition” claim does not appear to

have been analyzed by any court prior to this Court’s Memorandum Opinion. It is “an issue of

first impression” involving the difficult overlaying of one statute’s remedial scheme onto claims

asserted under another statute where the structures of the two statutes do not “neatly” align. See

(Memorandum Order, Doc. 131, p. 39–42); Ala. Aircraft Indus., 2019 U.S. Dist. LEXIS 242335

at *18–19 (“Substantial ground for difference of opinion exists when a legal issue is (1) difficult

and of first impression . . . .”). The Court has already acknowledged the challenging nature of

reconciling Title VII’s remedial scheme with GINA’s statutory framework. See (Memorandum

Order, Doc. 131, p. 42 (“Admittedly, GINA’s statutory framework does not neatly map onto 42

U.S.C. § 1981a(a)(1)’s remedial scheme.”)). The dearth of judicial authority analyzing a GINA

acquisition claim through the lens of § 1981a is also underscored by the Court’s multi-page

analysis on the issue, including its citing testimony from a lobbying group in the GINA legislative

history in order to infer that compensatory and punitive damages were an intended remedy. See

(Memorandum Order, Doc. 131, p. 42–45) (quoting H.R. REP. NO. 110-28, at 67–68).

        In contrast, the history of the applicable Title VII remedial scheme supports a construction

opposite to the one adopted by the Court. As previously noted, “[b]efore the enactment of the

1991 Act, Title VII afforded only ‘equitable’ remedies.” Landgraf v. Usi Film Prods., 511 U.S.

244, 252 (1994). Then “Congress amended Title VII in 1991 to permit victims of intentional

discrimination to recover compensatory [] and punitive damages. . . .” Burlington N. & Santa Fe

Ry. v. White, 548 U.S. 53, 72 (2006) (emphasis added). That amendment recognized only

“unlawful intentional discrimination,” and not any other types of prohibited conduct, as the type

of conduct for which compensatory and punitive damages could be recovered. See 42 U.S.C.

§ 1981a(a)(1); see also John Does, 1, 2, 3 & 4 v. Covington Cty. Sch. Bd., 969 F. Supp. 1264, 1279


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(M.D. Ala. 1997) (“A Title VII plaintiff may recover compensatory and punitive damages only if

he or she demonstrates intentional discrimination.”) (emphasis added). This history shows that

the default interpretation for any statute governed by § 1981a(a)(1) is that compensatory and

punitive damages remain unavailable for all prohibited practices other than “unlawful intentional

discrimination.” Accordingly, while the relief available for a claim of “discrimination based on

genetic information” under 42 U.S.C. § 2000ff-1(a) may include such damages, the separate and

distinct claim of “acquisition of genetic information” created by 42 U.S.C. § 2000ff-1(b) does not

allow for them. Substantial ground for a difference of opinion thus exists on this novel question.

See Solutia Inc., 2008 U.S. Dist. LEXIS 126003 at *11 (finding a substantial ground for difference

of opinion in statutory interpretation where neither the Supreme Court nor the Eleventh circuit has

answered the question).

        The separate question of whether an ADA “qualifications standards” claim must be brought

exclusively under a disparate impact theory is also one for which substantial ground for a

difference of opinion exists. This substantial ground is demonstrated by the split of authority on

the issue among district courts both in the Eleventh Circuit and across the country. Compare

Allmond v. Akal Sec., Inc., 2007 U.S. Dist. LEXIS 72713, *16–17 (M.D. Ga. Sep. 28, 2007)

(“Claims brought pursuant to § 12112(b)(6) are treated as disparate impact claims.”) and Fulbright

v. Union Pac. R.R. Co., 2022 U.S. Dist. LEXIS 37383, *9 (N.D. Tex. Mar. 2, 2022) (“Plaintiff

may not bring his section 12112(b)(6) screening-related claim under a disparate-treatment theory

of discrimination and is limited to doing so only under a theory of disparate impact.”) with

(Memorandum Order, Doc. 131, p. 19) (“[T]he Court rejects Dollar General’s contention that

§ 12112(b)(6) pertains only to disparate impact claims and that a plaintiff may prove a

discrimination claim under § 12112(b)(6) only by offering comprehensive statistical evidence.”);


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see also Ala. Aircraft Indus., 2019 U.S. Dist. LEXIS 242335 at *18–19 (“Substantial ground for

difference of opinion exists when . . . the district courts of the controlling circuit are split as to the

issue . . . .”).

         Supreme Court and Eleventh Circuit case law further demonstrate the substantial ground

for a difference of opinion by supporting Dollar General’s position that § 12112(b)(6) claims must

be analyzed as disparate impact claims requiring statistical evidence. See Raytheon v. Hernandez,

540 U.S. 44, 53 (2003) (explaining the ADA permits disparate treatment claims by quoting

§ 12112(b)(3) and disparate impact claims by quoting § 12112(b)(6)); Smith v. Miami-Dade Cty.,

621 F. App’x 955, 961–62 (affirming grant of summary judgment to defendant on a § 12112(b)(6)

claim because the plaintiff failed to provide statistical evidence and such evidence is required for

a disparate impact claim); see also (Memorandum Order, Doc. 131, p. 14) (“Dicta in Raytheon

undergirds the argument that § 12112(b)(6) pertains only to disparate impact claims.”).

    3. Immediate appeal on one or both of the questions will materially advance termination
       of the litigation.

         “[T]hat resolution of the question may materially advance the ultimate termination of the

litigation—means that the appellate court’s immediately addressing the controlling question of law

‘would serve to avoid a trial or otherwise substantially shorten the litigation.’” Johns Manville,

2006 U.S. Dist. LEXIS 111761 at *3–4 (quoting McFarlin, 381 F.3d at 1259). “[The] particular

question should yield an ‘answer . . . [that would] substantially reduce the amount of litigation left

in the case.’” Ala. Aircraft Indus., 2019 U.S. Dist. LEXIS 242335 at *19 (quoting McFarlin, 381

F.3d at 1259) (emphasis added). Resolution of one or both of the questions in Dollar General’s

favor on appeal would materially advance the ultimate termination of the litigation.

         The resolution of either question in Dollar General’s favor would result in the dismissal of

a substantial portion of this lawsuit and remove the claims of potentially hundreds of “aggrieved

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parties” for whom damages discovery and additional summary judgment briefing would otherwise

still be necessary before trial. An appeal to the Eleventh Circuit on these very questions would

also occur eventually regardless of the outcome of this discovery, motion practice, and trial

because the Court has already found in favor of the EEOC on liability for the GINA claim.

Immediate appeal at this juncture would not only remove the immediate need for extensive

damages discovery, motion practice, and trial in a case involving approximately 500 “aggrieved

parties”—whose damages would all need to be individually proven—but it would not add any time

to the resolution of this case because an appeal on these pure legal questions would still come after

trial even if it were not permitted now.

        The unique procedural posture of this case makes the two presented questions particularly

appropriate for immediate appeal. The summary judgment motions addressed in the Court’s July

26, 2022 Memorandum Opinion were filed at the direction of the Court ahead of the previously

set January 29, 2021 dispositive motion deadline, (Doc. 90), and in response to Dollar General’s

motion for additional time to conduct damages discovery. (Doc. 95). The Court ordered the filing

of those motions to potentially avoid individualized damages discovery for 500 “aggrieved parties”

claiming emotional distress and to address an ongoing dispute over the scope of damages

discovery. The Court then relayed that, should the ADA or the GINA claims survive summary

judgment, the Court would order an appropriate period of time to conduct damages discovery.

(Transcript of 10/6/20 Hearing, Doc. 98 at 23). The Court’s recent summary judgment ruling

allowing those claims to proceed means that additional time will now be needed to conduct that

damages discovery and prepare a second round of briefing before any trial is held.

        Certifying the two questions presented for immediate appeal, however, could potentially

avoid or dramatically reduce this discovery, motion practice, and trial. If the Eleventh Circuit were


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to hold that a GINA “acquisition” claim is not a claim of “unlawful intentional discrimination” for

which § 1981a permits compensatory and punitive damages, the need for extensive damages

discovery on those claims would be mooted because the claims would necessarily fail for lack of

Article III standing. Similarly, if the Eleventh Circuit were to hold that an ADA § 12112(b)(6)

claim must be analyzed as a disparate impact claim (as it has previously strongly suggested), the

Court would not need to resolve the discovery dispute over the individualized damages sought by

23 ADA “aggrieved parties.” A trial on liability would also be unnecessary on those claims

because the EEOC has presented no statistical proof as required to support such claims.

Accordingly, certification of these two questions for immediate appeal is appropriate because

“resolution of the question[s] may reduce the amount of litigation [and] could save the court and

the parties from needlessly expending resources.” See Blumenfeld v. Regions Bank, 2018 U.S.

Dist. LEXIS 243540, *4 (N.D. Ala. Oct. 29, 2018).

                                     VI.    CONCLUSION

        For the foregoing reasons, Dollar General requests that the Court certify its summary

judgment order for interlocutory appeal pursuant to 28 U.S.C. § 1292(b) on the two questions

identified.

                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 25, 2022, the foregoing Memorandum in Support of Motion
for Certification of Interlocutory Appeal was served via the court’s electronic filing system on the
following counsel of record:

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